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Pro Se 14 (Rev . .12/16) Complaint for Violation of Civi l Rights (Prisoner)                    FILED18 .JRH 1 2-' Fj:i4i.lSDC·lJRf-'



                               UNITED STATES DISTRICT COURT
                                                                          for the
                                                              District of Oregon·
                                                              Portland Division

Modesto Luis-Hernandez                                                         )
                                                Plaintiff,                     )       Case No. 7: 24, Cv • I,~ A.t..
                                                                               )            (to be filled in by the Clerk's Office)
                                                                               )
-v-
                                                                               )
                                                                               )
Marion County Sheriff Joe Kast,
                                                                               )
Marion County Jail; Marion County
                                                                               )
Medical staff "John Doe",
                                                                               )
                                                 Defendant(s)                  )
                                                                               )
                                                                               )
                                                                               )
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                                                                                                                     '   ... . _, ~. '   .'




                               COMPLAINT FOR VIOLATION Of:<;IYII~ RIGHTS . , , ..... _

                                                              (Prisoner Complaint)

                                                 NOTICE
       Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns
       resulting from public access to electronic court files. Under this rule, papers filed with
       the court should not contain: an individual's full social security number or full birth
       date; the full name of a person known to be a minor; or a complete financial account
       number. A filing may include only : the last four digits of a social security number; the
       year of an individual's birth; a minor's initials; and the last four digits of a financial
       account number.

        Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or
        witness statements, or any other materials to the Clerk's Office with this complaint.

        In order for your complaint to be filed, it must be accompanied by the filing fee or an
        application to proceed informa pauperis.
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I.         The Parties to This Complaint

           A.          The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional
                    pages if needed.


                    Name:                                             Modesto Luis-Hernandez
                    All other names by which
                    you have been known:
                    ID Number:                                        21941529
                    Current Institution:                              Snake River Correctional Institution
                    Address:                                          777 Stanton Blvd.
                                                                      Ontario, OR 97914

           B.          The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the
                    defendant is an individual, a government agency, an organization, or a corporation. Make
                    sure that the defendant(s) listed below are identical to those contained in the above caption.
                    For an individual defendant, include the person's job or title (if known) and check whether
                    you are bringing this complaint against them in their individual capacity or official
                    capacity, or both. Attach additional pages if needed.

                    Defendant No. 1

                    Name:                                             Joe Kast
                    Job or Title:                                     Marion County Sheriff
                    Shield Number:
                    Employer:                                         Marion County Jail
                    Address:                                          4000 Aumsville Hwy SE
                                                                      Salem, OR 97301
                                                                     □ Individual capacity IZ!Official capacity


                    Defendant No. 2

                    Name:                                             Dr. "John Doe"
                    Job or Title:                                     Marion County Medical Doctor
                    Shield Number:
                    Employer:                                         Marion County Jail
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                    Address:                                           4000 Aumsville Hwy SE
                                                                       Salem, OR 97301
                                                                      IZI Individual capacity IZI Official capacity


II.        Basis for Jurisdiction
                     Under 42 U.S.C. § 1983, you may sue state or local officials for the
                     "deprivation of any rights, privileges, or immunities secured by the
                     Constitution and [federal laws]." Under Bivens v. Six Unknown Named
                     Agen~s of Federal Bureau of Narcotics, 403 US. 388 (19 71), you may sue
                     federal officials for the violation of certain constitutional rights.


           A.          Are you bringing suit against (check all that apply):

                     □ Federal officials (a Bivens claim)


                     IZI State or local officials (a§ 1983 claim)

           B.      Section 1983 allows claims alleging the "deprivation of any rights,
           privileges, or immunities secured by the Constitution and [federal laws] ." 42
           U.S.C. § 1983. If you are suing under section 1983, what federal constitutional or
           statutory right(s) do you claim is/are being violated by state or local officials?

                 My 8th Amendment constitutional right to be free from cruel and unusual
           punishment was violated by local officials from the Marion County Jail.

           C.      Plaintiffs suing under Bivens may only recover for the violation of certain
           constitutional rights. If you are suing under Bivens, what constitutional right(s) do
           you claim is/are being violated by federal officials?

           D.      Section 1983 allows defendants to be found liable only when they have
           acted "under color of any statute, ordinance, regulation, custom, or usage, of any
           State or Territory or the District of Columbia." 42 U.S.C. § 1983. If you are suing
           under section 1983, explain how each defendant acted under color of state or local
           law. If you are suing under Bivens, explain how each defendant acted under color
           of federal law. Attach additional pages if needed.
                   Defendant Kast acted under color of law when he failed to investigate or
           assign a designee to look into the providing of medical care that was needed for
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           Modesto Luis Hernandez after an injury that he had sustained while in the care
           and custody of his staff and within his facility of the Marion County Jail.
                   Defendant Dr. "John Doe" acted in his official capacity when he failed to
           provide prompt and proper medical attention to inmate Modesto Luis Hernandez
           after he had sustained an injury while performing his duties as inmate worker and
           while he was in custody at the Marion County Jail, and brought to the medical
           provider located within the facility. Inmate Luis-Hernandez submitted various
           medical request forms to be seen for his injuries and for treatment. Dr. "John
           Doe" and the staff at the Marion County jail were absolutely indifferent to Mr.
           Luis-Hernandez' medical needs. Treatment was not provided promptly, which has
           resulted in Plaintiff having limited ability to work and daily routine activities. If
           the required medical care had been promptly provided plaintiff would have had
           full function and ability to work, and would not have had to resort to file a lawsuit
           against these individuals.

III.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows (check all
           that apply):

            D Pretrial detainee
            □ Civilly committed detainee
            D Immigration detainee
            IZI Convicted and sentenced state prisoner
            D Convicted and sentenced federal prisoner
            □ Other (explain) _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __                                        _

IV.        Statement of Claim

           State as briefly as possible the facts of your case. Describe how each defendant
           was personally involved in the alleged wrongful action, along with the dates and
           locations of all relevant events. You may wish to include further details such as
           the names of other persons involved in the events giving rise to your claims. Do
           not cite any cases or statutes. If more than one claim is asserted, number each
           claim and write a short and plain statement of each claim in a separate paragraph.
           Attach additional pages if needed.




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           A.       If the events giving rise to your claim arose outside an institution, describe where
           and when they arose.
           I suffered an injury while in custody, and as inmate worker, at the Marion County
           Jail, located at 4000 Aumsville Hwy SE., Salem, OR 97301
           The accident took place in October 17, 2021, between 07 :00 and 07 :30 am.

           B.     If the events giving rise to your claim arose in an institution, describe where and
           when they arose.

                   I had slipped and fallen while working as an orderly in the Marion County
           Jail. When I fell I yelled, and an officer attempted to get me up, and due to the
           pain, I asked him to not move me, and I then asked to have medical staff check on
           me. From there medical staff arrived and moved me to the medical area. I was
           asked on which side of my body the pain was (left side) and was given 30 days of
           no work. During that time, and while recovering, I began to regain limited
           movement. This is when one of the jail officers noticed this slight recovery and
           decided to force me to continue working (before 3 0 days from the accident) and I
           was threatened that if I refused to work I would be punished for it. I was only able
           perform a little bit of work as my limitations allowed me to.

           C.          What date and approximate time did the events giving rise to your claim(s) occur?

           The accident took place in October 17, 2021, between 07:00 and 07:30 am.

           D.    What are the facts underlying your claim(s)? (For example: What happened to
           you? Who did what? Was anyone else involved? Who else saw what happened?)

           As part of my orderly duties, as inmate worker while in custody in county jail, I
           was told to go and clean two of the cells that serve as isolation for inmates that
           violate behavioral rules while in custody of the county jail. I had just finished
           cleaning the first of the two cells, and I was on my way to clean the second one. I
           was walking down the hallway and I slipped on water that I did not see on the
           floor right in front of the showers (there were no Wet Floor signs either). I know
           there were 3 or 4 officers present because I slipped and fell right in front of them.
           I was not able to get their names. It was one of those officers that rushed to my
           aid. He tried to pick me up, but since I was badly hurt and could not get up it was
           this officer who made the attempt to find the on-site doctor and provided me with
           a wheelchair and even wheeled me out to the doctor' s office.
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V.         Injuries
           If you sustained injuries related to the events alleged above, describe your injuries
           and state what medical treatment, if any, you required and did or did not receive.

           When I slipped and fell I landed on the left side of my body. I hit my head on the
           hard floor, so much so that I was immediately dazed/dizzy. My left shoulder and
           my left leg both hit the floor as well, and although I didn't notice any bruising
           soon after the fall, I have beeh in pain ever since. The shoulder injury that I
           sustained entailed tom tendons/ligaments, and the shoulder itself dislocated
           The injuries were such that my shoulder was basically useless. I couldn't do even
           do the simplest of tasks, like taking a shower and such. My shoulder was numb
           and just limply hanging.
           I sustained pretty much the same type of injuries on my left leg (tendons,
           ligaments, considerable bruising) and subsequently lost feeling on it as well. The
           doctors that attended to my injuries informed me that the tendons in the back of
           my leg were displaced about 5 centimeters due to the fall (I basically did the
           splits).
           I had to climb the stairs to the second floor to be able to meet with my court
           appointed attorney. When he noticed how I had a hard time because of my
           injuries he arranged for our meetings to take place in the first floor.
           I had It took about 3 months, from the time of the accident, for me to be seen by
           the Hope Orthopedic clinic. The doctor that took care of me there informed me
           that the displaced tendons/ligaments had already healed in the wrong place and
           surgery meant to have to cut muscle tissue and possibly the tendons/ligaments in
           order to repair the sustained damage. The doctor indicated that the chances of
           getting back to full recovery were slim to none, not to mention that the chances of
           amputation were very high. In the end, the doctor suggested to just leave it alone,
           that I would lead a somewhat normal life, although with limited mobility and
           long-lasting pain, but I would at least be able to walk on my own two legs.
           After I had my shoulder surgery I was placed in the inmate recovery area of
           county jail. Two days after that a deputy came to see me to tell me that I was well
           enough to move to general population area, because according to him I should
           have recovered enough to be moved.
           The morning after being moved to the general inmate area I was on my way to get
           my meds from the med cart. I was still limping, dizzy, and in a lot of pain, when I
           once again fell. The floor conditions were the same as with the original injury:
           water on the floor and no signs indicating so. There were quite a few witnesses, to
           include attorneys visiting with their clients, and these attorneys were the ones that

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           alerted C.O. Felix about my fall and threatened the staff to take care of me or they
           would act as witnesses of that incident.

VI.        Relief

           State briefly what you want the court to do for you. Make no legal arguments. Do
           not cite any cases or statutes. If requesting money damages, include the amounts
           of any actual damages and/or punitive damages claimed for the acts alleged.
           Explain the basis for these claims.
                   $100,000.00 for shoulder, $100,000.00 for leg, and $100,000 for pain and
           suffering and continued future recurring pain.
                   The basis for these amounts is the estimated income that I would have
           been able to earn had I been able to function properly and perform all the required
           work that I would have been able to perform if I had not had any functional
           limitations. I have been told by the medical staff that because of my injuries I
           won't be able to attain full function and that my condition may even worsen,
           which it has.
                   It is also worth mentioning the following: medical deliberate indifference,
           negligence, and abuse of discretion as actions from the Marion County Jail staff
           and the medical staff in considering the relief I'm seeking.

           Exhaustion of Administrative Remedies Administrative Procedures

           The Prison Litigation Reform Act ( 11 PLRA 11 ) , 42 U.S.C. § 1997e(a), requires that
           11
              [ n ]o action shall be brought with respect to prison conditions under section 1983


           of this title, or any other Federal law, by a prisoner confined in any jail, prison, or
           other correctional facility until such administrative remedies as are available are
           exhausted. 11

           Administrative remedies are also known as grievance procedures. Your case may
           be dismissed if you have not exhausted your administrative remedies.

           A.          Did your claim(s) arise while you were confined in a jail, prison, or other
                       correctional facility?
                      IZ!Yes

                      □ No

                       If yes, name the jail, prison, or other correctional facility where you were
                       confined at the time of the events giving rise to your claim(s).

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                       Marion County Jail
           B.          Does the jail, prison, or other correctional facility where your claim(s) arose have
                       a grievance procedure?
                      ~Yes

                      □ No

                      □ Do not know



           C.          Does the grievance procedure at the jail, prison, or other correctional
                       facility where your claim(s) arose cover some or all of your claims?
                      □ Yes

                      ~No

                      □ Do not know

                       If yes, which claim(s)? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


           D.          Did you file a grievance in the jail, prison, or other correctional facility
                       where your claim(s) arose concerning the facts relating to this complaint?
                      ~Yes

                      □ No



                       If no, did you file a grievance about the events described in this complaint
                       at any other jail, prison, or other correctional facility?
                      □ Yes

                      □ No



           E.          If you did file a grievance:

                       1. Where did you file the grievance?

                       Marion County Jail


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                       2. What did you claim in your grievance?
                       My claim was that of the accident, witnesses, the sustained injuries and the
                       lack of proper medical care.

                       3. What was the result, if any?

                       The result was that of delayed proper medical care at the time of the
                       accident, the indifference expressed by the medical personnel, and the
                       denial of proper medical care/solutions.




                       4. What steps, if any, did you take to appeal that decision? Is the grievance
                          process completed? If not, explain why not. (Describe all efforts to appeal to
                          the highest level of the grievance process.)

                       I followed the proper grievance procedure, the sending of the
                       communication Kytes reminding/pleading the medical personnel to
                       provide me with the necessary medical care, and the safekeeping or all the
                       grievance responses I received.

           F.          If you did not file a grievance:

                       1. If there are any reasons why you did not file a grievance, state them here:




                       2. If you did not file a grievance but you did inform officials of your claim, state
                          who you informed, when and how, and their response, if any:




                       3. Please set forth any additional information that is relevant to the
                          exhaustion of your administrative remedies.




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                       (Note : You may attach as exhibits to this complaint any documents related
                       to the exhaustion ofyour administrative remedies.)

VII.       Previous Lawsuits

           The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in
           federal court without paying the filing fee if that prisoner has "on three or more
           prior occasions, while incarcerated or detained in any facility, brought an action
           or appeal in a court of the United States that was dismissed on the grounds that it
           is frivolous, malicious, or fails to state a claim upon which relief may be granted,
           unless the prisoner is under imminent danger of serious physical injury." 28
           U.S.C. § 191 S(g).

           To the best of your knowledge, have you had a case dismissed based on this
           "three strikes rule"?
           □ Yes

           IZINo

           If yes, state which court dismissed your case, when this occurred, and attach a
           copy of the order if possible. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           A.     Have you filed other lawsuits in state or federal court dealing with the
           same facts involved in this action?
                       □ Yes

                       IZINo

           B.     If your answer to A is yes, describe each lawsuit by answering questions 1
           through 7 below. (If there is more than one lawsuit, describe the additional
           lawsuits on another page, using the same format.)

           1.          Parties to the previous lawsuit

           Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           2.          Court (iffederal court, name the district; if state court, name the county and State)

           3.          Docket or index number
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           4.          Name of Judge assigned to your case

           5.          Approximate date of filing lawsuit
           6.          Is the case still pending?
                                      □ Yes

                                      IZINo

                                      If no, give the approximate date of disposition. _ _ _ _ __

           7.     What was the result of the case? (For example: Was the case dismissed?
           Was judgment entered in your favor? Was the case appealed?)

VIII.                  Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
           of my knowledge, information, and belief that this complaint: (1) is not being
           presented for an improper purpose, such as to harass, cause unnecessary delay, or
           needlessly increase the cost of litigation; (2) is supported by existing law or by a
           non-frivolous argument for extending, modifying, or reversing existing law; (3)
           the factual contentions have evidentiary support or, if specifically so identified,
           will likely have evidentiary support after a reasonable opportunity for further
           investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11 .

           A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where
                     case-related papers may be served. I understand that my failure to keep a
                     current address on file with the Clerk's Office may result in the dismissal of
                     my case.
                                                                                                   -
                     Date of signing:                                        .0, , l\ l:i-02 ':f            .
                     Signature of Plaintiff:                                (l(ttl,c/~s t Z> . iu, 9 Jte✓~J
                                                                                                       7
                     Printed Name of Plaintiff:                             Modesto Luis-Hernandez
                     Prison Identification#:                                21941529
                     Prison Address                                         Snake River Correctional Institution
                                                                            777 Stanton Blvd.
                                                                            Ontario, OR 97914

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 ,"   ..                              SA02.                                                                                                SYMPTOMS
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                                                 Chills                dlHloully                  or                  Loss Throat       / nthhY •        or                                                           slenatura
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                                                                                                 COVID 19
                                                                                                 Flowsheet


         Evaluation for circle one:
                                Confirmed COVID                              Suspected COVID 19                          Quarantine                 14 Dav Ohscr'lation
                 PT's Sticker Name/SID#               Housing Unit           Date of Onset       COVID 19 Testing Y/N                COVID 19                             FLU

                                                                                                 If Yes Date Tested :                NEG/ POS                             NEG/ POS



Day#      Date      Time        TEMP/ BP
After                             SA02                                                                                  SYMPTOMS
. Exp                                                                                    INDICATE WITH (X) IN BOX IF PATIENT REPORTS POSITIVE SYMPTOM BELOW
                                           Fever    Cough         SOB/       Fatigue   Muscle   Headache     New      Sore    Congestion/  Nausea or Diarrhea   None   Screening Personnel Name and
                                             I                  difficulty               or                  Loss    Throat   runny nose    Vomiting                             Signature
                                           Chills               breathing               Body                  of
                                                                                       Aches                Taste
                                                                                                              or
                                                                                                            Smell
                                             D        D             D          D         D           D          D        D      D               D        D       D

                                             D        D             D          D         D           D          D        D      D               D        D       D

                                             D        D             D           D        D           D          D        D      D               D        D       D

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Other:


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                           (                                                                               COVID 1
                                                                                                           Flowsheet
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                   Evaluation for circle one:                                                                                                                             S ~ o ~S~\.J~\~,v--...
                                                            COVlD                    Suspected COVID 19                                        Quarantine                 14 Day 9b~&ft
         LUIS-HERNANDEZ, MODESTO                                                                                                          -
                                                                                                                                                           COVID 19
                                                                Housing Unit         Date of Onset         COVID 19 Testl~                                                                    FLU
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                                                                                                            If Yes Date        sted:           ~           NEG/POS                            NEG/ POS
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        Day//       Date       Time      TEMP/ BP                                                               7               I
        Arter                              SA02                                                                                               SYMPTOMS
         Exp                                                                                         INDICATE WITH (X) IN BOX IF PATIENT REPORTS POSITIVE SYMPTOM BELOW
                                                    Fever     Cough     SOB/         Fatigue       Muscle   Headache     New      Sore    Congestion/  Nausea or Diarrhea            None   Screening Personnel Name and
                                                      I               dllllculty                     or                  loss    Throat   runny nose    Vomiting                                      Signature             '\
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                                 i                                                             )
                   OREGON DEPARTMENT OF CORRECTIONS - DIEi ORDER FORM


          LUIS-HERNANDEZ, MODESTO
                                                                       (D.O.B)
          21941529
          07/24/1969
                                                                       (Unit/bunk- if delivered)


New Diet Order:           es □ No          Changes to Existing Order: □Yes             Previous Diet Code_ _ _ _ __
New diet order f      ms replace all previous diet order forms.

Check desired diet and Email/Fax form to Food Services. Enter code in DOC400 Special Needs-Diet-Comments.
Retain diet order form under special needs tab in medical file until diet is expired or discontinued.

        Diet                        Code           Description: Clinical Indications

□       Clear Liquid               CLQ             Clear Liquids only: surgery prep, procedure prep, post-op, bowel rest
                                                   Not nutritionally adequate, 3-day maximum recommended

□       Full Liquid               HQ               Next step in diet advancement after CLO, adds opaque liquids
                                                   Not nutritionally adequate, 3-5 day maximum recommended



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□
        Pureed

        Dental Soft
                                   PUR

                                  DS
                                                  Smooth texture, no chewing required: dysphagia, wired jaw, post-dental work

                                                   No hard, crunchy foods (chips, apples, raw veg) : missing teeth, TMJ

□       Low Residue               LR               Restricts high-fiber foods and common bowel irritants, also functions as
                                                   Bland diet: Crohn's, Colitis, IBS, cancer, post-bariatric surgery

□      Gluten-Free                GF               Eliminates food containing wheat, barley & rye: celiac disease only

□      Low-Protein Renal          REN              Restricts protein, sodium, potassium & phosphorus: stage 1-4 CKD

□      High-Protein Dialysis      DIA             Increased protein while restricting sodium, potassium & phosphorus:
                                                  Stage 5 CKD, active dialysis (CCCF & TRCI only)

□      Double Protein Entree DBL                   Extra portion entree only (not dbl meal): malnutrition, cancer cachexia

Snacks

□      AM (served at breakfast)            SNB    1 whole sandwich (includes 2 oz protein) + 1 svg fruit

□      PM (served at lunch)                SNL    1 whole sandwich (includes 2 oz protein) + 1 svg fruit

□      HS (served at dinner)               SND    1 whole sandwich (includes 2 oz protein)+ 1 svg fruit

□      AM/PM/HS (served TID)             SNBLD    1 whole sandwich + 1 svg fruit for each snack

□      Diabetic Snack (served at dinner) DBSN 1/2 sandwich+ fruit, provides 2 carb-choices: insulin-dependent diabetics

□      Post-Op Snack                       PSN    whole sandwich (lean meat only)+ fruit+ milk: recovery, pregnancy

□ Other order from MD or RD: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                        (Date)


                                                                                                                 CD 1648 (03-20)
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                                       OREGON DEPARTMENT OF CORRECTIONS

                                         PHYSICIAN'S ORDERS
                                                                                                INST.                DNS □




  ALLERGIES:          N-'?,\)B-:
                                             SEND DUPLICATE TO PHARMACY

  NAME:           Lu JS-if-tiivuia.iz/™E & TIME                                                 INST.                DNS □




 ALLERGIES: A f : ~

                                                  ATE & TIME                                                         DNS □




LUIS-HERNANDEZ, MODEST
TERBINAFINE- (GEN.LAMISIL) 1% J0GM CRM ~~~~~....1,,.,o~~~~-----.:.,JJ,.L.__..¥1C..:L¥-~.,,L---==---.L.L..!....1~.:;___;;,:_-1-Y
APPL Y TO LEFT FLANK TWICE DAILY -
OKIN CELL
START: 07/03/23      STOP: 09/30/23


 ALLERGIES: !'!"


                                                                                                INST.                DNS □




 ALLERGIES: N


         All orders for schedule II and Ill medication             ill be automatically stopped in 72 hours.
                                                                                                              CD 497H (2/93)
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                             OREGON DEPARTMENT OF CORRECTIONS

                              PHYSICIAN'S ORDERS
NAME: IJ!~\tf(Y}WJi1'2lJ      M DATE & TIME r; /fJ Z-'--::,              INST. '.;JiZL-j   DNS □




ALLERGIES:


                                                                         INST. J'P-f       DNS □




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ALLERGIE ~
                                             ICATE TO PHARMACY

   All orders for schedule II and Ill medi    ion will be automatically stopped in 72 hours.
                                                                                       CD 497H (2/93)
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                            OREGON DEPARTMENT OF CORRECTIONS

                             PHYSICIAN'S ORDERS
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ALLERGIES:   •


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   All orders for schedule II and Ill medica • n will be automatically stopped in 72 hours.
                                                                                      CD 497H (2/93)
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                             OREGON DEPARTMENT OF CORRECTIONS

                              PHYSICIAN'S ORDERS
NAME:                                                                    INST. QJ2t;-{   DNS □




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ALLERGIES:
                                 SEND DUPLIC
                                                                                         DNS □




ALLERGIES
                                         PLICATE TO PHARMACY

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   All orders for schedule II and Ill medication will be   tomatically stopped in 72 hours.
                                                                                    CD 497H (2/93)
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                                              OREGON DEPARTMENT OF CORRECTIONS

                                               PHYSICIAN'S ORDERS
                                                     DATE & TIME                                         INST.                    DNS □

LUIS-HERNANDEZ, MODEST   SID: 21941529
NAPROXEN    (GEN NAPROSYN) 375MG TAI --~1---1,-1_......--1-~___....__._-+-___._~~-=--+---"......,;.-.........a._ ___,,,..a..<.--¥----
TAKE 1 TABLET ORALL Y TWICE DAILY IF NEEDED
FOR FIVE DAYS (FILL IN BLAf<K CARD USED)
"'NURSE PROTOCOL•• - OK IN CELL
 START: 12/31122          STOP : 01/04/23




 ALLERGIES:


                                                     DATE & TIME                                         INST.                    DNS □




 ALLERGIESi\~
                                                 SEND DUPLICATE TO PHARMACY

 NAME:Lv1) - H-unaock2-:                                                   I
                                                     DATE & TIME (I 2,--z,/ '"2..-'Z--                   INST.        ce,c        DNS □



                                               1-D/C Med ISO~INTK Status
                                               2-Med ISO CCX SD
                                               3- Schedule 5 Day rapid PCR
                                                 when CC ID'ed fr~m R&D
                                                VO Dr. Roberts    ~

ALLERG1Es : {\               ke                  SEND DUPLICATE TO PHARMACY

                                                                                                                                  DNS □



                                                M ED ISO INTK X SD                                   " "'(.Jl'J .
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                                                                       D,ay 0 in R§fit
                                                Rapid Covid ~~tt_fss~t D                                 ?;;, _-0-.:__
                                                TO. Dr. R o b ~ ~            0    _                          ·<:!•:

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ALLERGIE~Q~
                     I   '                       SEND DUPLICATE TO PHARMACY

        All orders for schedule II and Ill medication will be automatically stopped in 72 hours.
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                                                       Progress Notes
  DATE         TIME
                                      Pat ient offered COVID-19 testing. Nasal swab sample collected. BinaxNOW COVID-19 Ag

                                      Ra" id test com leted. Result:                                   or    Positive


                          4f
    Date 11_\ii\n- Time/ lj       Patient identified as close contact of Covid + AIC. Placed on MED ISD CC x S          ;'.j'' Scheduled
    for rapid PCR in 5 days. Scheduled for RICK checks Monday, Wednesday, Friday. Signature ~


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Date: \ i\1lct/tz:.;,atien\ o~;~ed coli;D-19 teslin~wab                ••-~Pi
                                                                 .co;l.l e c t ~•. apid PCR                         r
Time: ;:_ ·29
            _  J/A   RapidTest(;i,ompleted.Result:~orPos1t1v '. . ·.,· -~..J;;;:;~.¥.l"-~-------
           ~~~                                                 -' •• ,    (Nurse Signature)
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    PL Name                                                                  2¥\':\l?M                                                          Transfer Date
                                                                                        Current health concerns:
                                                                                        Results (mm);
        If PPD positive,                                                                Chest X-ray Results:
    3~ Date Intake Physi                                                                Date Dental Intake Completed:
    4. List Major Diagnoses or Chronic Diseases: - .
    5. Are Major Diagnoses current and                                                                    Are DOC-400 Major Diagnosis code(s) current and accurate?
    6. Hep NB vaccine started? , Yes / ~oI) Date of. last HepA/B vaccine:                                      Next Hep NB vaccine:      -       Date of completion:
    7. Influenza Vaccinatil"\P'I.·~      I~
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                                                                                                                            Refused Influenza Vaccination
    8. COVID 19 Vaccin                                                                                                                          Refused COVI
        COVID 19Test R
    9. List ALL prescribe
            a. MAR{s) pulli                                                                                ding overflow} pulled?    Yes"/ No
            c. Frequency
    10. List ALL pending                                                                                                                        On BHS Caseload?
    11 . List disability an                                                                                              Health Status updated & Fac~heet printed?
    12.Ch                                                                                                                X-rays being sent? •Yes /..Q.

    Signed . \ , ~               zy >                               Printed Na~~), -            :J     't::n<l            Date r r1yv1 vv            -- .,,    11.,   CD 1849 Rv 2/5/21




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          1. Patient medicallv stahlP.? /Vpc \ I Nn
                                                    SID :2.tf4152g          Received At.s,2LJ
                                                                     Current health co          ,_ <
                                                                                                        Received From
                                                                                                                               ~
                                                                                                                                                Wl
                                                                                                                                         Transfer Date _j UJ 122---
          2. Date of last PPD:           LFZZ- L          z          Results (mm):
                                                                                                            If positive, was TB coordinator notified?    Yes/ No
             If PPD positive, Date of: Chest x-rav:                  C:hP.m Profile·
                                                                                                           Any TB treatment:
          3. Hep NB vaccine startedLJ&-/IJfJ/4)7 l>ate at. Last Hep NB-~~~ine:
          4. Influenza Vaccina"" -                                                            Next Hep NB vaccine:                  Date C                    or
          5. COVID 19 Vaccin                                                                                 efused   Influenza  Vaccinationt Yes.
             COVID 19 Test R
         6. List Major Diagnoses / Chroni
                 a. Are DOC-400 Major Dia                                                                                    Major Diagnos
                                                                                                    appointments updated for this facility
                      c. Labs current? Ye
         7. List ALL prescribed Medication                                                       I Outside appointments updated for this
                 a. Did medications arrive?
                                                                                       b. Meds placed for NP Medline or KOP? ~
                c. MAR(s) re
         8. Est. Parole Date                                                           d. Meds ordered from pharmacy (as needed)?
                   c. Parole                                                           b. Current orders for Parole medications? Yes/ No /~A
         9.                                                                                                                d. Parole Med Nurse nofined?
                                                                                       b. Dental referral1                            c. BHS referral?
                                                                                       b. X-rays received?
             Signed
                                                                            Printed Name           v ..
                                                                                                 IC.AQ                                                  nme@3 CD 1843 R~2/4/21




Allergy                     ~:____                                                                                                  r  LUIS-HERNANDEZ, MODESTO
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                                                                    - LUIS-HERNANDEZ, MODESTO -
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 Allergy          ~r.t>r\
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                                                                         07/24/1969
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                  Case 2:24-cv-00120-AR    Document 1   Filed 01/18/24   Page 28 of 173
                                   Oregon Department of Corrections
                                          Progress Notes
DATE      TIME    PROB.#




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Allergy          rJ I-lo~                                                LUIS-HERNANDEZ, MODESTO
                                                                         21941529
                                                                         07/24/1969
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              Case 2:24-cv-00120-AR    Document 1   Filed 01/18/24      Page 29 of 173

                                Oregon Department of Corrections
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Allergy_ _ _ _ _ _ _ _ _ _ __                                          LUIS-HERNANDEZ, MODESTO
                                                                       21941529
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                              Case 2:24-cv-00120-AR
                                               )      Document 1 Filed 01/18/24 )Page 30 of 173
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Allergy                           NUl~                                                                                 LUIS-HERNANDEZ, MODESTO
                                                                                                                       21941529                _
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           Case 2:24-cv-00120-AR Document 1 Filed 01/18/24 Page 31 of 173




                                  Client: SNAKE RIVER
LUIS-HERNANDEZ, MODESTO           Ace: 6-42845                                      18 : 00
DOB: 07/24/1969 53y M             Req : SRC-2775                                    19 : 52
Dr : FRANK FNP, JOHN JAY          ID : 21941529                                     13 : 00
Mailstop : FAX                    SSN :


AEROBIC/ANAEROBIC CULTURE
    SOURCE : LEFT ELBOW
     ANTIBIOTICS : ROCEPHIN
     GRAM STAIN.
        06/13/2023 11 : 05 AM
        Many White Blood Cells
        Many Gram Positive Cocci
     CULTURE, AEROBIC                                                                         AA
        06/13/2023 03:24 PM
        Specimen has been received and plated by Microbiology Lab .
        06/14/2023 08 : 45 AM
        Heavy growth Gram Positive Cocci , Identification to follow .


 ~
        06/15/2023 08:46 AM
        Gram Positive Cocci identified as Staphylococcus aureus

     CULTURE, ANAEROBIC                                                                     AA
        06/13/2023 12:00 PM
        Specimen has been received and plated by Microbiology Lab .
         Negative results for anaerobic cultures are reported after
        4 (four ) days of incubation . Positive results will be reported
        as soon as they become available.
        06/17/2023 10 : 00 AM
        No anaerobic growth after 4 (four ) days incubation .

     SUSCEPTIBILITY/MIC# 1       Staphylococcus aureus
    SUSCEPTIBLE       ug/mL       INTERMEDIATE      ug/mL      RESISTANT            ug/mL
   OXACILLIN          <=0 . 25                                                        >=8
   GENTAMICIN         <=0.5                                                             4
   ERYTHROMYCIN       <=0 . 25                                                        160
   CLINDAMYCIN         0.25
   LINEZOLID                 2
   DAPTOMYCIN          0 . 25
   VANCOMYCIN         <=0--. 5
  ~~~ <=~,;,f ~~
  ~ICIN)<=0.5
  AMOX/CLAV ACID
  AMPICILLN/SULBACT
  PIPERACILLIN/ TAZOBACTAM
  IMIPENEM
(continued on the next page)
  Fax Server             6/17/2023 12:02:17 PM PAGE     5/005  Fax Server
                            ~
           Case 2:24-cv-00120-AR  Document 1 Filed 01/18/24 Page 32 of 173




                                Client: SNAKE RIVER CORRECTIONS
                                                         Mou nta in Time
LUIS - HERNANDEZ , MODESTO      Ace# 6-42845             Coll: 06/10/2023       18:00
DOB : 07/24/1969 53y M          Req# SRC-2 775           Recd: 06 / 12 /202 3   19:52
Dr : FRANK FNP , JOHN JAY       ID# 21941529             Rept: 06/17/2023       13 :0 0
Mailstop : FAX                  SSN:                     Hrs Fast: N/ A

    AZITHROMYCIN
    CLARITHROMYCIN
    MINOCYCLINE


Performing Laboratory Legend
IP PENDLETON 1
2460 SW Perkins Ave
PENDLETON, OR 97801
(541) 278 - 4730
Report Code: AA

                             THIS IS A COMPLETED REPORT




LUIS-HERNANDEZ , MODESTO        06/17/2023            21941529
          Case 2:24-cv-00120-AR             Document 1   Filed 01/18/24              Page 33 of 173



                          ...:1 l    STATE OF OREGON
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                                              CORRECTIONS
                                                 Health Services
                                    ABBOTT ID NOW Rapid Covid-19 PCR Test
                                                  Results




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Time:     Jo '.   2 i0,




                                                           Nam, 21941529
                                                                  Luis-Hemar.dez, Modesto
                                                           SID: i B1-1-l'
                                                               DOB:        Jitf: A
 PSA, ULTRASENS    Case
                    0.180 2:24-cv-00120-AR
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                                              ng/ml AA 1       Filed 01/18/24        Page 34 of 173
 The Roche e801 PSA electrochemiluminescent immunoassay is the test methodology used.
 Results obtained with different assay methods or kits cannot be used interchangeably. The
 Roche ·ea01 PSA method is approved for use as an aid in the detection of prostate cancer
 when used in conjunction with a digital rectal exam in men age 50 and older. The Roche
 e801 PSA is also indicated for the serial measurement of PSA to aid in the prognosis and
 management of prostate cancer patients . Elevated PSA concentrations can only suggest the
 presence of prostate cancer until biopsy is performed. PSA concentrations can also be
 elevated in benign prostatic hyperplasia or inflammatory conditions of the prostate. PSA
 is generally not elevated in healthy men or men with non-prostatic carcinoma .

 Biotin in specimens ta ken from patients on high-dose biotin therapy or supplements may
 interfere with this test and cause inaccurate test results. It is recommended that for
 patients rece1v1ng therapy with high biotin doses (> 5 mg/day), no laboratory test
 specimen should be collected until at least 8 hours after the last biotin administration.


 TSH w/FT4 Reflex - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~
                                                                                    LUIS HERNANDEZ, MODESTO 1-77069
 TEST                 VALUE       REF. RANGE   UNITS                                     REF. RANGE    UNITS    LC
 TSH w/FT4 Reflex     2.780       0.270-4.20   ulU/ml



 Biotin in specimens taken from patients on high-dose biotin therapy or supplements may
 intefere with this test and cause inaccurate test results. It is recommended that for
 patients rece1v1ng therapy with high biotin doses (> 5 mg/day), no laboratory test
 specimen should be collected until at least 8 hours after the last biotin administration .


 CBCw/ANC
                                                                                        LUIS HERNANDEZ, MODESTO 1-77069 1
 TEST               VALUE      REF. RANGE    UNITS    LC   TEST              VALUE           REF. RANGE    UNITS    LC
 WBC                5.2        3.6-11 .0     K/ul     AA   MCV               84.7            81-99         fl       AA
 RBC                4.82       4.3-5.7       M/ul     AA   ROW               13.3            10.5-15.0     %        AA
 HEMOGLOBIN         13.8       13.5-18.0     g/dl     AA   MCH               29             27-33          pg       AA
 HEMATOCRIT         40.8 L     41-50         .%..     AA   MCHC              34              30-36         g/dL     AA
 PLATELET COUNT     210        140-440       K/ul     AA
 NEUTROPHILS        55.1       39-80         %        AA   EOSINOPHILS       1.9           0-6             %         AA
 BANDS              0          0-7           %        AA   BASOPHILS         1.0           0-2             %         AA
 LYMPHOCYTES        29.7       24-44         %        AA   OTHER             0             0               %         AA
 MONOCYTES          12.3 H     0-12          %        AA
 NEUT, ABSOLUTE     2.87       2.0-6.9       K/ul     AA   EOS, ABSOLUTE     0.1 0         0.0-0.7         K/ul      AA
 BAND, ABSOLUTE     0.00       0.0-0.6       K/ul     AA   BASO, ABSOLUTE    0.05          0.0-0.2         K/ul      AA
 LYMPH, ABSOLUTE    1.54       0.6-3.4       K/ul     AA   OTHER, ABSOLUTE   0.00          0.0                       AA
 MONO, ABSOLUTE     0.64       0.0-1 .1      K/ul     AA

 LABORATORY TESTING WORK CENTER CODES - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
 AA
 IP PENDLETON 1
 2460 SW Perkins Ave
 PO BOX 1208
 PENDLETON, OR 97801
 (541) 278-4 730

LUIS HERNANDEZ, MODESTO                        THIS IS A COMPLETED REPORT                                         1-77069
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                Case 2:24-cv-00120-AR         Document 1               Filed 01/18/24        Page 35 of 173

@ INTERPAiH                                                                                                          (800) 700-6891
                                                                                                                BEND (541) 385-1837
                                                                                                               BOISE (208) 375-2350
                                                                                                          PENDLETON (541) 278-4730
  IJ            LABORATORY                                                                                   SEATTLE (206) 623-3814


  Patient Name: LUIS HERNANDEZ, MODESTO              Accession: 1-77069              Client: SNAKE RIVER CORRECTIONS
           DOB: Jul 24, 1969 53y M                    Request: SRC-9115          Collected: Jan 20, 2023 N/G
              Dr: FRANK                                     ID:21941529        Accessioned: Jan 20, 2023 13:00 MST
       Mail stop: FAX                                     SSN:                  Completed: Jan 21 , 2023 07:00 MST
                                                                                  Hrs Fast: 9.00
                                             THIS IS A COMPLETED REPORT
LIPID PANEL
                                                                                                LUIS HERNANDEZ, MODESTO 1-77069
TEST              VALUE         REF. RANGE   UNITS        LC    TEST                 VALUE          REF. RANGE         UNITS    LC
CHOLESTEROL       202 H         OPT: <200    mg/dL        AA    VLDL                 25             4-40               mg/dL    AA
TRIGLYCERIDES     127           30-150       mg/dL        AA    CHOUHDL              4.2            OPT: <4.97                  AA
HDL               47.9          OPT: >40     mg/dL        AA    NON-HDL CHOL         154 H          OPT: <130          mg/dL    AA
LDL               129 H         OPT: <100    mg/dL        AA


COMPREHENSIVE METABOLIC PANEL
                                                                                                LUIS HERNANDEZ, MODESTO 1-77069
TEST              VALUE         REF. RANGE   UNITS         LC   TEST                 VALUE          REF. RANGE     UNITS    LC '
SODIUM            140           132-143      meq/L         AA   CARBON DIOXIDE       25             19-31          meq/L    AA
POTASSIUM         4.3           3.6-5.1      meq/L         AA   ANION GAP            15.3           7-21                    AA
CHLORIDE          104           95-112       meq/L         AA
GLUCOSE           94            70-100       mg/dL         AA   GFR ESTIMATION       76                                ml/min   AA
UREA NITROGEN     13            6-23         mg/dL         AA   BUN/GREAT.RATIO      12.6           6.0-28.6                    AA
CREATININE, SERUM 1.03          0.70-1 .33   mg/dL         AA   CALCIUM              9.1            8.5-10.3           mg/dL    AA
AST(SGOT)         21            13-39        U/L           AA   PROTEIN              7.3            6.0-8.3            g/dL     AA
ALT(SGPT)         27            7-52         U/L           AA   ALBUMIN              4.4            3.5-5.0            g/dl     AA
ALKALINE PHOS     97            31-120       U/L           AA   GLOBULIN             2.9            1,8-3.5            g/dl     AA
BILIRUBIN, TOTAL  0.4           0.0-1.2      mg/dL         AA   A/GRATIO             1.5            1.1-2.4                     AA



ESTIMATED GFR Reference Range:
GFR   Greater than or equal to 90: Kidney damage with normal or increased GFR.
GFR   60-89: Kidney damage with mild decreased GFR.
GFR   30-59 : Moderate decreased GFR.
GFR   15-29: Severe decreased GFR.
GFR   Less than 15: Kidney Failure.

GFR   Less than 60: Chronic Kidney Disease, if found over a 3 month period.
For African Americans, multiply the calculated GFR by 1.21.
GFR calculation is not valid for patients under age 18 years.
For patients over age 70 please interpret results with caution as results have not been
validated for this calculation method .

Please Note: Estimated GFR reference range change as of 10/18/2021.


HEMOGLOBINA1C PANEL- - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - -- -- -- ~
                                                                             LUIS HERNANDEZ, MODESTO 1-77069
TEST             VALUE       REF. RANGE   UNITS   LC TEST            VALUE       REF. RANGE     UNITS    LC
HEMOGLOBIN A1C   6.2                      %       AA EST AVG GLUCOSE 131                        mg/dL    AA


Reference Range for HEMOGLOBIN Ale:
   Non-Diabetic                 <5.7%
   Increased Risk for Diabetes 5.7% - 6.4%
   Diagnostic for Diabetes      >6.4
   Diabetic Goal                <7.0%
These values are for non-pregnant individuals according to the American Diabetes
Association. 'Diabetes Care. 2010;33(suppl) : 515-561.'

Hb AlC results may be falsely decreased in the presence of conditions that shorten red
cell survival such as the presence of unstable hemoglobins or hemolytic anemia. Results
may be falsely elevated in the presence of Iron deficiency anemia.


PSA, ULTRASENS - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~
                                                                               LUIS HERNANDEZ, MODESTO 1-770691
                   VALUE      REF. RANGE                                            REF. RANGE    UNITS    LC j
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                        STATE OF OREGON DEPARTMENT OF
                                 CORRECTIONS
                                         Health Services
                       ABBOTT ID NOW Rapid Covid-19 PCR Test .·
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                                                              Patient ID: 21941529
                                                              Date: 29/0ec/2022
Expiration Date: __2_0_23_-_04_/_29_ _ _ __                   Time: 11 :OOcWll
                                                            COVID-19: Negative
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                                                          ' Lot ruTtler: 1084513
Date: - - 12/29/2022                                        Test ID: 4575cf56-6f3a-48
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                                      STATE OF OREGON DEPARTMENT OF
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     Completed By: M. Bi uggei RN
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     Time:
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        Case 2:24-cv-00120-AR    Document 1     Filed 01/18/24   Page 38 of 173

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                                                  SID:    21941529
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                             STATE OF OREGON DEPARTMENT OF
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                                           Health Services
                            ABBOTT ID NOW Rapid Covid-19 PCR Test
                                          Results




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                                   STATE OF OREGON DEPARTMENT OF
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                                     Case 2:24-cv-00120-AR         Document 1          Filed 01/18/24            Page 41 of 173


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                           AJRN:21941529 • . ·. ~Yai~_-._·.~.: ~l.US                 _, DEST0-2_!9_41__5_29      _ : · 7_1241196_9 Ag~ ::,_-3years·
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                                          LUIS~HERN!(NDJ;Z;.MODESTO . · ·      •.   · • • .-:,:-
       Name:                              21941529: '  · · · •. • • . - Ex-am Date_: .
       DOB:                               7/24/1969 Age 53 years           Accession:              0223-1529
                                          M.         l
       Gender:
     • MRN:                               21941529.                                                XR LUMBAR SACRAL 4 VIEWS
                                                                           Exam:
                                                                                                   OBLIQUES
        A~count #:                                                         ?hyskian:               FRANK, FNP, JOHN
      :Consulting ..
                                                                     • ' i: :Fax#:          :-:·. , 15418814946
     •'.Physicians:

                                      .     .   ... ·· r .. ...
       EXAM: Lumbar spine series with obliques are
          .:.
                                                           '
      MISTORY:
       ·:.
               Pain radiating to the! left leg.

      COMPARISON: Ncine

      VIEWS: AP lateral, bilateral o~lique, oblique and coned-down views of the lumbosacral junction
                                                       I
      FINDINGS: ' •                   I
      Subtle levosccliosis versus postural effects.
      Normal lumbar lordo$is. . . J , _ .         .         ..
      Maintained lumba r vertet;irai 8,ody itaturi:! arid disc spacing.
      The bones are intact arid well :mineralized.
      No significant facet arthropat~y. •
      Well corticated sacroiliac joints.               I




• oi~t.ate~·· av:
•.    ,J ••, _ .   .   .   .   :.-
                                          GAMBINO, JOHN
      Signed By:                          GAMBINO, jQHN                    Signed On:




     page I of2
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    Name:

   DOB:                                             7/ 24/1969 Age 53 years                                      Accession:                           0223-1529.
   Gender:                                          M
                                                                •. '
   MRN:                                             21941529       !                                             Exam:
                                                                                                                                                      XR HIP UNILAT MIN 2-3V
                                                                                                                                                      W/PELVIS LT
   Account#:                                                                                                     Physician: ·                         FRANK, FNP, JOHN .
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      1ysicians:, •.                                                                                            ·fax#: -                          •. 15418814946 ·


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   eX.AM:.,/\R :vfo~i( bf the: pelvis with the hips in neutral position and coned-down abducted view ofthe
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                1                                                  i -      •• •          •• • • • • -            --              ·          ··         - •     ··
  HiSIQPN::'.P,iii6Vf;tc1:rs£Jng to the left leg.
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  COM~~Hl_~P,N':, l\)Q_r:i~                                     . :.
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 Flr,!CT\(;~/''::'---:•• ,           ,
 T; , ': (: dvls looks intact and well mineralized.
 T!_>; pubic stmphysis and sac;roiii?ic; joints i:!~e 09t widened, . .   ,_ •
 T'hefemoral heads are nqrm,?.I ~n shape arid position wjth $Ymmetric joint spacing.

 IMPRESSION:
  No ,b ony abnormalities demon 9trated within the pelvis or left hip .
  . i;(,.
  D,ictated By:                                    GAMBINO, JQHN
 !;igried By:                                      GAMBINO, jC:,HN                                              Sit1:naci On:                         ·2/2.4/2023 10:3TAM
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Accessio11: 0206-1529 • MRN: 2194'.1529 .. • Name: LUIS-HERNANDEZ, MODESTO 21941529                  DOB: 7/24/1969 Age 53 y~ars
Diagnosis: SURGICAL REPAIR;.STILLHAVING PAIN         •    •   •
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                                                                                             . .-.   . ..




                     LUIS-HERNANl)EZ, MOl)ESTO
  Name:              21941529 " •                           Exam i:>ate:           . 2/6/2023 -
 DOB:                7/24/1969 Age 53 years                 Accession:              0206-1529
 Gender:             M
                                                                                    XR SHOULDER MIN 2V
 MRN:                21941529                               Exam:
                                                                                    COMPLETE LT
 Account#:                                                  Physician:              FRANK, FNP, JOHN
 Consulting
                                                            Fax#:                   15418814946
 Physicians:



 EXAM: Left Shoulder Series

 HISTORY: Previous shoulder repair. Still painful.

 COMPARISON: None

 VIEWS: AP internal/ external I & Transcapul~r Views

 FINDINGS:
 The bones look intact and well mineralized.

 Adequate internal and external rotation of the humeral head.

 The acromioclavicular and coracoclavicular distances are maintained. Mild superior hypertrophy of
 the distal clavicle at the acromioclavicular joint.

 No regional heterotopic ossifications.

 Glenohumeral jointspacing within normal limits.

 IMPRESSION:
 Mild hypertrophic changes at the acromioclavicular joint.




 Dictated By:       GAMBINO, JOHN
 Signed By:         GAMBINO, JOHN                           Signed On:             2/7/2023 10:00 AM



page 1 of2
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                -.u ·
  Institution ( •
                =
                       (__,,)                                 Oregon Department of CorrectiOi.~
                                                              Tuberculosis Screening Flow Sheet
Cough> 3 wks, coughing up blood or blood-s1ained mucus
Unexplained wt.. Loss> 10 lbs
Unexplained fever, chills, night sweats> 3 wks                                               Known past+ PPD
                                                                                         --~What Year?       __
                                                                                                                        .dQ               LTBI Tx: (cirde) Yes or No
AIDs/Known HIV+                                                                                                                           Date
                                                                                                                                    Yes
Other lmmuno-compromised (e.g. Corticosteriod use)>3 mos                                                                                  completed :._ _ _ _ __
Current Cancer Ox &/or Chemotherapy
Current lmmunosuppressant or Biological Rx                      yes                                                                             Yes
Known recent con1a ct of someone with TB?                       yest/io)
(Signature)__,_-r-----------                    Date             f
                                                         i"), / - : , ~                                                                   Old records
                                                                 /   1                                                                    confirmed._ _ _ __
                                                         fl

                                                                                    No                                                           Yes

        Place PPD, initiate TST#1, then refer to TB                                                                                       Annual screening, signs and
                       Coordinator                                                                                                        symptom review:
                                                                                                                                                   (cirde) yes/no

                                                                                                                                          (Signature):._ _ _ _ __

TST#1        Aplisol _ _ _ Tubersol~

Lot#(   fA'25SAA Exp. Oat()\ ~ d()~"\.                                   Second reading:
                                                                         Date _ _ _ _ Signature_ _ _ _ _ _ _ __
                                                                         _ _ _ mm induration
                                                                         tfreadings differ, refer to the TB Coordinator (check box) □
                                                                         TB Coordinator Signature:._ _ _ _ _ _ _ _ __




Reading 48 to 72 hours) if reaction present, a second
·ead by another nurse is needed
                                                                                         If(+) PPD:
                                                                                         CXR                                                 *Labs: CBC, CMP,
                                                                                         Lab*                                                 HBsAG/AB, HIV,
                                                                                         Confirm Hx of TB                                         HCV-Ab
                                                                                         Tx Oates
         <5mm            5-9 mm                    2:10mm



                                                                                                                           Hx of(+) PPD and BCG:
                                                                          Refer to TB Coodinator                            T--SPOT (cirde) Yes/NO
        No                  No                     Yes




   Recent known                                   TST#2          Aplisol _ _ _ Tubersol _ __
   close contact                                                                                                          Second reading:
                             Suspected             Lot#:,_,_ _ _ _ _ _Exp. Date._ _ _ _ __                                Date _ _ __
   with active TB           HIV infection
        case                                       Placement Date _ _ _ _ Signature _ _ _ _ _ __            Signature~-----------
                                                                                                            - - - - mm induration
                                                   Reading Date _ _ __         Signature         1 - - - - M If readings differ, refer to the TB
                                                                                         -------             Coordinator (check box) □
                                                   _ _ _ _ mm induration                                                  TB Coordinator
                                                  1
                                                                                                                          Signature:
                                                   (Reading 48 to 72 hours) if reaction present, a second
    Rescreen in 1
                                Retest in 2        read by another nurse is needed
        year
                                 months


 :e-ask all questions, refer to TB
 oordinator and provider, CXR,
 abs*,
 TBI tx if Active TB is ruled out by
 rovider
                                                         <1Dmm




                                              Rescreen in 1 year
                                                                                            a10 mm




                                                                                 TB Coordinator
                                                                                  consult appt.
                                                                                                           LUIS-HERNANDEZ, MODESTO
                                                                                                           21941529
                                                                                                           07/24/1969
                                                                                                                                                               J
                                                                                                                Month/year: \ ( /1.(")    :>~CD#lllDH Rev. 11/2019
                                                                                                                               I
           Case 2:24-cv-00120-AR            Document 1   Filed 01/18/24       Page 45 of 173
                                                    Staff:
Nurses:
                  I
Initials    Nam~:                Si   ature:         Initials:     Name:
                                                                   Martinez, N.
                                                                   Mon han, J.
                                                                 , Muto, J.
                      rson, K.                                     Navarrete, A.
                       r,M.                                        Nicholson, D.
                                                                   Ochoa, J.
                       ell, S.                                     Piekarz, M.
                      , T.                                         Potter, K.

            Fishef, T.                                           Reutzel, R.
            FrittsJ P. ·                                         Rick, M.
            Garci~, E.                                                   n,A.
            Gibbqns, A.                                                   z, I.
               eeriewald,
             onesJ T.                                                    z,M.
                                                                      e, C.
                                                                 Strowd; B.
                                                                 VanNess, B.
                                                                 Vickers, T.
                                                                 Ward, C.
                                                                 Williams, J.




Mana 0 ement:
                                                                 Name
                                                                 Price, L.
                                                                 Warden, J.


Initials   NamJ:                 SiITTiature:       Initials:    Name                 SiITTiature
                        Case 2:24-cv-00120-AR                           Document 1
                                                                       Department of Corrections
                                                                                                 Filed 01/18/24                   Page 46 of 173
        _..                                                 MEDICATION ADMINISTRATION RECORD
               FACILITY NAME                    MO. BEGINNING                                            PHARMACY NAME



                  4~                             \ul"'l...v                                                         1 rl/t-t~               M"U\__
 I
                                                                                                                       DAY OF MONTH
              MEDICATION ORDERS                               HF 1      2 3    4   5 6 7      8 9 111 11 12 13 14 15 16 17 18 119 20 21 22 23 24 25 26 27 128 129 130 131
     LUIS-HERNANDEZ, MODEST   SID: 21941529                   I   ~    .I I"i 1-1 .p17 ( 'Y. a I?-. vJ' p ~ ;\; 7 1/1 IP 1'7 -r V'
 I   NAPROXEN    (GEN NAPROSYN) 375MG ·TAJ
 , TAKE 1 TABLET ORALLY TWICE DAILY IF NEEDED
                                                                                              • I '
                                                                                                     .,_,. 1n
                                                                                   ~~\                         1,           '     ,._.,..
   FOR FIVE DAYS (F ILL IN BLANK CARD USED)                                                                            -
   ,.NURSE PROTOCOL,. - OK IN C ELL
    START: 12/31/22           STOP : 01/04123
                                                                                              \ It)
                                                                                                           '    \ "'        j




~)
-




        The following symbols will be used to indicate medication administration practices:
          •    Initials                Dose was administered as ordered                                •        X                           No medication available
          •    Diagonal Line -------- No dose is scheduled                                             •        Blank                       No show
          •    Circled Initials------- Dose was prepared but patient refused                           •        Circled R                   Patient Refused

                               ALLERGIES                                  Drug Regimen Reviewed For Federal Requirements
                                                                                                                                            I DATE ADMITTED           I I   -
                                                                      ROOM NUMBER
                                                                                                                                LUIS-HERNANDEZ, MODESTO
                                                                                                                                21941529
                                                                                                                                07/24/1969                                  -
02/28 / 2023            08:32   208452639 ~~ J
                        Case 2:24-cv-00120-AR                  Document TRICITYPT
                                                                        1 Filed 01/18/24                      Page 47 of 173PAGE              02/ 03


                                         YVlo&e&+D            Lu~s - 1-le .. Y'a...v,Jez::.
                                                    SHOULDER
          HEP~                                      Created by Cody Stephsns Feb 17th, 2023
                                                    View at my-exercise-code.com using code: GSFSPCE

                                                                                                                        Total 12 Pege1 of 2
           1                                                                     4
                                     WALL WALK                                                           INTERNAL ROTATION
                                                                                                         TOWEL STRETCH - IR




                                                                                 tt
                                     Place your affected hand on                                         TOWEL
                                     the wall with the palm facing
                                     the wall. Next, walk your                                           Gently pull up yow- affected
                                     fingers up the wall towards                                         arm behincl your back with the
                                     overhead. Lastly, slide your                                        assist of a towel. Hold this as a
                                     hand back down the wall to the                                      stretch, then lower back down
                                     starting position.                                                  and repeat,
          Repeat 10 limes                                                        Repeat 10Tuncs
          Hold     1o Sc:conds                                                   Hold     10 Seconds
          Complete 1 $Qt                                                         Ccmplete 1 Set
          Perfonn 4TunllSaOay                                                    Perform 4 Times a Day


          2                                                                      5
               ,,               '




      -
      '
                                     TABLE SLIDE-SCAPTION                                                ELASTIC BAND SHOULDER
      '                         .
      '                         ~                                                                        FLEXION
                    '                Sitting in a chair and rest your
                                     Injured ann on a table. Gently                                      While holding an elastic band
                                     slide it forward and to the side                                    at your side, draw up your arm
                                     by leaning in that direction,                                       up In front of you keeping your
      -~                        ·-   Move at approximately 45                                            elbow straight ·
                                     degree angle and then return
                                     to starting position and repeat
          Repeat 10 Tlmes                                                        R8peat 10 Times
          Hold      10 Secon<ls                                                  Hold     1 Se<::ond
          Complela 1 Se!                                                         Complele 3 SelS
          t:>erform 4 T,mes a Dliy                                               Perfonn 2 Times s Day



          3                                                                      6
                                     WALL EXTERNAL ROTATION                                              Shoulder extension w/scap
                                     STRETCH ~ER                                                         stability

                                     start by standing In a doorway                                      Start position: pull your
                                     or at the comer of a wall and                                       shoulder blades together and
                                     place your hand on the wall                                         maintain position
                                     with your elbow bent as
                                     shown. Next, gently tum your                                        End position: while maintaining
                                     body the opposite direction                                         scapular stability pull your
          Repeal 10 Times            causing your shoulder to                   Repeat 10Tnnes           arms Into extansion against
          Hold     10 Seconds                                                   Complete 3 Sets
          Complete 1 Set             externally rotate until a stretch          Perloon 2Tames a Day     resistance from the band.
          Perform 4 Times a Day      is felt. Hold, return to starting                                   Slowly return to start position_
                                     position and repeat.
02/ 28 / 2023    08:32          208452639 ~')
                  Case 2:24-cv-00120-AR                 DocumentTRICITYPT
                                                                 1 Filed 01/18/24 •• r Page 48 of 173
                                                                                                    PAGE 03 / 03

                                                    Yvlode.s+c:. Ll,t.~ S - l-tun&L-r1Jez }~ IC, </-1 s~ e,
        Powered by HEP2go.com                            Created By Cody Stephens                       Feb 17th, 2023 - Page2 of 2

        7                                                               10
                                 ELASTIC BAND SHOULDER                                           ELASTIC BAND SHOULDER
                                 ABDUCTION                                                       EXTERNAL ROTATION- ER
                                 Whlle holding an elastic band                                   While holding an elastic band
                                 at your side, draw up your arm                                  at your side with your elbow
                                 to the side keeping your elbow                                  bent, start with your hand near
                                 straight                                                        your stomach and then pull the
                                                                                                 band away. Keep your elbow
                                                                                                 at your side the entire time.
        Repeat 10 Times                                                 Repeat    10 Times
        Hold     1 Secc)!'ld                                            Hold     1 Second
        Comple1e S Se1S                                                 Comple\e 3 Sets
        Perlonn 2 Times a Day                                           Perform   2 Tmes a Day


        8                                                               11
                                 ELASTIC BAND SHOULDER                                           ELASTIC BAND ROWS - 90
                                 ADDUCTION                                                       ABDUCTION

                                 While holding an elastic band                                   Start by holding an elastic
                                 away from your side, pull the                                   band with both hands and then
                                 band towards your side. Keep                                    move your elbows back as
                                 your elbow straight.                                            you bend your elboWS- Keep
                                                                                                 your upper arms about 90
                                                                                                 degrees away from the side of
        Repaat   1O Times                                               Repeal 10 Tines          your body. Return to starting
        Hold     1 Second                                               Hold     1 Second
                                                                        Complete 3 Sais          position and repeat.
        Complete 3 SE$
        Perlorm 2 limee a Dey                                           Perfo,m 2 Tim"" a Day



        9                                                               12
                                 ELASTIC BAND SHOULDER                                           BICEP CURLS
                                 INTERNAL ROTATION - JR
                                                                                                 With your arm at your side,
                                 While holding an elastic band                                   bend at your elbow to raise up
                                 at your side with your elbow                                    the free weight/ dumbbell.
                                 bent, start with your hand away                                 Lower back down and repeat.
                                 from your stornach, then pull
                                 the band towards your                                           Keep your·palm face up the
                                 stomach. Keep your elbow                                        entire time.
        Repeat   10 llmea                                               Repeat    10 Times
                                 near your side the entire              Hold      1 Second
        Hold     1 Second
        Complete 3 Sets           time.                                 Complete 3 Sets
        Perfonn 2 Tanes a Day                                           Perform 2 Timas a Day
                     Case 2:24-cv-00120-AR     Document 1            Filed 01/18/24        Page 49 of 173



                       CDOC REFERRAL/ PRECERTIFICATION REQUEST FORM
                krH-12.....,.,.,..
   ,.,,,.,.,,,,,.                                                                 CHP CDOC Medical Management
                                                                                   Phone: 1-866-362-1374 Option 2
Correctionalffi"B:e)~fi'-~Partners
                                                                                             Fax: 1-866-362-1375
1125 17th St. #1000
Denver, CO 80202                                                             Date of request: 211 0/2 0 23

Offender
      Last Namewi',- \..\ef"ty~                                First Name V}odJ_,S\1,)
      Offender ID J.\Q L( j 52Q

                    Gender [] Male    □ Female
                    Facility   SRCI



Priority Level _ _ _ _ _ _ _ _ _ __                                           "?J~--------
                                                               Custody Level __

Request
      Request Type (check one):
      D Ambulatory Surgery                           0 Inpatient                          □ Pharmacy
      D DME (Durable Medical Equipment)              0 Observation                        D Surgical Assistant (SA)
      D Office V isit                                l:ia Therapy (PT/OT/ST/Card Rehab)   D Outpatient Diagnostic
                    □ Other _ _ _ _ _ _ _ _ __



Requesting Prqvider .            .
      Name ,,b\r)o t:f'Ct...0 IL Ei.,)Q                        Contact._ _ _ _ _ _ _ _ _ _ _ _ __
      Phone 541-881-5000                                       Fax 541-881-4928

Refer to Provider
       Name TRICITY PT FRUITLAND
       Phone 208-452-6366                 Fax 208--452-6399
       Surgical Assist_ _ _ _ _ _ _ _ _ _ Facility_ _ _ _ _ _ _ _ _ _ _ _ __

Clinical
       DOS      2/16/2023
       ICD-9 I.tv\.:6.l o 2. _ _ _ _ _ _3. _ _ _ _ _ _4. _ _ _ __
       CPT 1. Q-:J\(;'2 2.              3.            4. _ _ __

Supporting Medical Information (Criteria for Surgery/ DME / What is the provider trying to rule
out? I Past tx, history (therapies, etc.)/ Test results (radiological evidence, etc.):
 Pr .((Yb\,,.ut re( QYJt SLA-9 Yf{2CU.X: ~ <;hou.Jd&r
 SRCI NI IRSE 541-881--4982




This precertification is not a guarantee of payment. Coverage will be determin,ed based on medical necessity, eligibility,
                      policy provisions and availability of remaining benefits, at the time of service.

                                                                                                                 Effective 9/1/05
                                                                                                               Reviewed 08/2013
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                                                                                              PROVIDER'S RETURNING INFORMATION
    ◄ - ·r ·            ···-.~-.:..:..:...=. · •·· r ·• • •                                         ·•- --=·· .. •:.;.;...:~ ~ ~-- ==-~~-...     •   1-,,· ~         -   ,-       ·• ·· ·-c,.   • · ◄ :t




Diagnosis and Findin~n•




Provider's Recommendations/ Orders (Do not mention any specific follow up dates or times to the inmate/patients
for security reasons):
~              -
\J




Community Provider's Signature:                                                                 ~~                                                              ~ Date:       ..:,.   /2 '- /..2. ~
                                                                                                                                                                                                i

               PLEASE REMEMBER TO SEND/ FAX A COPY OF YOUR WRITTEN REPORT TO THE REFERRING ODOC PHYSICIAN
        u,•.___., .    e-   Iii! •   •   ·s:-   •   iC-   · -·   ►-   a: e::       • ns-:r-e -- -    a ·· -:r·




                                                              POST CONSULT DOC C01\1MENT SECTION (Institution Use Only)

           0 Community Provider Orders Reviewed by Nursing with ODOC Provider for Urgent Needs:
                   0 No Urgent Needs                O Urgent Needs, Orders Transcribed

ODOC Nursing Signature~                                                                                              12 l~                     Date:           --21(t fl,~                          Time:
                                                                                                                                                                                                            (8 oo
                                                                               /          /                      I   •                                           I        '
           0          Orders Approved


           0          Orders Denied


           0 ToTLC



Comments:




ODOC Provider:                                      < "'--J~                                                                                                                  ~
                                                                                                                                           Date: - - - - f e , < - - - - j - - - L . - . . . . . . . . . , . ~ - - - - - - - - - -

                                                                                                                                                                              CD 491 H Revised 04/2017
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                                            Departamento de Correciones de Oregon- Division de Servicios de Salud
                                                  Formulario de Vacunas para Adultos- Dosis de Refuerzo
                                                           Bivalente Moderna COVID-19 Vacuna
 El Departamento de Correctiones esta ofreciendo la vacuna para el COVID-19 Moderna, Bivalente para todas personas que son
 eligible.

 He recibido, lefdo, o me han explicado, y entiendo la informaci6n de la hoja provista de la vacuna COVID-19. Por la presente
 autorizo al Departamento de Correcciones de Oregon que me administre la vacuna de Refuerzo de Morderna para COVID-19, la
 vacuna Bivalente. El alcance de este consentimiento incluye la administraci6n de la vacuna, discusi6n con un proveedor medico
 si se solicita, atenci6n y tratamientos inmediatamente despues de la administraci6n segun sea necesario.



                Dosis de Refuerzo de Moderna Bivalente                                                             Recomendaciones

                                                                                    Historia de la Vacuna           Siguiente dosis
    Firma                                     Fecha                                 Serie primaria                  Al menos de dos meses 1 bivalente dosis
                                                                                    Serie primaria + 1 refuerzo     Al menos de dos meses 1 bivalente dosis
    D yo doy consentimiento                                                         Serie primaria + 2 refuerzos    Al menos de dos meses 1 bivalente dosis


~Yo rechazo de recibir la do~s .,de Refuerzo de Moderna Bivalente para COVID-19
l L...,; S1 } t € _ ~ /~/9--0-:'-o;Aq_
h/;1/P; ~~ DEC 2 6 2022
 Finna de Testigos del Personal (Solamente Rechazo) Fecha


Preguntas de detecci6n medica para vacunas para adultos. Favor de contestar sf o no a las siguientes preguntas. Estas
preguntas determinaran si deberfa recibir vacunaci6n hoy.

                                                             Dosis de Moderna para COVID-19
  Se siente enfenno hoy?                                             SI      No     Mujeres: Esta usted o cree que podrfa estar embarazada?             SI    No
  Ha sido antendido con terapia de anticuerpos para COVID-19 en      Si      No     Tiene usted cancer, leucemia, VIH/SIDA, antecedentes de             Si    No
  los ultimos 90 dias?                                                              enfermedad autoinmune o cualquier otra condici6n que
                                                                                    debilite el sistema inmune?
  Ha tenido una reacci6n alergica grave o amenazante para la vida,    Si     No     Toma algun medicamento que afecte su sistema inmune come            Si    No
  como ronchas, o dificultad para respirar a a/guna vacuna o                        esteroides, medicamentos contra el cancer o ha tenido algun
  lnyecci6n?                                                                        tratamiento de radiaci6n?
   En los ultimos 14 dias a tenido alguna vacuna? (lncluyendo la      Si     No
 . vacuna contra la gripe)




Debe comoletar el vacunador
                                                                                                    Dosis de Moderna de Refuerzo
               Moderna 0.50 ml                                                         Lot#           I       Exp. Date     I                     VIS
                                                                                                        I                            I
                                                                                                        Lor R deltoid (circle one)
               Sitio de Administracion:
                                                                           Administrator

After conducting the appropriate patient safety screening for the intended vaccination(s)
licensed nursing staff within the DOC are authorized to administer the following vaccinations
under the prescriptive authority of the DOC Chief of Medicine, and according to approved
DOC population health processes pertaining to t he voluntary vaccination of: COVID-19                          LUIS-HERNANDEZ, MODESTO
 r;.., r/-                                                                 9/7/2022
                                                                                                               21941529
                                                                                                               07/24/1969
DOC Chiefof Medicine                                                         Date
Spanish Version on other side
                                                                                                                                                         CD# 1978
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                                     Oregon Department of Corrections - Health Services Division
                                                    Adult Vaccine Consent Form Booster Dose

                                                      COVID-19 Moderna Bivalent Vaccine
 The DOC is offering the COVID-19 Moderna, Bivalent vaccine for all vaccine-eligible persons.

 I have received, read, or had explained to me, and understand the COVID-19 vaccine information sheet provided. I hereby
 authorize Oregon Department of Corrections to administer a Booster Dose of the COVID-19 Moderna, Bivalent vaccine. The
 scope of this consent includes administration of the vaccine, discussion with a provider if requested, care and treatments
 immediately after administration as needed.



                   Booster Dose Moderna Vaccine                                                                  Recommendations
                                                                                 Vaccine History                         Next Dose
  Patient Signature                          Date
                                                                                 Primary Series                         at least 2 months        1 bivalent dose
                                                                                 Primary Series + 1 booster             at least 2 months        1 bivalent dose
  DI consent
                                                                                 Primary series + 2 boosters            at least 2 months        1 bivalent dose



 □ I decline the Covid-19 Booster Dose Vaccine


 Signature                                 Date



 Staff Witness Signature (Refusal Only}    Date

 Medical screening questions for adult vaccines. Please answer yes/no to the following questions. These questions will be used to
 determine whether you should be given vaccine today.

                                                                 Booster Dose Covid 19 Vaccine
  Do you feel sick today?                                              Yes      No     Women: Are you or do you think you might be pregnant?              Yes   No
  Have you been treated with antibody therapy for COVID·19 in          Yes      No     Do you have cancer, leukemia, HIV/AIDS, history of                 Yes   No
  the past 90 days?                                                                    autoimmune disease or any other conditions that weakens the
                                                                                       immune system?
  Have you had a serious or life-threatening allergic reaction, such    Yes     No     Do you take any medications that affect your immune system         Yes   No
  as hives, or difficult breathing to any vaccine or shot?                             such as steroids, anticancer drugs or have you had any radiation
                                                                                       treatments?
  Have you had any vaccines in the past 14 days? (Including flu         Yes     No
  shot)




To be completed bv vaccinator·
                                                                                                Booster Dose Moderna
               Moderna 0.50ml                             Lot#           Exp. Date                                            VIS

                                                     AS7166B           12/31/2069         Aug 31, 2022

                                                     Lor R deltoid (circle one)                                                                                  . ';.:
               Administration site:
                                                                                               Administrator:

After conducting the appropriate patient safety screening for the intended vaccination(s)
licensed nursing staff within the DOC are authorized to administer the following vaccinations               '
under the prescriptive authority of the DOC Chief of Medicine, and according to approved                        LUIS-HERNANDEZ, MODESTO
DOC population health processes pertaining to the voluntary vaccination of: COVID-19
                                                                                                                21941529
 ~ ii-                                                                        9/7/2022                          07/24/1969 : ) ~
DOC Chief of Medicine                                                           Date
Spanish Version on other side                                                                                                                    CD# 1978
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                                                              Filed 01/18/24

                            Departamento de Correcciones de Oregon
                    NOTIFICACl6N DE EMERGENCIA DE SERVICIOS DE SALUD

NO QUIERO DAR INFORMACION A NADIE


Firma                                  Fecha •
SI QUIERO DAR INFORMACION A ALGUIEN - MIRE ABAJO

~ f1' H01u&22de~ cfloclefo 1I -;,? o ~~/42--,
Firma                                                 Fecha
En caso de una investigacion acerca de mi condicion ffsica o cuidado durante mi encarcelamiento, o
un emergencia medica que .requerir, intE3rvenciqn para salvar la vida o hospitalizacion. Yo le day
autorizacion a la Division de Servicios de salud del Departamento de Correcciones de Oregon, para
que le den la informacion confidencial medica a esos nombrado aquf en seguida.
                                                        . .     . •.                          .

     1•    /    Enfe(medad grave, hospitalizacion o cirugfas                                        .
          ____L__Emergencia de salud o muerte
          _L_lnvestigacion CQ[l respeto de mi salud o cuidado                 .
           i/    La informacion de salud _mental limitada a una vision general de servicios disponibles
                      ' .                                              I       .
En caso de mi muerte, Yo entiendo que el Departamento de Correcciones de Oregon se pondra en
contacto con esta persona para hacer preparativos final de mi propiedad y mis restos de acuerdo
con la Division 27 Death (Inmate)                                           •
Nombres y domicilios de las personas que recibiran informacion:
Contacto Primario •                               Contacto Secundario

lwe-??a---
Nombre I
                    d-e ·. Jw/2                        1+:!ei'a21dzo fv,/4
                                                      Nombrev
                                                                                   4 •




Relacion                                              Relacion


Numero y Calle                                        Numero y Calle


Ciudad, Estado y area postal                          Ciudad, Estado y area postal

                                                     (5o3':>       tz<JW-£r~
                                                      Numero aetelefono •
                                                                             l
Mi consentimiento puede ser revocado en cualquier momenta. La unica excepcion es cuando la
accion ya haiga ocurrido coma esta dictado en este consentimiento .. A menos que no sea revocado
antes, este consentimiento expirara un aiio desde la fecha firmada.


Firma                                                   Fecha

Revisado: 8/2009
                                            . Nombre:         Lu 1s -Hevnan&z...'        -.

                                             Numero de ldentificaci6n:         2-lq 41 S:20/
                                             Fecha de nacimiento:              1:/i4/1q It!/

  FAVOR DE REGRESAR ESTA FORMAA HEALTH SERVICES AL COMPLETAR. GRACIAS.
      Case 2:24-cv-00120-AR           Document 1      Filed 01/18/24       Page 54 of 173


                              Departamento de Correcciones de Oregon
                      NOTIFICACION DE EMERGENCIA DEL SERVICIO DE
                      SALUD
 NQ QUIERO DAR INFORMACION A NADIE

  ./44c f, H uz1a21/tM= iuak~____._ll_~---
 Firma                                                             Fecha
 S,l QUIERO DAR INFORMACION A ALGUIEN - MIRE ABAJO

 !.Lft,rz 'l/ed-nfl-??l~~ td/'/tl'e51o
 Firm a                                      _,
                                                        /L -M   - 2£
                                                            Fecha

 En caso de una investigaci6n acerca de mi condici6n fisica o cuidado durante mi
 encarcelamiento, o un emergencia medica que requerir, intervenci6n para salvar la vida o
 hospitalizaci6n. Yo le doy autorizaci6n a la Division de Servicios de salud del Departamento de
 Correcciones de Oregon, para que le den la inforrnaci6n confidencial medica a esos nombrado
 aquf en seguida.




          I
                  Enfermedad grave, hospitalizaci6n o cirugfas
                  Emergencia de salud o muerte
                  lnvestigaci6n con respeto de mi salud o cuidado
                  La informaci6n de salud mental limitada a una vision general de servicios disponibles


 Nombres y domicilios de las personas que recibiran informaci6n:

 Contacto Primario                                    Contacto Secundario

                                                     8 I~ ;fbncko, k✓~9
 Nombre                                               NbmB're                         '
                                                          ,,. f/


 Relaci'6n                                            Refat16~


 Numero y Calle                                       Numero y Calle


 Ciudad, Estado y area postal
                                                       o /2= q7t2-71
                                                      Ciuda'd, Estad6 y area postal

Ii~ 3 /f.tlST?i -=-f'Lf:9
 Numero e t
                                                     q-<?3, C?Cf.X-1//!'r{l, I
                                                      Numero cfe telefono
 Mi consentimiento puede ser revocado en cualquier momento. La (mica excepci6n es cuando la
 acci6n ya haiga ocurrido coma esta dictado en este consentimiento. A menos que no sea
 revocado antes, este consentimiento expirara un aiio desde la fecha firmada.

 Firma /. l,L./ ~'?   /1-ec/~ z : : _                 Fecha /       1 ,,,£:--2:-3Z.9_
Revisado: 1212016
                                                        LUIS-HERNANDEZ, MODESTO
                                                      [ 21941529
                                                        07/24/1969
   FAVOR DE REGRESAR ESTA FORMA A HEALTH SERVICES AL COMPLETAR. uKA~IAS.
                                                                 CD1684
      Case 2:24-cv-00120-AR          Document 1      Filed 01/18/24        Page 55 of 173


                               Oregon Department of Corrections
                        HEALTH SERVICES EMERGENCY NOTIFICATION

  I DO NOT WANT INFOR,MATION PROVIDED TO ANYONE


  Signature                                                  Date
  I DO WANT INFORMATION PROVIDED - see below


  Signature                                                  Date
 In the event of an inquiry into my health condition or care during my incarceration; or a medical
 emergency requiring lifesaving interyention and/or hospitalization, I hereby authorize the
 Oregon Department of Corrections, Health Services Section to release the following confidential
 medical information to those listed below:
        ___ Serious illness, planned hospitalization or surgery
        ___ Health emergency or death
        - - -Inquiry regarding my health condition and/or care
        - - -Mental health information limited to a general overview of services available
In the event of my death, I understand that the Oregon Department of Corrections will contact
this person to make arrangements for the final disposition of my property and my remains in
accordance with Division 27 Death (Inmate).                                         •
Names and addresses of those to receive information:
Primary Contact                                     Secondary Contact

Name                                                Name


Relationship                                        Relationship


Street address                                      Street address


City, State, Zip Code                               City, State, Zip Code


Telephone Number                                    Telephone Number
My consent may be revoked or changed at any time. The only exception is when·the action has
already occurred as instructed in this consent Unless revoked earlier, this consent will expire
one year from the date of signing.

Signature                                                              1      1
                                                                                  Date


                                                 LUIS-HERNANDEZ, MODESTO
Revised: 5/2016                                  21941529
                                                 07/24/1969


RETURN THIS FORM TO HEALTH SERVICES UPON COMPLETION. THANK YOU. CD1684
                Case 2:24-cv-00120-AR                             Document 1             Filed 01/18/24                 Page 56 of 173
                -                                             )
    ~ Department of Corrections - Health Services Division
    ~ Consentimiento para vacunaci6n de adultos
            f
      Vacuna Antigripa[


      He leido la declaraci6n de informaci6n de vacunas y se me ha explicado la informaci6n sabre la vacuna que recibire hoy.
      Entiendo los beneficios y riesgos y pido que me den la vacuna.



                                                                                                    Date/Fea        /

                                                                                                        11 C}?, {'7 ~
    Staff Witness Signature (Refusal Only)                                                          Date   J       7
                    □ Yo doy consentimientoJf7Yo rechazo de recibir la 2022 - 2023 Vacuna Antiqripal.
    Proyecciones de preguntas medicas para vacunas para adultos. Favor de contestar si o no a las siguientes preguntas. Estas
    preguntas determinaran si deberia recibir vacunaci6n hoy.
                                        ·- ..   •   • •   N
                                                                    DatelFecha                                                              Date/Fecha
      i, Se siente enfermo hoy?                                     Yes/Si No         i, Tiene Alergias a a/gun medicamento, vacuna,        Yes/Si No
                                                                     D       D        comida, huevos o latex?                                D    D
     i,Alguna vez ha tenido una convulsion, problema def            Yes/Si No         i,Alguna vez ha tenido una reacci6n grave a una       Yes/Si No
      cerebro o el sistema neNioso?                                  D       D        vacuna?                                                D    D
     i, Tiene cancer, /eucemia, VJHISIDS, u otro problema           Yes/Si No         i, Tiene enfermedad cardiaca, asma, enfermedad de     Yes/Si No
      de/ sistema inmuno/6gico?                                      D      D         rinones, anemia o a/aun trastomo sanauineo?            D    D
     En el ultimo afio,                                             Yes/Si No         I En los ultimas 3 meses, i,ha tornado medicamentos   Yes/Si No
     i, ha tenido una transfusion de sangre o ha recibido            D      D         como cortisona, prednisona, u otros esteroides,        D    D
      a/gun producto de sangre o globulina inmune?                                    medicamentos anti cancer, medicamentos
                                                                                      antivirales, o ha tenido radiaci6n?
       Para mujeres: i,Esta o piensa que quizas este                Yes/Si No         Ape/lido soltero de su madre.
       embarazada?                                                   D      D




Influenza                         Flucelvax/                             ~L\ J..'3.        IM                      8/6/2021
   (Flu)                           _Seqirus


   After conducting the appropriate patient safety screening for the intended vaccination(s)
   licensed nursing staff within the DOC are authorized to administer the following vaccinations
   under the prescriptive authority of the DOC Chief of Medicine, and according to approved DOC                N LUIS-HERNAN                             I
   population health processes pertaining to the voluntary vaccination of: Influenza (Flu)                     f    21941529                DEZ, MODESTO
                                                                                                                    07/24/1969

   DOC Chief of Medicine                                                   Date: 9/7/2022




   English Version other side                                                                                                 CD #1857 (sp) 9/7/2022
                      Case 2:24-cv-00120-AR                                               Document 1                     Filed 01/18/24                       Page 57 of 173
        'T"   ~
                          Department of C
                          Adult Vaccine Consent Form
                                                                      .ctions- Health Services Division
               ~
               ~          Influenza Vaccine


         I have read the Vaccine Information Statement (VIS) and have had explained to me the information about the
         vaccine f will receive today. I believe I understand the benefits and risks of the vaccine requested and ask that the
         vaccine be given to me.             •



       Signature
                                                                                                                                        Date/          I

       StaffWrtness Signature {Refusal Only)                                                                                           Date



                             □ I consent □ I decline to receive the 2022-2023 Influenza Vaccine immunization.

       Medical screening questions for adult vaccines. Please answer yes/no to the following questions. These questions will
       be used to determine whether you should be given vaccine today.

                                                                                                                                                                                    ..
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                                      ~
                                                                                                                        ..                                                                   Date
                                                                                                                                '
        Do you feel sick today?                                                                      Yes     No    Do you have allergies to a medication, vaccine,                           Yes    No
                                                                                                      □      □     food, eqqs or latex?                                                       □     D
        Have you ever had a seizure, brain or nervous                                                Yes    No     Have you ever had a serious reaction to a                                 Yes    No
        system problem?                                                                               □      D     vaccine?                                                                   D     □
        Do you have cancer, leukemia, HIV/AIDS, or                                              Yes         No     Do you have heart disease, asthma, kidney                                 Yes    No
        another immune system problem?                                                           □           □     disease, diabetes, anemia or a blood disorder?                             D     D
        In the past year, have you had a blood                                                  Yes         No     In the past 3 months, have you taken                                      Yes    No
        transfusion or been given blood product, or                                                □         □     medications such as cortisone, prednisone or                               □     D
        immune globulin?                                                                                           other steroids, anti-cancer drugs, antiviral drugs,
                                                                                                                   or had radiation treabnents?
         Women: Are you or do you think you might be                                            Yes         No     Mother's maiden name.
         pregnant?                                                                               □          □




Va~nation Type                                                                                                                                                                               .• Vacciriator Name &
                                                                                                                                                                                                   Credentials

  Influenza                                           Flucelvax/                                                         IM                            8/6/2021
     {Flu)                                             Seqirus



                                                                                                                                                ,---
      After conducting the appropriate patient safety screening for the intended vaccination(s)
      licensed nursing staff within the DOC are authorized to administer the following vaccinations                                                 LU IS-HERNANDEZ, MODESTO
      under the prescriptive authority of the DOC Chief of Medicine, and according to approved DOC
      population health processes pertaining to the voluntary vaccination of: Influenza {Flu)                                                       21941529
                                                                                                                                                    07/24/1969

      DOC Chief of Medicine                                                                                 Date: 917/2022




     Spanish Version on other side                                                                                                                                             CD #1857 9/7/2022 •
                                                                                     _   . ...,
           Case 2:24-cv-00120-AR                     Document 1      Filed 01/18/24                   Page 58 of 173



                           DIVULGAC16N DE INFORMACIOU DE SERVICOS DE SALUD

lnformaci6n.obtenida-en Ia reiaci6n paciente/proveedor, asr como ra inform~ci6n contenida en·el reglstr~ de
salud dal pacieate es confldencial y nose pueden divuigar excepto coma proporcionado por el estado y el
estatuto federal, o por orden de Oregon o Corte Federal- Informacion dada a los proveedores d:e safud
rnedica y mental de los se.rviclos de salud as confidenciaI y no c-omparfuia con nadie fuera de Ios servlc1os
de salud sln consenfimiento p.or escrrto qon las siguientes excepciones:

Personal de servic1os de saiud no se de el nombre dsI paciente, servicios recomendados o proporcionado, nombre
deJ proveedor, fechas de tratamiento- y un breve comentario sabre et grado de participaci6n. Los proveedores de
tratamiento tarnbien pueden hacerrecomendaciones al personal no - servicios de salud sobre maneras de ayudar a
pacisntes con problemas de saTu<l mental o rneaico sin dar.detalles de diagn6stico o de medfcaci6n prescma.

Personal de servicios de salud no puede darse derta informaci6n de saiud (par ejemplo, diagn6stico, sfntomas de
descompensaci6n, factores derlesgo, etc.) si:

             •    Actua1mente estan actuando dantro de! arnbito oficial de sus funciones paradesarrollary eV<1luar
                  esfrategias de tratamlento y planes;
             •    estin involucrados en el desacroTio de planes de correccionales, planes de t-atamiento medico,
                  riesgo o planes de man.ejo- de comportamiento o planes de prevenci6n de suicidio y crisis como
                  miembros (e.g. designados consejeros correccionafes, oficiales de cubierta de salud mental, etc.)
                  de un equipo mulfidlsciplinario, el equipo •de tratamiento, el Comite. u otro oficial;
             9    estan involucrados en la planificaci6n de Janzamiento; o
             ,.   divufgaci6n es necesarta para la seguridad y la seguridad<lela instifuci6n.

Informaci6n obtenida en una relac;lon rnedico-paciente no es confidencial y se informara al persona! no -
serviclos de saJud y afro personal de la Agencia sesun sea neaesario incluso sln el consentimlent-o escrlto
del paciente.. Segun Jas !eyes estatales yfederales, esto inc!uye el conocirniento de:

         • peligro para sr mismo o a otros;
         • abuso de un nifio menor de 18 afios de edad, abuso de un adulto de 65 afios <le edad o mas o abuse de
         las peraonas que cumpien con el requisite tegaf de discapacidad o snfermedad mental y una vfcfuna
         especificada puede ser identificado;
         • personal deabuso ffsrco o sexual de los reciusos;
         • Jos planes de fuga o intentos;
          • abuse sexual o por otro recluse.

 confidencialldad nose apllcara a Ia informaci6n cuando plantea una amenaza inminente a Ia:salud Y la
 seguridad de uno rmsmo, otros intemos, personal, o a la comun!dad. Los !nformes se limitaran a lo
 necesarlo para mantener la seguridad y mantenerse dentro de los parametros legales..




 Mi finna abajo iodica que entiendo la polltica de          Inma LU\S-HERNANDEZ, MODESTOJ
 confidencialldad y pracficas ufiltz:adas por los
 proveedores de tratamiento de HS ••                        SIDi 21941529

 Comentano intemo:
                                                                  07/24/1969


  Flrma de recluso (Inmate signature)     l w '.2                                Date ,,h-,..h--i-
                                                                                 .                r    I

                                                                              Date
  Staff Witness Signa!ua44,/IC7v
      t          Case 2:24-cv-00120-AR         Document 1       Filed 01/18/24

                                        HEALTH SERVICES l~FORMATION DISCLO~'--a<E
                                                                                    Page 59 of 173



  Information obtained within the provider-patient relationship.,. as well as information contained in a patient's health
  care record is confidential and may not be released except as provided by state and federal statute.,. or by order of
  Oregon or Federal Court.. Information given to Health Services medical and mental health providers is confidential and
  not shared with anyone outside of Health Serviceswithoutwritten consentwith the following exceptions:

          Non-Health services staff may begiventhe patient's name.,.services recommended orprovided.,.
          provider's name, dates of treatment, and a brief comment about extent of participation_ Treatment
          providers may also make recommendationsto non-Health Servicesstaffaboutwaysto help patients
          with medical or mental health problemswithoutgiving details of diagnosis or medication prescribed_

         Non-Health services staff may be given some health information (e_g_ diagnosis, symptoms of decompensation,
         riskfactors, etc.) if:
             •     theyare currentlyactingwithinthe official scope oftheirdutiesto develop orevafuatetreatment
                   strategies and plans;
             •    theyare involved in developing correctional plans, medical treatment plans, risk or behavior
                   management plans orsuicide and crisis prevention plans as members (e_g_ designated correctional
                  counselors.,. mental health housing officers, etc.) ofa multidisciplinaryteam, treatmentteam,
                  committee, orotherofficial;
             •    they are involved in release planning; or
             •    disdos~re is necessaryforthe safety and security ofthe institution_

Some information obtained in a provider-patient relationship is not confidential and will be reported to non-Health
Services staff and/or other agency personnel as needed withoutwritten consent of the patient.. Accordingto State
and Federal Jaws.,. this includes knowledge of:
           • dangerto selforothers;
           o    abuse ofa child under18years ofage, abuse of an adult65 years of age or older, or ab~se ofi_n~ividuals
                who meetthe legal requirementofdevelopmentallydisabled ormentallyill, and a specified victim can be
                identified;
           • staff physical orsexual abuse ofinmates;
           • escape plans or attempts;
           • sexual abuse oforby another inmate_

Confidentialitywill notapplyto information when it poses an immediate threat to the ~ea~ and safety of self.:" o~er
inmates.,.staff.,. orto the ~mmunity_ Reports will be limited to what is necessaiyto mamtam safetyand stay withm
legal parameters


My signature below indicates I understand the confidentiality policy
                                                                             LUIS-HERNANDEZ, MODESTO


                                                                       l
and practices used by HS treatment providers_
                                                                        I:   21941529
Inmate Comments:
                                                                             07/24/1969



Inmate Signature:_ _ _ _ _ _ _ _ _ _ _ __

StaffWrtnessSignature,_ _ _ _ _ _ _ _ _ _ _ __


                                                                                               CD#l859 (10/2019)
                    Case 2:24-cv-00120-AR                      Document 1             Filed 01/18/24            Page 60 of 173
      22 November 2022
                                                ALERT Immunization Information System
                                                 DOC - COFFEE CREEK CORRECTIONAL FAC
                                                            Immunization History Report

 Patient ID:                                                                   Tracking Schedule:   ACIP
 Patient Name:     MODESTO LUIS-HERNANDEZ
 Birth Date:     07/24/1969              Gender: Male
       Age: 53 years, 3 months, 29 days




 Vaccine Group     DateAdmin    Series       Vaccine [Trade Name]   Dose   Mfg Code        Lot#        Bod Rt   Bod St.   Provider oflnformation   React
                   07/04/2021   1 of5      COVID19 Medema           Full                                   IM        LA   WALMART
 COVID-19                                                                             052C21A
                                           Primary 12+                                                                    PHARMACY 1793
                   08/27/2021   2 of5      COVID19 Medema           Full    MOD                            IM        LA   MARJON CO HEALTH
                                           Primary 12+ [COVID19                       036C21A
                                                                                                                          DEPT
                                           Medema Primary 12+ ®


IReaction Descriptions:
 No Records Found.


 Patient Comments:                                                                                     Start Date:         End Date:
 No Records Found




rruruny Physidan,
Address:


'Physician's Signature


MODESTO LUIS-HERNANDEZ                                                07/24/1969
                                          Case 2:24-cv-00120-AR           Document 1                                    Filed 01/18/24                                              Page 61 of 173
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Faciltty Name ~ 068 • MARION COUNTY {068)                                                                               --~AGE; 1 of1                                                                           Month/Year                                           1112022,                                _j

  IBUPROFEN (MOTRIN) «KlMG TAB
  TAK£ 2 TABS BY MOUTH 3 TIMES DAILY                                                                                                                                                                                                                                                                               I

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DIAGNOSIS
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  PATIENT
     NAME
                LUIS-HERNANDEZ,MODESTC
                        DOB:07/24/1969                    1Di1941529              WINGI ~                      ~                                                                                                      ,                                                                                                              :'
                                                                                                                                                  ~,6~k..,,,u..-                                                          -1                     i                                Cindy Gage. RN , p.LJ
                                                                       0- 01:har                                                                                   MA, ,             r.                                   1.As="-lr'\b"'flnr,.1c:: ("I("'\ :...:nT ~                   r,r::,                           ,oru:.::,.:-
 H - Medical Hold                        LD - Lock Down
                                 Case 2:24-cv-00120-AR                                     Document 1            Filed 01/18/24 )Page 62 of 173   •




                                                                                Oregon Department of Corrections (ODOC)  Mission: To promote public safety
                                                                                Offender Information System (OIS) Report by holding offenders accountable




     •                                                                       Produced by ROBINSAC 05/18/2023 12:24:31 PM forrisk
                                                                                                                               their actions and reducing the
                                                                                                                                 of future criminal behavior


                                                                                      Health Services Facesheet
                                                                             Offender: LUIS-HERNANDEZ, MODESTO
                                                                             SID:      21941529
                                                                             Location: Snake River Correctional Institution
                                                                                       Cell: 2G26B
                                                                             Age:        53                      DOB:              07/24/1969
                                                                             Sex:        Male                    Race:             Hispanic
                                                                             Height:     5' 03"                  Hair:             Black
                                                                             Weight: 180                         Eyes:             Brown
                                                                             Primary Language:
                                                                             Secondary Language:
                                                                             Classification:                 3
                                                                             Caseload:                       11035 ESTILLORE
    Inst. Admit Dt: Nov 22, 2022                                              Earliest Release Dt: 04/14/2032                STTL Date:
    Medical Communication (Y/N):                                              Y       Keep At Current Location (Y/N):               N                 Suicide History:              N
    MH Rate:             -                     DD Rate:                            BHS LOF:              MH Case Mgr:

    Health StafostComments:
           ,     - • Cat o                                                 • Comment-text •
                Light Duty Work                                              No push/pull/lift>20# exp 1/27/2024

       ~· ,.r                        ...
    l\t'ajor Diagnose!
     Code         c: Condition .
    BICVNO          Bivalent Covid Booster
                    -OptOut
iB~T                   ·,culated :Sody Mass.
.1..,,,.. .............. ---·~~--·"""                          ,. ...::.
    COVID1          Moderna Vaccine Dose                                                                                        Jul 04, 2021
                   #1                           . , , . ~.... ---=T,~¥,...


'                            ...-..·:·     :
                                                ,
                        .:                      ,:_,~


    DIAB            Diabetes                                                      PRE-A1C6.2                                   Jan 27, 2023

••~--.......----~'""""'-=""'-"'-""''""'
    OPTOUT FLU VACCINE OPT-OUT                                                                                                 Nov 22, 2022
                   Surgical rep
                     -~~~-~- .. ~f'".l<~"""'-'~-""'=••~••-"·~-=,,.~.

    REP            Surgical repair                                                L-Shoulder 7/22
                   Vulnerabi~AIC .                                                                  ==''"""""""""'--
                            '




    Page 1 of 2 ,                                                                                          Offender SID: 21941529 Name: LUIS-HERNANDEZ, MODESTO
Confidentiality Notice: This document contains information belonging to the Department of Corrections. This information may be confidential, restricted , and/or legally privileged, and is intended for
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                            Case 2:24-cv-00120-AR                                 Document 1                   Filed 01/18/24 ) Page 63 of 173
                                                            Oregon Department of Corrections (ODOC)   Mission: To promote public safety
                                                             Offender Information System (OIS) Report by holding offenders accountable
                                                                                                      for their actions and reducing the
                                                         Produced by ROBINSAC 05/18/2023 12:24:31 PM risk of future criminal behavior



   '          Housing Requirements
                       Lower Bunk                                                                                                                                            Jan 27, 2024
              Special Needs
                       Non-English Speaking                                                           SPANISH                                                                Nov 22, 2042
              Light Duty Work
                       Full light work                                                                SEE ABOVE                                                              Jan 27, 2024



                                                                                                                                     Disposttion:                 Appf Oatemme·



                                                                                                                                                                                     End Date




 Page 2 of 2                                                                                          Offender SID: 21941529 Name: LUIS-HERNANDEZ, MODESTO
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                                   /                               ) Page 64 of 173
                           OR.£GON DEPARTMENT OF CORRECTIONS

                                       Problem List
                                                Date Received Date Paroled Date Received Date Paroled
SS# _ _ _ _ __             SSI _ _ _ __

Health lnsurance _ _ _ _ _ _ Veteran _ _
                          Open
SAIF/WC._ _ _ _ _ _ _ _ _ Closed _ _

          Prob.                                                                            Date
  Date     No.                              Problems                                      Resolved




Immunizations:
Tetanus _ _ _ _ _ _ _ _ __                                    Na LUIS-HERNANDEZ, MODESTO
MMR _ _ _ _ _ _ _ _ _ __
                                                              SU 21941529
Polio                    ~
                                                              DC 07/24/1969
Allergies/Sensitivies (}IL.ti ({
                                             Photo
                                                                                        CD 493 H (11/93)
                Case 2:24-cv-00120-AR      Document 1       Filed 01/18/24   Page 65 of 173
      SYSTEM                       +HISTORY                                           EXAMINATION
VIII. Hernia,
                                                                                    ckHl"?W::;> U-lM

IX.   GU (Male)                                                                   ~rt.tj
      penis _
      testes/scrotum      ~                                                      ~               I




X.    Rectum
                            ~                                                            L'
XI.   GU (Female)
      BSD/external
      cervix
      uterus
      adnexa

XII. Nervous System      ~-                                              C,r--l :JC -P::-~~~
                         ,\,.-                                                 ~()~;'\l
XIII. Orthopedic         L- ~v\d..4.~                           pt.(L_         \ ""-i -\,z. ~ /J,()aM

XIV. Mental Status        ~

                                             ASSESSMENT

1.      Write major diagnoses/problems on Problem List.




1.      Write necessary follow-up on Order Sheet.
2.      Write brief SOAP note in Progress Notes.


                       PATIENT TEACHING COMPLETED DURING EXAMINATION

        0 Medications                        J Diet/Exercise                    pself Testicular Exam

        w>weight Reduction                   JP Back Care                        0 Self Breast Exam

        0 Communicable Disease Control                                           0 Smoking Cessation



Instructions/Comments        ~ (9 ~ ~ 'vtM,)J [JJ
                  Case 2:24-cv-00120-AR        Document 1       Filed 01/18/24 ', Page 66 of 173


                                   OREGON DEPARTMENT OF CORRECTIONS
                                    PHYSICAL EXAMINATION


DISTANT VISION           □ With        .fS Without Glasses           R    c2Lj_1u           L           2o(7.))
HEARING                  0 Adequate            0 Not Adequate        (Spoken voice at 20 feet)

                                                 SUBJECTIVE


CURRENT COMPLAINT:                °"'-b;'\ ©Vwt t L ~_,\c\.Jp,,                       v-



                                                  OBJECTIVE
Make pertinent comments regarding positive findings , correlate with positive history when indicated.
WNL indicates that the examiner found no clinical evidence of disease or other health condition.

        SYSTEM                         +HISTORY                                             EXAMINATION
 I.     Integument                                                                         \.#-<~~
        scars
        scalp
        hair
        skin
                              l                                                            v-n-->\.-,

                                                                                            ~

        nails

 II.    HEENT
        head
        eyes              I~                                                                wfL~

        ears
        nose
        throat/mouth

 III.   Lymph Nodes
                                                                               ~
 IV.    Breasts

 V.     Lungs/Chest
                                                                                      ~
 VI.    Cardiac/Circ.     I                                                ~ o 1,..,, tu_ ~w,;l ~

 VIL Abdomen
                          I~ ~o'tn ~ bVJdMA-v-                           JU, \1 ~~t\ Poi\\ L(;Q ~~~
 fMale       0 Female


        n                                                              ~
                                                                            LUIS-HERNANDEZ, MODESTO
 Height'?' 'I;,"'      Weight     L~                                        21941529
 Pulse                 B/P    ll    1Y                                      07/24/1969
 Temp       ~
                                                                                                 CD 1299 H pl (11/94)
                                              ......._

                      Case 2:24-cv-00120-AR
                                      C       Document OF
                                         ~ON DEPARTMENT 1 CORRECTIONS
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                                  MEDICAL RECEIVING SCREENING/MEDICAL HISTOR',


         LEVEL OF                     MENTAL                                                                                  SKIN
         CONSCIOUSNESS                STATUS                        BEHAVIOR                        APPEARANCE                CONDITION

         ..181Alert                   1810riented A0x3              181Cooeerative                  t81Relaxed                181Unremarkable
         □ confused                   ONormal Affect                □ Passive                       LI Clean/Neat             □ Bruises
         □Agitated                    OFlat Affect                  □ Evasive                       ODisheveled               OBreaks in Skin
         Ease of Movement             □ Elated                      □ Demanding                 .   □ Dirty                   □ Rash
         181Normal                    □ Fearful                     □Angry                          □ Body Odor               ODiaphoretic
         □ Umps                       □ Hyper vigilant              □Threatening                    □Tremulous                0 Infestation
         □ Staggering
         □ Other
                                  .   □Hallucinating
                                      □ Delusional
                                                                    □ Combative
                                                                    □Appears in Pain
                                                                                                    □~~dy _[?iformity
                                                                                                    □ Prosthetics
                                                                                                                              □ Needle Marks
                                                                                                                              □Lesions
         Breathing                    □ Incoherent                  QPoor e~e contact               OPoor Dentition           □ Other
         □ Persistent couoh                                         D Uncooperative
         □ Hyperventilation


    1.   Do you have any current illness, injury, or special health requirements?                          Yes□     No181
                 Explain: hx slip and fall injury while in jail- I leg/knee and I arm injury/dislocation- 10/2021-asked for PT bYi
    didn't receive. continued back pain and mobility issues                                                   •

    2.    Dental Screening completed          Yes181          No□      Follow up:       Routine 181         Urgent D         Emergent□

    3.    Are you currently on medications?                                                                         Yes□       No181
                 Medications:- -

    4.    Do you have or have you had any communicable diseases?                                                    Yes□       No181
                 Explain: _ _

    5.    Alcohol and drug use:                                                                                     Yes181     No□
                   Alcohol: Type:_ _                     Amount: _ _          Last Use:16-17mo ago

           Tobacco Type: How much?denies                                    How Many Years?_ _
           Drugs:        Type             1st Use               Last Used            Duration               Mode
                         denies


    6.    Have you had serious withdrawal symptoms (seizures, DT's) after stopping drugs or alcohol?                           YesO      No181
                Explain:_ _

    7.    ALLERGIES:NKDA
                 Reactions: _ _
                                                               MENTAL HEALT_I-!

    1.    Have you ever been treated for mental health or emotional problems?                                       Yes□       No181
                   If yes , when, why, & where? _ _

    2.    Are you currently on mental health medications?                                                           Yes□       No181
                 Medications:_ _

    3.    Have you been a mental health or suicide risk during incarceration at a DOC facility?                     Yes□       No181
                   If yes, explain? _ _

    4.    Have you ever been hospitalized for mental illness?                                                       Yes□       No181
                   If yes , where and how long? _ _

    5.    Have you ever attempted/considered suicide?                                                               Yes□       No181
                  If yes, when, why , & how? _ _

                                                            SUICIDE RISK ASSESSMENT

    6.    Are you thinking of hurting and/or killing yourself now?                                                  YesO      _No181

    7.    Is the patient currently on any level of suicide precautions?                                             YesO       No181



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                                                                                                  Luis-Hernandez,
                                                                                                    Modesto
                                                                                                    21941529
                                                                                                    07/24/1969



     FEMALE INMATE                                                               Are you pregnant now? Yes D No D Unsure D
                                              Yes        No       Comments       If female patient reports current opiate use
              a.    PIO                       0          □                       above (#3 or #5) pregnancy test will be
              b.    Lumps in Breast           D          □                       immediately offered and scheduled.
              c.    Menopausal                D          □                       Yes O NIA 0
              d.    Gyn Surgery               Date:
                   i.Tubal
                  ii.Hyst/Why?
                 iii.Pan Hyst/Why?
                iv.C Sect
    Pregnancy History
              a. Gravida/#pregnancies
              b. Para/# of births
              c. SAS/miscarriages
              d. TAB/abortions
              e. LMP
    Birth Control Method:


                                                      MEDICAL HISTORY

Check appropriate response. Explain all "yes" answers briefly; e.g. date of occurrence or diagnosis, type and length of
treatment or prescriptions.
                                           YES        NO          COMMENT
     1. Arthritis                          □          ~
     2. Eczema/Skin Condition              □          ~
     3. Eye disease/Blindness              □          ~
     4. Thyroid Trouble                    □          ~
     5. Heart Trouble                      □          ~
     6. High Blood Pressure                □          ~
     7. Emphysema/Asthma                   □          ~
     8. Stomach Trouble                    □          ~
     9. Hepatitis/Liver Disease            □          ~
     10. Gall Bladder Problem              □          ~
     11 . Diabetes                         □          ~
     12. Kidney/Bladder Problem            □          ~
     13. Prostate Trouble                  □          ~
     14. Rectal Bleeding/Hemorrhoids       □          ~
     15. Epilepsy                          □          ~
     16. Cancer                            □          ~
     17. Blood Disorder                    □          ~
     18. HIV                               □          ~
     19. STD's                             □          ~


                                          TRAUMA/ORTHOPEDIC/HOSPITALIZATION
                                                   (Significant Only)

Injuries:! arm and I leg injury 10/2021

Surgeries:! arm repair 2022

Hospitalization:no


                                                  IMMUNIZATION HISTORY

Enter date received or N/A
            MMRchildhood        Tetanus_ _          Pneumovax           HepA_ _            Hep B__          Twinrix_ _




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                                                                                                      Luis-Hernandez,
                                                                                                      Modesto
                                                                                                      21941529
                                                                                                      07/24/1969


                                                          FAMILY HISTORY

Are any or your relative known to have:
                                                YES         NO      COMMENTS
     1. Arthritis                               □           181
     2. Allergies                               □           181
     3. Anemia                                  □           181
     4. Bleeding Tendencies                     □           181
     5. Cancer                                  □           181
     6. Diabetes                                □           181
     7. Epilepsy                                □           181
     8. Heart Trouble                           □           181
     9. Hypertension                            □           181
     10. Mental Illness                         □           181
     11 . Other Inherited Disease               □           181

                                                ADDITIONAL INFORMATION
Is there anything else about your health history/status that we should be aware of?          Yes□         No181
                   If yes, explain _ _



*******************************************************************************************************************************
                                                           DISPOSITION

Behavior Health Services Referral

If answer yes to either question (#6, #7) in the suicide section above; inmate will be immediately referred to a mental health
provider:

    Who did you contact? _ _                                What time?

If no mental health treatment provider is on-site a suicide risk screening assessment will be completed by a licensed health
care professional.

Other Referral:       Yes D      Medical D      Dental D     BHS (other than above) D __

    Who did you contact? _ _                                        What time?

Comments related to referral:

Instructed in accessing health care?            Yes 181     No D    If no, why? _ _

Date /Time Screened: 11/22/2022 1703 N Hartshorn, RN




                                                                                                      Luis-Hernandez,
Signature: _ _ _ _ _ _ _ _ _ _ _ _Date:_ _ _ __                                                       Modesto
                                                                                                      21941529
                     (Practitioner Signature)
                                                                                                      07/24/1969




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                                       '
                       ODOC HEALTh .,ERVICES TREATMENT ADMINISTR .. _dON RECORD


~ - - -TREATMENT
        - - - - ORDERS
                 - - - - - + - -1 -.....
                                   2  3
                                        -4 -s -6 -1 -8 -9 -10 -11 -12 -13 -.....-M...o_N__r...H_:............------.....,,......-.......
                                                                          14 is 16 11 18 19 20 21 22 23 24 2s 26 21 28 29 30 31




                                                                                 '-:4' ••   ~   !'.:
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                                                   PROVIDER:                     HOUSING:              PATIENT:


                                                                                                       Lu\ s ·r\ev'V10.inde-z
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                                                                                                                                    TAR 2012
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                                                 _.RECEIVED AUG D 4 2021

                                                                                                          July 27, 2023

       TO:       Orthopedics of Oregon
                 c/o Medical Records
                 1600 State St
                 Salem, OR 97301

       From: Modesto Luis-Hernandez
             SID# 21941529
             SRCI
             777 Stanton Blvd.
             Ontario, OR 97914


       RE:
       Dear/fo whom it may concern,

_ ,.-- . .. _ _.I ~tn_r~ql!e_sJiI}g _a _p9py 9f ~l! _n;i~~i~~l_records     pertaining to all of my visits to your
                                                                - - - - ·- -- - -· - - - -- -- .- - . - - -- - - - -- - -- - -- - -- - - . - - -..
                                                                                                          • ••


       facility from around September
                               .      2021 until around August 2022.
                                                                .    I am requesting this
       information for my previous surgeries and any medical care provided, including any
       additional notes taken or recorded by my attending medical care providers at the time.
                My information is as follows:
                Name: Modesto Luis-Hernandez
                DOB: 7-24-1969




                                   ..
      cc.       Willamette Surgery Center                                            Modesto Luis-Hernandez
                c/o Medical Records                                                  SID# 2194152: 9
                P.O. Box 13730                                                      ·SRCI
                Salem, OR 97309                                                      777. Stanton
                                                                                              .
                                                                                                  Blvd.
                                                                                     Ontario, OR 97914
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    (Por cuanto (iempo'. ha tenido este proqle
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  parte del personal de salud de la carcel. Yo entiend                                ,<,;arci1 puede·co__brcJr.me poi- algunos de estos· '.° .·
  servicios medicos y deducirlos de mi cuenta, dura .                                  ente ofutura$,,~Stadias en fa carcel. Yopuedo •
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    If you have ap. e~ergency, tell the ja1l staff right
    (Si usted tiene una emergencia medica avise a los                                 ronto!)                           • ••

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t : #.'C:z:.£ ~tc:::..~c-rt:;..,..#:a~~;:2._~~~~..£-.£,J'?:::t'--J..~:g_~L-J.1,~,.#.~~ J4.~~;,.;_,__;:.2.!J,:L;~~'?..Li.~                                                                                                                       %
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                                               >t•'. ~JlRION COUNTY JAIL-
                                                              HEALTH 'SERVICES

                                                 MEDICAL REQUEST FORM

     NAME,Jk}e2ffe                         j
                                       (,L/ 5        t:f£<!~                                     ~#:/:l    I qu OCfAq •
             Last (Apell~o) .     First (lj..ombre ) M . I . (lnicial)                            //2 (Numero JeJdentific~cion) 7              {
     Location: ~0        ·r ?'L
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                                                                    (Fecha de Naczmzento)
                                                                                                      ~oday's Date: /CJ   ?-,     J r " ,.2 .. !
                                                                                                                    (Pecha de hoy) •
     Do you have ahy allergies to medications? If yes, list:_'j --L-~-4-J,,6.,. . ._-,::.5:-,:/~
                                                                                              :. '- - - - - - - - - - - ' ' - - - - - - - -
     (Tiene alergias a algunos medicamentos?) Por favor digpp. bazei =-- -
     Tell us about your health problem: /a/Z:
     (Describa su ,problema de salud)
                                                                w
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    This is my permission to get psychiatric, medical or dental exams and treatment from jail staff. I                 ,_··,,_ .:\{>,
--- understand that the jail may charge me for \_ome of these services and deduct it from my account during'=// ,·-·,.,
   _the current or future stays in jail. I wilPget necessary health care even if I am unable to pay. .      • • . . ·•· . . = •
    (Este documento representa mi permiso para recibir -examenes medicos, tratamiento ps.iquiatrico o dental por
    parte def personal de salud de la carcel. Yo entiendo que la carcel pue'ck cobrarme por algqnos .de estos     / ·•
    servicios medicos y deducirlos de mi cuenta, durante la presente o futuras estadias en la carcel. Yopuedo :
    recibir cuidado medico.incluso si no p udiera pagar.. .


7
    , Signature:
      (Firma)
                    ~ j__ /4.. , _,t;; l/e:£na.77
                                                        /                               •
                                                                                            k~-- •
     If you have an emergency, tell the jail staff right away!
     (Si usted tiene una e!.flergencia
                         -..,..;
                                       medica avise a los
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                                                          oficiales pronto!)

     Received By Alpha #: - -.?--
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     Date:·- - - - --           - - - - - - - - , - - - _..___      _____________________

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                                                                          HEALTH SERVIC .,,.
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                                                                       MEDICAL REQUEST FORM.-•, ••

• NAME: J.o                 is Hdroo.nJez_:_ Mode..-rtei                                                    s1D#: .2\ q Y f 5 ;iq
 • •  Last (Apelli1o) ·_        First (Nvmbre )                   M.I. (Inicial) r:                           .      (Numero de Identificacio'n}                                          . •
  Location: POD:                  ~-s
                              Cell: I ;;2,                               y
                                                     Date of Birth: 67 -.:J.g_~---6.!J_ Today's Date: /-c,/;i...2,1ra..0JJ
          (Ubicacion)            · ;· (Selda) . • .             •          (Fechade Nacimiento)                                                     (Fecha d~ hoy)
/ Do you have any allergies to medications? If yes, list:_N              ~ Oc...f;;___ _ _ _~ - - - - - - - - - - -
  (J'iene alergias a algunos medicamentbs?) Por favor .diga a·cuales
 -Tell us about your health problem: _____•""-'-)Ct.~<"'=-+-'~+
                                                      -'                           ;. · _,,_---~f'._1'""""'-=-'---"'-"--'--'--"'./L.L_.. :-,<. L"""'---.. .!L..'f-=-1¥,.=.,c,.q....µ:..<"'4,.'"
                                                                      -'~'l------.,/-:.
                                    ~
                                                         ./J
  (Describa su problema de • salud) -:,c,~'-",,A--"--"~-'--':""L-L-'-'-~~-½-"'CL.1..L..,-'-"-'--¥-.....,,...:+-,.-+.p..,:;.....,_=-'-=,....,.._~                      =¼-f'~-'-7-'-r-'--"--"7
                                        c'.      I
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  /..!a..j,=...I.--'-,1--4'-'-'-¥',-T'-J,.,,,_,~~"""-1'-""+-+-"-~_1>=-"--~    ~   '-'+'~f---'r"...,_-'-+'c;:::;_..........,--f-L-L..L.,£.u..La.......,llf-L-'""'-",...,..,..'--"'=-F-'~   '--,,,,-- - - - - - - , - - - - , -...,.. '•

   ...,..s.~=!.LL..-J--!-l-.....(.....1e..LL---l--L~~~-f-L-:.~               ~.-:...L.!..1-::f-!~~~!:.!.f-!:,-...,.~"""'-=-,~::!...l,l~..il.L::~~~~_.L....~~4-~·                                                                   1/tl
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  C..C.t.Mtlti::::Og___~~~~~f.!=1.4.L,J~L!.).1:'.:.l.t.__..J..;.,,.LJ!d~~~'.....W!.L.U..1.JJ~'[I2..J&.-.:!:1....~L.2:ll..!.::1..~M-'::'.!.2.Kl.al_!...i::~• ·
   =-4--..1,......£.~~J...!.,l-!.C++l'-='-"+Lll.,..,a.o~~=:..:.._::="",,l-U~"-=-"=-'.L''-'=--'-~""-"..!""'-=>-'-'--'.~~!l.Lµ~~~~~f -



   (Por ~uanto t'tempo a teniclo este pro ema. .

   This is my permission to get psychiatric, medical or dental exams and treatment from jail ~taff. I
   understand that th~jail may chargf me for some -0Lthese services and deduct it from .my account during
   the current or future stays in jail. I will get necessary health care even.if I am unable to pay. •
   (Este documento representa mipermiso para recib;r examenes medicos, tratamientopsiquiatrico o dental par
   pa_rte de! pers.,onal de salud de la carcel. Yo ei1tiendo que lq carcel puede cobrarme por algunos de estos
   servicios medicos y deducitlos de mi cuenta, durante la presente o futuras estadias en la carcel. Yo p uedo
   recibir cuidado medico incluso si no pudiera pagar.                          :-- - -           •

   Si~nature:           L&/S,q~7cv;e/e clrfoA~·-0
   (Fzrma)                                           .                                                                                       / (_

   If you have an emergency, tell the jail staff right away! ·
   (Si usted tie_!le una emergencia medica avise a los oficiales pronto!)

   Received By Alpha #:                        IV ~                                                     Date: /           t) fJJ I;} I .Time: . / {;JS:O
                                                                       Health St:rvices Nursing note/plan

   Date:           /0/17/
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   RN's or MH Initials: _ _ _. ,.,.l/9_.·_---'---
                                         ._       Juliet #: ~ (>-:)
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                                         Q ARION COUNTY JAIL )
                                                                   '
                            '                      .- HEALTH SERVICES

 lvl \'S-                                    MEDICAL' REQUEST FORM                                           .,:··

NAME:
        La~t (Apellido
                                    i p.
                             First (MrrJlije ) .
Location: POD:--'c-::,'H--'C e l l : ~ Date of Birth:
                                                               J.. u; 5
                                                        M.l. (Jnrf!:) IJU
                                                                                      SID#:        z/44 Ia5,:},.1
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                                                                         -_{i,_/---4f/Today's Da~e:                   J .     rYS-
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                                                                                                                                          P<..')_
        (Ubicacion               (Selda)                            (Fecha de Nacimiento)                     (Fecha de hoy)            •
Do you have any allergies to medicatj_ons? If yes, list: _ _A-1.'-/__.,c)  _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
(I'iene aler~as a algunos medicamentos? Po; favor ,diga a ~wiles
Tell us about your health problem::.-_' _ _._~'l--'--'~.A----+++---'~~,--,...-........,£..1,.L->-:-_.,,_,1;,,,<-1--+-:,,,_,._,_+r::--\--"=-
(Describa su problema de salud) ---1-+()--'--4~),.,\---,l,,_,!,...!,._J,--H::J-JC~-f-!--+-J-J~~-~~,L_.1.!.,.,1...::J:-~-~-'---+~
               .f               -




Bow long have you had this problem? -----~'---b''--"--'-''-+--1'--'-=_ _ _ _ _ _ _ _ _ _ _ _ _ __
(Por cuanto tiempo ha tenido este problema.

This is my permission to get psychiatric, medical or dental exams and treatment from jail staff."I
~nderstand }hat.the jail may charge me for some of these services and deduct it from my account during
the current~o~ ftiture stays in jail. I will get necessary health care even if I am unable to pay.
(Este documento representa mi permiso para recibir examenes medicos, tratamiento psiquiatrico o dental pbr
parte del personal de salud de la carcel. Yo entiendo que la carcel puede cobrarme por algunos de estos
servicios medicosy deducirlos de mi cuenta, durante la presente ofuturas estadias en la carcel. Yo puedo
recibir cuidado medico incluso si no pudiera pagar.

Signature:3X
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                     Lr/2 )/edz,¢~..C #a/e1>
                                         .             •
                                                                                               To
                     \
If you have an emergency, tell the _jail staff right away!
(Si _usted tiene una emergencia medica avise a los oficiales pronto!)

Received By Alpha #:_""2-
                      __                '~>_______ Date: <:.,.- 2 - 7- L-- Time:                                  I O Ir
                                             Health Services Nursing note/plan

Date: ()(pf ()Cf {7011-,
          I            J
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RN's or MH Initials:--~-,{,._...Vv1~- Juliet#:- - -0-Q
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          Lut ~;H,-tYmn-d•tZ- • ·Me·o1cAL_REQuesT ·FoRNi
     NAME: _//~nc/4z::                     L
                                          u1~     • • ·_ .•       • - . • ·•· ~JD#: ri.Iqy15:i_q •
          . · L/JfJ;iiJido)        First (Nombre)         M.I. (Jnicial) C)J :i
                                                                                   I r7{Numer.o deldentificacion)
     Location: POD: C.f?. Cell: /O(p •Date of Birtht21:_~~-b_                          7 Today's Date: 7--6 -~                    .•
        .     (Ubicacion)             (Selda)                   • (Fecha de Nficimiento)                  (Fecha de hoy)
     Do you have any allergies to medications? If yes, list: ,$;./ ~~                             1         >46 f •
     (Tiene alergias a al.gunos medicamentos?) Por favor diga a cuales •.. ·                  ,.• ·:  _
   . Tell us about your healt_h problem:                        £,       ;;,'                    •
     (Describa SU . foblema de sa>d) ~~~7,...+.~~~+.4t:...p:.~i;:__,,,e:...;i.__.:;::z...z::__..J=,~:=...,...~'-'1f!,P.=~~~~L....J:~•




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      This is~my~permissio.ii tt/ gefpsychfatric;?,lttedical o_r dental exams and treatment from jail staff. I   , ,. ... •
.-. • 11ndersta-nd thatthe jail _qiay charge me:for some of these services and deduct it from my a·ccount during
      the current or fufure stays'inj~il. I will get necesiary health care even if. I.am unable to .pay. •          .
      (Este documento represe-nta mipermiso para redbir examenes medicos, tratamiento p;iquiatrico o di/nfal jibr
      parte de! personal de salud de la carcel. Yo entiendo que la carcel puede cobrarme por algu'nos de estos    •
      servicios medicos y deducirlos de mh!uen~q. durante la presente _a.futuras estadiaS en la carcel. Yo puedo
    recibit cuidfdo medko i~clusa .si n°!ud;;a p p .                            •    _/       ·.
    Signature: C , i / . . ~ c r - - F •                                                                           ·,
    (Fzrma)   , · .   . _ •• • _.   .                                       /                     •     _
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   · If you have ali emergency, tell the jaii staff right ;,._way! -• • /                             ·• .
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     (Si ~ted tiene una ein<rgencia medicii.,:~ise a Zos Oficiales;?':!                           . .• •.•

    Rece1ved·By Alpha#: ~~                          ~"~             J)ate: • ~ )os hi--                            Time: - - - - - - -

                                               Health Services !fursing note/plan-· ·
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    Date:- - - - - ' - - - - - - - , - , - - - - - - - - ' - - - - --                     -   -       ----'-----~----'---



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    RN's _or MH Initials: ______.,.../"\c__,,,===-~ Juliet t._
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                                       ••MARION COUNTY JAIL •
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                                                  HEALTH SERVICES

                                         MEDICAL REQUEST FORM

NAME,     1--u :'.:i tfv
               1               s:-. 11 11de-,._         /rm ~ io    1c--'>             srn#,   cl\~ '1 l 5 ;'.),9
        Last·(Apel-lido) -~ - - First ombre ) -           . :M.f~ (Jnicial)                   (Numero de Identifzckcion)- f (\ . - . -
Location: POD: ( _~ • Cell:             D ~ Date of Birth:_ill_-_1:i-_hl_ Today's Date:                     0 -;J _      ~p  0J.-
        (Ubicaci~                    (Selda)                           (Fecha de Nacimiento)                 (Fecha e'hoy) 1
Do you have any allergies to medications? If yes, list:__,__[\       __i~-- -,- - - - - - - - - - - - - - - -
(I'iene alergias a algunos medicamentos?) P01;...fe_vor di a a _cJiies
Tell us about your health problem:_-,---__~\.----1,--:-~,......,...-'--'<=--------~='"-_,.__ ___;::"""--~---
(Describa su pro ll':_ma de s lud) --="----"-'s-"'-=::-'----"-'if--41.;:---..L.-~->--6--'--'.--4---Y-.!..-"-C¥---,--+-,1,d---\i~~"--.-=--
                            C(     -




How long have you had this problem? __J__~~. . . J.--...o....,..,f--
                                                                  .S ;-----------------
(Por cuanto tiempo ha tenido este problema?)

This is my permission to get psychiatric, medical or dental exams and treatment from jail staff. I
understa~d that the jail may charge me for some of these services and deduct it from my account during
the current.orfuture stays in jail. I will get-n·ecessary- health care even ifl am unable to pay.          .
(Este documento representa mi permiso para recibir examenes medicos, tratamiento psiquiatrico o dental pbr
parte de! personal de salud de la carcel. Yo entiendo que la carcel puede cobrarme por algunos de estos
servicios medicos y deducirlos de mi cuenta, durante la presente o futuras estadias en la carcel. Yo puedo
recibir cuidado medico incluso si no pudiera pagar.

Signature: ~t2,/e.-c; /",/.     )                 J/
(Firma)                     ../ ·- I ;

If you have an emergency, tell the jail staff right away!
(Si usted tiene una emergencia medica avise a los oficiales pronto!)

Received By Alpha#:        A2} I ~ 0 £ 1,..L.                   Date:     07   ~/tv:R            Time: _..____.IDr-J~C)~_

                                         Health Services Nursing note/plan

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RN's or MH Initials:---~~---
                       / l-  Juliet#:- - - - - -
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                                                     HEALTH SERVICES

                                            MEDICAL REQUEST FORM




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 How long
         I
                                                                                 )u / Ya      o      ad         •       /   {7t1.:-/4.
 (Por cuanto tiempo ha tenido este pr                   .          tJ5'[ d £' 7- 'Yl e5e<;) ff tJLOI«/ <o") 1 o. / 0,U/~;
                                                                   <ioo Y-€ e5'7o5"' //j-~ p/ e ;>;;-1q,,5'_.    /    • ,,
  This is my permission to get psychiatric, medical or dental exams and treatment from jail staff. I
. understand that the jail may charge me for some of these services and deduct it from my account during
  the current or future stays in jail. I will get necessary tiealth care even if I am ·unable to pay.
  (Este documento representa mi permiso para recibir examenes medicos, tratamiento psiquiatrico o dental pbr
  parte de/ personal de sa/ud de la carce/. Yo entiendo que la carce/ puede cobrarme por a/gunos de estos
  servicios medicos y deducirlos de mi cuenta, durante la presente o futuras estadias en la carce/. Yo puedo
  recibir cuidado medico inc/uso si no pudiera pagar.

 Signature: ) 0-1
 (Firma)
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                                1
                                f!"Y) 1( W :' d   {:_'.' z _   !            c;
                                                                   l / {f cl+) Ir •

 If you ·have an emergency, tell the jail staff right away!
 (Si usted tiene una emergencia medica avise a los oficiales pronto!)

 Received By Alpha #:               A1v-c;                              Date:   \fl'   ht11Vl2-                       5'---
                                                                                                     Time: _ ")--q'......

                                            H ea/th Services Nursing note/plan

 Date:
      - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - -




                                 ~ Juliet#:
 RN's or MH Initials:- - - - - - - -       - - - -- -
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                                              ··· MARION COUNTY JAiL.,
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                                                                HEALTH SERVICES

                                                   MEDICAL REQUEST FORM

NAME: bl€fOOo:::\e2-       l-1\c;de;s\p              Lu is                     SID#: '2 1q YIS 2 C\
        Last (Apellido)       First (Nombre )         M.I. (Jnicial)                (Numero .de /dentificacion)
Location: POD: C ~ • Cell: I 02-            Date of Bitth:.1'.__-2-Y -<o9 Today's D~-~<~ I -- 2 2-.
                      1
        (Ubicacion)              (Selda)                        (Fecha de Nacimiento)           (Fecha de.hoy).____ 1
Do you hav~ any allergies to medications'? If yes, ~ist: [\VA                ·~ '                                     ----
(Fiene alergzas a algunos medicamentos?)Por favdr,diga a cuales                         +p.;RI
Tell us about your health problem: \ ¼ ?·{v ~ t,y.,:}r 1 , i v'lE:E-G. cl Y1      r-Ji q I +D
(Describa su problema de salud) +-                          -~        • - · -~-.., SI .c::1
        I         ---:p         I                                                    h'




How long have you had this problem? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
(Por cuanto tiempo ha tenido este problema?)

This is my permission to get psychiatric, medical or dental exams and treatment from jail staff. I
understand that the jail may charge me for some of these services and deduct it from my account during
the current or future stays in jail. I will get necessary health care even if I am unable to pay.
(Este documento representa mi permiso para recibir examenes medicos, tratamiento psiquiatrico o dental pbr
pa{fe del p ~rf 01Jf1-l de salud de la carcel. Yo entiendo que la carce/ puede cobrarme por algunos de estos
servicios meiiicos y deducirlos de mi cuenta, durante la presente o futuras estadias en la carcel. Yo puedo
recibir cuidado medico inc/uso si no pudiera pagar.
                           '
Signature:
(Firma)    ~
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If !ouh~~e an emergency, t~ll th~_iajl .s,~~ffright .iw~~x; c·· : :: ,,.. ;; .. . ;c_.• ·. L , _...,,.,,J_:..;" ;___,_ ·..
(Sz usted tzene una emergencia medzca ay zse a los oficzales pronto!)                       · '". cl:::.: _ r

Received By A~pha #:                        ;(L     l£ ,          •   • ·-- ~~~e;: D-'f. . '> 1 - l L           Time: __6_f. ._:-_7~--
                                                                                                                                 ,

                                                   Healtli Services Nursing note/plan

Date:
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                                                     f'Z tt ceJ a               K1




RN's or MH Initials:_ _ _ __..---:::::L::"---- Julie~:.2                         t'
                                                                                           I h I(
                         Case 2:24-cv-00120-AR        Document 1      Filed 01/18/24        Page 81 of 173


      Billing: 503-566-3507
      PO Box 13730
      Salem, OR 97309

      Pay online at:
      WillametteSu rgeryCenter.com                                                     WILLAMETTE
                                                                                           SURGERY CENTER

      MODESTO LUIS HERNANDEZ
      4000 AUMSVILLE HWY SE
      Salem, OR 97317

                                                                                   STATEMENT
 Patient Name: MODESTO LUIS HERNANDEZ                                              MR.N: 400776
 Insurance Carrier: Marion County Sheriffs Office                                  Statement Date: 08/12/2022
 SubscriberlD:21941529                                                             Pay This Amount: $14,647.50
 Group#:                                                                           Due Date:


 Date                Description                                              Charges          Adjustments        Balance
 07/19/2022          29827; SURGICAL ARTHROSCOPY SHOULDER                     $12,266.00                          $8,586.20
                     W/ROTATOR CUFF RPR
-
07/19/4022           Write Off- Insurance Contract                                                -$3,679.80
07/19/2022           29828; SURGICAL ARTHROSCOPY SHOULDER                      $8,659.00                          $6,061.30
                     BICEPS TENODESIS
·-
07/19/2022           Write Off- Insurance Contract                                                -$2,597.70
- -------- -- •• - -·-                                                                             --·- - -- -         -- - -
Current                       31 Days       61 Days         91 Days                121+ Days               Please Pay

j$14,647.50                   $0.00         $0.00           $0.00                  $0.00                  $14,647.50
L ____________ __         _
                                                           ----·-·-- -··· -    -   -
Payment due upon receipt. Pay online at WillametteSurgeryCenter.com.




Patient S1atement                                                                                              Page 1 of 1
                Case 2:24-cv-00120-AR         Document 1          Filed 01/18/24   Page 82 of 173
MARION COUNTY SHERIFFS OFFICE
Inmate Note Details
Inmate Name                                           Inmate ID              Booking Number
LUIS-HERNANDEZ, MODESTO                               651660                 21003298

                         CODE - DESCRIPTION
                         MED EQUIP ~ MEDICAL EQUIPMENT IN CELL
SUB CODE· DESCRIPTION
SHOES - DECK/PERSONAL SHOES ISSUED
COMMENTS
DECKSHOES       '
ENTERED DATE        ENTERED BY                             UPDATED DATE       UPDATED BY
10/23/2021 00:13    7081 - DEOLUS ANTHONY




JMS-482 v1 .0                                   Page 1/1                                      Printed 7/6/2022 3:51:07 AM
                 Case 2:24-cv-00120-AR       Document 1          Filed 01/18/24   Page 83 of 173
MARION COUNTY SHERIFFS OFFICE
Inmate Note Details
Inmate Name                                          Inmate ID              Booking Number
LUIS-HERNANDEZ, MODESTO                              651660                 21003298

                        CODE • DESCRIPTION
                        MED EQUIP - MEDICAL EQUIPMENT IN CELL
SUB CODE· DESCRIPTION
SOCKS-SOCKS ISSUED


ENTERED DATE       ENTERED BY                             UPDATED DATE       UPDATED BY
10/23/2021 00:13   7081 - DEOLUS ANTHONY




 JMS-482 v1 .0                                 Page 1/1                                      Pri nted 7/6/2022 3:50:18 AM
                Case 2:24-cv-00120-AR         Document 1       Filed 01/18/24     Page 84 of 173


                       MARION COUNTY SHERIFF'S OFFICE

                                                                                                    February 8, 2022

Modesto Luis-Hernandez
SID# 21941529
Marion County Jail
C7-104

       Re: Grievance Appeal

Dear Mr. Luis-Hernandez:

I have received your request for an appeal on your grievance dated 01/26/2022, grievance number 002862. In the
grievance you state you slipped and fell causing you injury. You state you were seen by the facility doctor, but need
to see a hospital doctor.

10/19/2021 - you fell and submitted a kyte
10/19/2021 - you were seen by the doctor, given medication, placed on lower tier/lower bunk status, and taken
off work.
10/22/2021 - you were seen by the FNP, given medication and shoes and socks.
01/21/2022 -you were seen by the doctor and given shoulder exercises.
01/28/2022 -you were seen by the doctor, consult was ordered for further evaluation.

Based on the above information, you were seen on the date of injury and now have an outside consult scheduled. If
you have any other medical needs or concerns, please notify medical.


Sincerely,


     1fv{K
Tad Larson
Commander
Marion County Jail




                     Marion County Courthouse• 100 High Street NE/ PO Box 14500, Salem, OR 97'309
                              503.588.5094 • 503.588.7931 {fax) • www.co.marion.or.us/so
                                   "To whom much is entrusted, much is expected."
      03/02/2022 Case  2:24-cv-00120-AR
                 WED 17:30 PAX
                                                                       Document 1               Filed 01/18/24                Page 85 of 173                ~001/002




       FAX COVER SHEET


       To: Scheduling                                                                      From: Deputy John Gelatt
       Agency: HOPE Orthopedic                                                             Agency:_.....J..,.w_·llM
                                                                                                              ........e=d=ic=a=-1-=U=n=it_ _ _ __

       Fax Number: 503-540-6404                                                            Fax Number: _ _(__           50.....3_)5__8___8-___6____
                                                                                                                                                8....
                                                                                                                                                   19_ __
       Phone Number: 503-540-6300                                                          Phone Number:_..:fS-0~3)=5=88--=85=2=8_ __
       Date: 03-02-2022                                                                    Number of Pages: 2
                                                                                           (Including cover sheet)

                                                                       Confidentiality Notice
         The material enclo~ed within this fa1;3imik lr11nsmission is private an(! confidcnlial and is the property of !he. :iGndc;r. The information may be
         privileged and is intended only for the use of the individual(s) or entity to which ii is direct¢<!. If you arc not the intended recipient, be advised
         that any \ln11111hori:tcd dl5Clmrurc, copying. distributing or the taking of action in reliance on rhc conlalts of this 1elccopy informaticm is strictly
         prohibited. lfyou have rc:cc:ivcd this telecopy information in error; please notify our office immediately at(S03) j88-tt528 to arrange for the
         return of the forwarded documents. Thanlc You




       MESSAGE:

      Modesto Luis-Hernandez (07-24-1969 currently resides at the Marion County Jail. He has been seen by the
      jail doctor, Dr. Lance Loberg. Our doctor would like this patient to be seen for MRI and arthrogram ofleft
      jJwl'oulder and MRI of the left hamstring and any follow-up care.

      Please make arrangements ASAP for scheduling by contacting:

      Depaty J. Gelatt at 5035886815




                                Marion County Sheriff's Office. Joi! Division 4000 AumsvHle Highway S.E. Salem, OR 97317
                                                                 503.588.8528 - 503.588.6819 (Fax)
                                                         ''To whom much is entrusted, much is expected."




Name: Luis Hernandez, Modesto                                                     DOB: 07/24/1969                                                                      Datt
                     Case 2:24-cv-00120-AR         Document 1       Filed 01/18/24     Page 86 of 173
                                                                                                    ~002/002
03/02/2022     WED   17:30    PAX


                                     PLEASE WRITE FIRMLY    USE BLACK BALL POINT PEN
 ..      tP
                             MARION COUNTY JAIL • PHYSICIAN'S ORDERS
      Date:                                                                                                1




                 lHIS BOX IS CHECKED A FORMUlARY EQUIVALENT MEDICATION MAY BE SUBSTITUTED BY PHARMACY
                      a')"\,,   Time:    ij ()  Name:                                         0       2




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         UNLESS 'THIS BOX IS CHECKED A FORMULARY EQUIVALENT MEDICATION MAY BE SUBSTITUTED BY Pf-lb.RMACY
       Date:                        Time:           Name:                                                  4




         UNLESS THIS BOX IS CHECKED, A FORMULARY EQUIVALENT MEDICATION MAY BES BSTITUTED BY PHARMACY


       Patient Name.    \tJ L~· ilU' OCl{)Q:UL. Mroe ~ Physician1ac \ chle9
       Allergies_j.J.M_-----,-::-----=---,---:-c:-------,---                   - - - - - - - -.-..      1_~150,_M....,.__ _
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                                                             DOB: 07/24/1969
Name: Luis Hernandez, Modesto
                        Case 2:24-cv-00120-AR
     02/08/2022 TUE 13:35        FAX
                                                                Document 1              Filed 01/18/24             Page 87 of 173 lilJOOl/006




               FAX COVER SHEET

                                                                                     From: DEPUTY JOHN GELATT
              To:
                    -----~-------
                    Agency: HOPE ORTHO
                                                                                                 MARION COUNTY SHERRIFS OFFICE
                                                                                         Agency: _ _ _ _ _ _ _ _ __

                    Fax Number: 503-540-6404                                             Fax Number: 503-588-6819

                    Phone Number:                                                         Phone Number: 503-588-6815
                                         -------
                                                                                          Email: JGELATT@CO.M~-~ION.OR.US

                    Date: 02/08/2022                                                      Number of Pages: _______
                                                                                          (Including cover sheet)


                                                             CONF106NTIALITY NOTICE
                The materiel enclosed within this facsimile traneml&slon is private and confidential and Is lhe property of the sender. The
                information may be privWeged and la Intended only for the use of the lndividual(s) or entity to wh,ich it ie clreeted. If you ar•
                not the intended recipient, be advised that any unauthorized disclosure, copying, distributing or the taking of action In
                reNance on the eonmnts of this information is strictly prohibited. If you have received this facsimile in error, please noUfy
                our office Immediately at (503) 588-5094 to arrange for tt,e return of the forwarded documents.




            Special Instructions:

            LUIS-HERNANDEZ, MODESTO DOB: 07/24/1969 SID; 21941529

            This subject is a AIC at the Marion County Jail , Or Dr. Lance Loberg is requesting a consult for
            rt arm rt shoulder It leg pain

            Please contact me to set a appointment time and date.

            Thank you          Deputy John Gelatt 503-588-6815

            Rev. 6/19




                                  Ma1on County Courthouse • l 00 High Street NE / PO Sox 14500, Salem, OR 97309
                                          503.588.5094 • 503.588.7931 (fox) • www.co.marlon.or.us/$0
                                               "To whom much is entrusted, much Is expected ."




Name: Luis Hernandez, Modesto                                              DOB: 07/24/1969                                                          Dat1
                    Case 2:24-cv-00120-AR         Document 1           Filed 01/18/24    Page 88 of 173 ll!002/006
       02/08/2022
           ,.     TOE 13:36        PAX
                                                               Minion Count} "ail
                                                               Health Services U11it
                                               4000 AumsvJlle Hwy. S.E., Salem, Oregon 97317
                                                  Phone (50?J)S~8528          Fax (503)588-6819
                                                                       '
                                                                                        DATE c9-J-t}-c8-,
                                                         .
                                          OUTSIDE CONSULT REQUISITION
                                PATIENT INFO .                        s. _
                                Name l t,,-A9,z--~~:=tc; ¼rx,:c-~~~

                                SID acctl\L£q3,                        DOB    '7-~
                                Allergies     µ~2?9
                                MRD
                                     -------------------
                                REFERRAL INFO
                                Doctor's Na.me
                                               ----------------
                                Clinic Name    ~ ~~ Cf?-
                                Date/Time of Appt_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                Address
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                                Phone Number
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                                Directions- - - - - - - - - - - - - - - - - -

                                Reason For Consult   full Lc{al 'iL;° ~~
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                            Special Instructions_ _ _ _ _ _ _ _ _ _ _ _ _ __




                            Date Completed_ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Name: Luis Hernandez, Modesto                           DOB: 07/24/1969                                              Datt
                   Case 2:24-cv-00120-AR
     02/08/202 2 TUB 13:36  PAX
                                               Document 1         Filed 01/18/24          Page 89 of 173 ~003/006
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                           MARION COUNTY JAIL • ~1-\YSICIAN'S ORDERS
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          UNLESS THIS BOX IS CHECKED, A FORMULARY EQUIVALENT MEDICATION MAY BE SUBSTITUTED BY PHARMACY
        Date:                   Time:            Name:                                                      3




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        Date:                   Time:            Name:                                                      4




          UNLESS THIS BOX IS CHECKED, A FORMULARY EQUIVALENT MEDICATION MAY BE SUBSTITUTED BY PHARMACY


      Patient Name     l11 L5,- iled' o().{)O:fJL. Mo:k~ Physicianlac LrlelC9
      Allergies    W~                                                                                     1/16DM




Name: Luis Hernandez, Modesto                           DOB: 07/24/1969                                             Datt
                   Case 2:24-cv-00120-AR
    02/08/2022 TUE 13:37    FAX
                                                Document 1       Filed 01/18/24   Page 90 of 173 ~004/006




                                          .MARION C'OU~TY JAIL
                                                        •
                                           Patient Physical History Sheet

       .Patient Name:      l \JU:> . . .\-\l(                                 0   SID#
       Date                                                 Physician Notes




                                                       DOB: 07/24/1969                                      Oat,
Name: Luis Hernandez, Modesto
                 Case
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                                                        MARION c.·?uN1Y JAIL
                                                        Patient Physical History Sheet

       Patient Name:                                                                           SID#
       Date




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Name: Luis Hernandez, Modesto                                       DOB: 07/24/1969                                      Dat1
                   Case 2:24-cv-00120-AR    Document 1         Filed 01/18/24   Page 92 of 173 IZ!006/006
    02/08/2022 TOE 13:37        FAX




                                      MARION COU~TY JAIL   I




                                      Patient Physical History Sheet

       Patient Name:        \\A,{':>., ~



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                                                  DOB: 07/24/1969                                           Datt
Name: Luis Hernandez, Modesto
                            Case 2:24-cv-00120-AR                   Document 1             Filed 01/18/24         Page 93 of 173
   Electronically Signed By: Elliott, Sean ANP 03/21/2022 12:36:38 PM




                                                                                                                               1600 State Street
                                                                                                                              Salem, OR 97301
                                                                                                                           Phone: 503-540-6300
                                                                                                                             Fax: 503-540-6404
                                                                                                                       www.hopeorthopedics.com
          ('

                  PATIENT ID: 107000074752                                                                    EXAM DATE: 03/17/2022
         I           PATIENT: MODESTO LUIS HERNANDEZ                                                         ACCESSION #: 1657468
               DATE OF BIRTH: 07/24/1969                                                                    REFERRED BY: SEAN ELLIOT ANP i
           -· ·- - - - --      - - --
               MR LT HAMSTRING
               fflSJQRY
                 Injury 3 months ago, pain and weakness.

               COMPARISON
               STUDIES
                 Radiographic series 02/23/2022

               TECHNIQUE
                 Multiplanar sequences with Tl, intermediate, T2, and/or T2*-weighted image contrast.

               FINDINGS
                 Hamstring complex: The common hamstring tendon is avulsed from the iscbial tuberosity origin and is retracted distally
                 by 4 cm. Moderate fatty atrophy of the sernimembranosus, semitendinosis, and biceps femoris muscles.
                 Remainder of muscle and tendon groups: Unremarkable.

                 Osseous: No fracture or destructive process.

                 General: No soft tissue mass. Small amount of fluid in the trochanteric bursa.

               IMPRESSION
                    1. Common hamstring complex tendon: Avulsed from the ischial tuberosity origin and is retracted distally by 4 cm.
                       Moderate fatty atrophy semimembranosus, semitendinosis and biceps femoris muscles.
               --- ------   ---·---. ·------- ·---   ------- - - - - - - ---------- - - · · - - - - - · - - - ---- - - - - - - - -- ---------~·
                            _____E~~c~~~~ally ~~~~ ~y Stephen F. Qumn.,__~~Q'~day, M~~~ _1_~'.. ~?22 l :~~5~ P~-_______________ ---1·
                                                               SUBSPECL4LTY INTERPRETATION PROVIDED BY


                                                                     RAodouRcE                                                                1

                                                          TIIANK YOU FOR ENTRUSTING YOUR PATIENT"S CARE TO US .                               II




                                                                                  Page 1 of 1




Name: Luis Hernandez, Modesto                                                 DOB: 07/24/1969                                                      Dat1
                      Case 2:24-cv-00120-AR                    Document 1          Filed 01/18/24           Page 94 of 173




                                                                                                                           1600 State Street
                                                                                                                          Salem, OR 97301
                                                                                                                       Phone: 503-540-6300
                                                                                                                         Fax: 503-540-6404
                                                                                                                   www.hopeorthopedics.com


                PATIENT ID: 107000074752                                                             EXAM DATE: 03/17/2022
                   PATIENT: MODESTO LUIS HERNANDEZ                                                  ACCESSION#: 1657469
             DATE OF BIRTH: 07/24/1969                                                             REFERRED BY: SEAN ELLIOT ANP

             MR SHOULDER - LEFT
             WSJORY
             Dislocation, posterior pain, evaluate for labral tear

             COMPARISON
             STUDIES
             Radiographic series 02/23/2022

             TECHNIQUE
         l Multi.planar sequences with Tl, intermediate, T2, and/or T2*-weighted image contrast.

             FINDINGS
             ROTATOR CUFF: Moderate severity supraspinatus and infraspinatus tendinopathy. Advanced fatty atrophy teres minor
             muscle. Subscapularis tendon severely attenuated lateral 2.5 cm secondary to near complete partial-thickness articular
             surface tearing.
             CORA COA CROMIAL AR CH: AC joint mild osteoarthritis with loss of articular cartilage, cortical irregularities and
             osseous remodeling.
             GLENOHUMERAL JOINT: Long head of biceps tendon mildly medially subluxed with tendinopathy. Diffuse complex
             tearing of the superior and anterior labral segments. Osteochondral abnormality with loss of articular cartilage and cortical
             irregularities anterior inferior glenoid
              OSSEOUS/BONE MARROW: No fracture or significant osseous abnormality.
         I GENERAL: Small amount of subacromial bursal fluid with synovitis.
         ! IMPRESSION
         I     1. Rotator cuff tendon complex: Moderate severity supraspinatus and infraspinatus tendinopathy. Advanced fatty
                  atrophy teres minor muscle. Subscapularis tendon severely attenuated lateral 2.5 cm secondary to near complete
         I        partial-thickness articular surface tearing.
               2. AC joint: Mild osteoarthritis.
               3. Glenohumeraljoint complex: Long head ofbiceps tendon mildly medially subluxed with tendinopathy. Diffuse
                  complex tearing of the superior and anterior labral segments. Osteochondral abnormality anterior inferior glenoid with
                  loss of articular cartilage and cortical irregularities.
         i
         I                       Electronically signed by Stephen F. Quinn, M.D. (Friday, March 18, 2022 1:49:57 PM)
         L




                                                                          Page 1 of2




Name: Luis Hernandez, Modesto                                          DOB: 07/24/1969                                                         Datt
                    Case 2:24-cv-00120-AR            Document 1            Filed 01/18/24        Page 95 of 173



        MODESTO LUIS HERNANDEZ (107000074752)                                                         MR - Shoulder - Left on 03/17/2022




                                                SUBSPECL4LTY INTERPRETATION PROl'IDED BY


                                                      R A. o,Jo u R C E
                                           THANK YOU FOR ENTRUSTING YOUR PATIENT'S CARE TO US.




                                                                  Page 2 of2




Name: Luis Hernandez, Modesto                                 DOB: 07/24/1969                                                              Dat,
                   Case 2:24-cv-00120-AR       Document 1        Filed 01/18/24    Page 96 of 173




                                REQUEST FOR AND REPORT OF CONSULTATION
                                                      MARION COUNTY JAIL
                                                     MEDICAL DEPARTMENT
                                                    4000 AUMSVILLE HWY S.E.
                                                         SALEM, OR 97317

         DATE 0-1"1- 'ZA,,_.-z_

         NAME l,v:~ .. tkfl.,JA,\1.0£,Z. , Mt>b~DOB 1"''t'l-C,' SID 2-f 1'1 l S-~9

         CONSULTANT             1-\-~     "IJ.h4o
         PHYSICIAN REQUESTING CONSULTATION.-=----------c------
         PROBLEM (REASON FOR REQUEST)                    (c) rLI~              p:,{v{v--   (.,;fl   ·/4,"'r
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         EVALUATION

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         A. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         P. _______________________________



         DIAGNOSIS
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         0 REPORT EXTENDED TO PROGRESS NOTES                                                    MCJ REV2019




Name: Luis Hernandez, Modesto                          DOB: 07/24/1969                                        Dat,
                    Case 2:24-cv-00120-AR          Document 1       Filed 01/18/24   Page 97 of 173




                                     REQUEST FOR AND REPORT OF CONSULTATION
                                                         MARION COUNTY JAIL
                                                        MEDICAL DEPARTMENT
                                                       4000 AUMSVILLE HWY S.E.
                                                            SALEM, OR 97317

           DATE 3 • .30-WZ-.2-                             fYl ()Di>./-£>

           NAME       Lv,"5 - H£1lHIIA/D£Z                   DOB J-2.'-l-~'t sm      ~, <? 4i l S,41
           CONSULTANT               H-of.,   olbl,10
              .
           PHYSICIAN REQUESTING CONSULTATION_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           PROBLEM (REASON FOR REQUEST) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




           EVALUATION

           s. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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           A. ·
              ------------------------------
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           DIAGNOSIS            L     ·.4. t:. ~
                         ")/ __ bJ~~_I




           CONSULTANT SIGNATURE                                             ---·               DATE_ __

          0 REPORT EXTENDED TO PROGRESS NOTES                                                  MCJ REV2019




Name: Luis Hernandez, Modesto                            DOB: 07/24/1969                                     Dat1
                     Case 2:24-cv-00120-AR        Document 1     Filed 01/18/24   Page 98 of 173




                                  REQUEST FOR AND REPORT OF CONSULTATION
                                                      MARION COUNTY JAIL
                                                     MEDICAL DEPARTMENT
                                                    4000 AUMSVILLE HWY S.E.
                                                         SALEM,OR97317

           DATE



           CONSULTANT~f/&e~~fE=--_~(SH{!:l'=;__~_-1-,o-=-----------------~

          PHYSICIAN REQUESTING CONSULTATION_ _ _ _ _ _ _ _ _ _ _ _ _ __

          PROBLEM (REASON FOR REQUEST) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




          LJ RF.PORT EXTENDED TO PROGRESS NOTES                                            MCJREV2019




Name: Luis Hernandez, Modesto                         DOB: 07/24/1969                                   Oat,
                    Case 2:24-cv-00120-AR                 Document 1            Filed 01/18/24         Page 99 of 173
                                                       Hope Therapy Services
                                                               1600 State St
                                                          Salem, OR 97301-4257
                                                           Phone: (503)540-6472
                                                            Fax: (503) 540-6480

     Date:                   August 30, 2022
     Patient Name:            Luis Hernandez Modesto                              MR#:
     Date of Birth:          07/24/1969                                                       Phone: (503)588-6815
     Insurance:              Marion County Sheriffs Office

                                    HOPE THERAPY SERVICES INITIAL EVALUATION

     MEDICAL DIAGNOSIS:              M75.121          Nontraumatic complete tear of right rotator cuff (M75.121)


     TREATING DIAGNOSIS:             M25.512          Pain, joint, shoulder, left (M25.512)
                                     M25.612          Stiffness of left shoulder joint (M25.612)
                                      M62.81          Muscle weakness (generalized) (M62.81)


     PRECAUTIONS /
      CONTRAINDICATIONS:              None
     TOTAL TREATMENT TIME:           40 minutes
     DATE OF ONSET:                   07/19/2022
     TREATMENT STARTED:               08/30/2022
     VISIT#:
     TIMEIN:                          9:10
     TIMEOUT:                         10:00

     TREATING THERAPIST:              Jennifer F. Truax MSPT ATC R         ,
     REFERRING PROVIDER:              Donna Millan FNP       ·-   ~'\.__,~ ' - ~



     Body Part / Injury:              Left Shoulder


      Surgical Procedure
      L RCR with biceps tenodesis     Date: 07/19/2022            Days post op: 1 Month 11 Days

      Pain level at rest              3/10


      Pain level during activity:     4/10

      PQRS:
      Subjective
      Luis presents to PT today w a Spanish Speaking Interpreter and a Sheriff Transport guard. He is 6 weeks s/p R RC with bicep
      tenodesis and was sent to PT for a HEP instruction to use while in prison.



      Date: August 30, 2022                            Page: 1            Patient's Name: Luis Hernandez Modesto
      Document Name: NW PT Initial Eval                                   MR#:




Name: Luis Hernandez, Modesto                                       DOB: 07/24/1969
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     He is using pain meds and asks when he can come off of them. He agrees to approach this question at his follow up.


     He c/o LE pain as well and asks about an injury to his L leg. We deferred this for now given he has not
     had any PT since surgery and he is 6 weeks s/p.

     Obiective
     Interpreter present: David Ramirez ID: 12709

     Initial evaluation complete. Neurovascular status intact. Pt educated on current surgical procedure and expectati ns of rehab.
      Instructed and demonstration of
     HEP (HO provided) which includes:
     Access Code: X94PWBDV
     Seated Shoulder Flexion Towel Slide at Table Top - 2-3 x daily- 7 x weekly- 2-3 sets - 10-15 reps
     Scaption Wall Slide with Towel -
     Seated Shoulder Shrugs -
     Seated Scapular Retraction -
     Seated Elbow Flexion MROM -
     Seated Upper Trapezius Stretch (Mirrored) -

     Pt has limitations given the prison environment.


     Initial Eval:        PT-low complexity 15 minutes. No personal factors or co-morbidities. Presents with stable a d uncomplicated
     characteristics.
     Ther Ex:             25 minutes
                          TherEx was performed to HEP Education.
     Shoulder Evaluation

      Range of Motion
                                                     Rl.§.!::II
              Flexion                  Active: 170                Strength: 5/5
              Abduction                Active: 170                Strength: 5/5


                                                     llEI
              Flexion                   Active: 60                Passive: 115
              Abduction                 Active: 30                Passive: 115


      Assessment
      Patient presents to therapy s/p Lt RCR. Pt demonstrates a good understanding of the surgical procedure and HEP. The clinical
      findings support the medical necessity to implement physical therapy treatment. Pt presents with deficits in ROM nd strength. Pt
      would benefit from therapy to increase ROM and strength and decrease pain to return to prior level of function a described in the -
      eval.


      Rehab potential is expected to be good
      Patient's motivation appears to be good
      Patient's understanding of the condition is good




      Date: August 30, 2022                                Page: 2          Patient's Name: Luis Hernandez Modesto
      Document Name: NW PT Initial Eval                                     MR#:




                                                                      DOB: 07/24/1969                                                       Dat,
Name: Luis Hernandez, Modesto
                     Case 2:24-cv-00120-AR                  Document 1           Filed 01/18/24       Page 101 of 173
        Plan
        Patient to be seen as listed to meet goals. Will progress ROM and strength per MEDIUM/lARGE RCR protocol a d as appropriate.
        Modalities as needed for pain control. Patient was informed of evaluation findings, involved in goal developmen and education.
        Given evaluation findings, the prognosis is GOOD with respect to achieving the above listed goals.

        I will give Tommy Vu his advancement exercises for phase II of his rehab process.:


        Exercises
                Range of motion
                Strengthening
                Home exercise program



        Frequency:              1 times per week
        Duration:               1 week(s)


        GOALS

        Short Term Goals
        Maintain integrity of repair by Following precautions and adhering to sling usage
                To be met in 1 weeks To be met by 08/30/2022

        Pt compliance with HEP 2-3x daily
                To be met in 2 weeks

        Increase PROM flexion to 115 deg
                To be met in 3 weeks To be met by 08/30/2022

        Pt to begin transition out of sling abd pillow 08/30/2022


        I have reviewed and agree with today's treatment.



        1certify tM n ~ r up to 90 days und0< .,., plan                              :i0::••          while under m,r a •·


        Provider                                                        Date




                                      This document was generated electronically through NextGen £MR system.



        Electronically signed by Jennifer F. Truax MSPT ATC R on 08/30/2022 11 :07 AM




        Date: August 30, 2022                               Page: 3            Patient's Name: Luis Hernandez Modesto
        Document Name: NW PT Initial Eval                                      MR#:




Name: Luis Hernandez, Modesto                                         DOB: 07/24/1969                                                    Dat1
      Case 2:24-cv-00120-AR      Document 1      Filed 01/18/24   Page 102 of 173




                                                                        July 27, 2023

TO:    Willamette Surgery Center
       c/o Medical Records
       P.O. Box 13730
       Salem, OR 97309


From: Modesto Luis-Hernandez
      SID# 21941529
      SRCI
      777 Stanton Blvd.
      Ontario, OR 97914


RE:
Dear/To whom it may concern,

        I am requesting a copy of all medical records pertaining to all of my visits to your
facility from around September 2021 until around August 2022 . I am requesting this
information for my previous surgeries and any medical care provided, including any
additional notes taken or recorded by my attending medical care providers at the time.
       My information is as follows:
       Name: Modesto Luis-Hernandez
       DOB: 7-24-1969




cc.   Orthopedics of Oregon                              Modesto Luis-Hernandez
       c/o Medical Records                               SID# 2194152 9
       1600 State St                                   . SRCI
       Salem, OR 97301                                   777 Stanton Blvd
                                                         Ontario, OR 97914

                                                                            AUG 0·7 2023
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                                          2:24-cv-00120-AR                                  Document 1                         Filed 01/18/24                          Page 103 of 173                          i~03/~01

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PERFORMIWG SITE:                                                                                               .
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           Case 2:24-cv-00120-AR       Document 1          Filed 01/18/24    Page 104 of 173




                                 Hope Orthopedics Of Oregon
                                             1600 State St
                                        Salem, OR 97301-4257
                                         Phone: (503)540-6300
                                          Fax: (503) 540-6404

Patient:                       Modesto Luis Hernandez
Date of Birth:                 07/24/1969
Date :                         07/12/2022 2:18 PM
Visit Type:                    Pre-Operative Visit
Provider:                      Yon Gomez PA-C
Historian:                     self



This 52 year old client presents for left shoulder Pain.


History of Present Illness
1. left shoulder Pain
Subjective:
52-year-old male who presents today for preoperative evaluation of his left shoulder. Patient is
scheduled to undergo a left shoulder arthroscopy, rotator cuff repair, subacromial decompression,
extensive debridement, biceps tenodesis on 07/19/2022.

Today patient rates his pain as a 6/10. Patient reports no significant changes to the shoulder since
last examination.




Problem List
Problem Description      Onset Date    Chronic    Clinical Status           Notes
Impingement                            N
syndrome, shoulder,
left
Superior labrum                        N
anterior-to-posterior
(SLAP) tear of left
shoulder
Traumatic partial tear                 N
of left biceps tendon,
subsequent encounter
Full thickness tear of                 N
left subscapularis

Luis Hernandez, Modesto    107000074752 07/24/1969 07/12/2022 02:18 PM Page: 1/5
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tendon, subsequent
encounter




Past Medical History (Detailed)
Patient reported no relevant past medical/surgical history.



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient              Reaction (Severity)                          Medication   Comment
                                                                     Name
NO KNOWN
ALLERGIES




Family History
(Detailed}

Patient reports there is no relevant family history.




Social History (Detailed)
Tobacco use reviewed .

Preferred language is Spanish; Castilian.

Tobacco use status: Current non-smoker.

Smoking status: Never smoker.


Tobacco Screening
Patient has never used tobacco. Patient has not used tobacco in the last 30 days. Patient has not
used smokeless tobacco in the last 30 days.


Smoking Status
Type              Smoking Status                  Usage Per Day      Years Used Pack Years Total Pack Years
                  Never smoker


Luis Hernandez, Modesto     107000074752 07/24/1969 07/12/2022 02:18 PM Page: 2/5
          Case 2:24-cv-00120-AR                Document 1     Filed 01/18/24      Page 106 of 173




Review of Systems
System                     Neg/Pos      Details
Constitutional             Negative    Fatigue, Fever and Night sweats.
Eyes                       Negative    Vision loss.
Respiratory                Negative    Cough and Dyspnea.
Cardio                     Negative    Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                         Negative    Constipation, Diarrhea, Nausea and Vomiting.
GU                         Negative    Dysuria, Hematuria and Urinary incontinence.
Endocrine                  Negative    Cold intolerance and Heat intolerance.
Neuro                      Negative    Difficulty walking, Dizziness and Headache.
lntegumentary              Negative    Rash.
MS                         Negative    Except as noted in HPI and Chief complaint.
Hema/Lymph                 Negative    Easy bleeding and Easy bruising.
Allergic/lmmuno            Negative    Environmental allergies and Food allergies.




Vital Signs
Height
Time        ft      in       cm        Last Measured            Height Position           Measured By
2:45 PM     5.0     3.50     161.29 07/12/2022                  Standing                  Erin Howard


Weight/BSA/BM I
Time         lb            oz           kg          Context       BMI         BSAm2           Measured By
                                                                  kg/m2
2:45 PM      190.00                     86.183                    33.13                       Erin Howard


Blood Pressure
Time       BP mm/Hg Position           Side        Site        Method             Cuff Size   Measured By
2:45 PM    126/78        standing      right       arm         manual             adult       Erin Howard
                                                                                  large


Temperature/Pulse/Respiration
Time       Temp F        Tempe         Temp Site Pulse/min Pattern                Resp/min Measured By
2:45 PM    97.3          36.28         temporal    64                                         Erin Howard


Pain Scale
Time       Pain Score Method                                                                  Measured By
2:45 PM    6/10          Numeric Pain Intensity Scale                                         Erin Howard


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Exam:
On physical exam patient is in no distress. Alert and oriented to time and place. Breathing is
unlabored.

Respiratory: Chest clear. Even and unlabored. Clear to Auscultation. Non-labored breathing and
no audible wheezing
Cardiovascular: Regular heart rate and rhythm. No audible murmurs or extra sounds.

Left shoulder exam:
Inspection: There is no visible swelling, ecchymosis, skin lesions, scapular wing ing, or muscle
atrophy present.
Palpation: No focal tenderness to palpation about the bicipital groove, anterior over the AC joint,
or posteriorly.
Neurovascular: Distally patient has palpable 2+ radial pulse. Sensation is normal in axillary,
median, ulnar, and radial nerve distributions.

Range of Motion:
Forward flexion: 170
Abduction: 90
External rotation in abduction: 90
External rotation at the side: 60
Internal rotation: T10

Muscle strength is:
5/5 in scaption
5/5 external rotation
4/5 internal rotation



Indication/Type of Treatment:
Indication               Type of Treatment       Side         Region       Initial         Global     Status
                                                                           Treatment       Days
                                                                           Date
Impingement            Arthscpy shldr     Left                Shoulder     07/19/2022                 scheduled
syndrome, shoulder, decompression
left
Full thickness tear of Arthroscop Rotator Left                Shoulder     07/19/2022                 scheduled
left subscapularis     Cuff Repair
tendon,subsequent
encounter
Traumatic partial tear ARTHROSCOPY BICEPS Left                Shoulder     07/19/2022                 scheduled
of left biceps tendon, TENODESIS
subsequent encounter
Superior labrum        Extensive          Left                Shoulder     07/19/2022                 scheduled
anterior-to-posterior debridement
(SLAP) tear of left
shoulder

Clinical Assessment:

Luis Hernandez, Modesto      107000074752 07/24/1969 07/12/2022 02:18 PM Page: 4/5
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                                                                                                                                                                  PATIENT DIRECT AGREEMENT
                                                                                                                                                                   DVT PREVENTION SYSTEM .
    PH: (888) 412-8087 • Fax: (888) 522-0355
    2134 S Richards Straet • Salt Lake City, UT 84115                                                                                                PLEASE COMPLETE ALL ITEMS IN YELLOW •
                                                                                                                                                                                             '              '            I               •




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Items                 Providerl        tn P:.1tif~nt hv MArfV~nt::mp•                      lntArrnittent Pneumatic Compression Device and All Accesso'ries
                                     LUIS HERNANDEZ, MODESTO                                                  ~IRl//1111
                                                                                                                                                     =i3040
                                     DOB:07/24/1969 (52) DOS:07/19/2022
                                     Gender:Male             MRN:400776
                                     Physlclan:Elkin, Daniel


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I I.Wlderstand that signing this form authorizes MedVantage and/or blfflng affiliates (BA) to submit claims dlreclly on my behalf to my Insurance canier(s) or other health or ~ I plans. I also
understand that signing this form assigns to MedVarrtage (BA) my rtght to payment of any and all healthcarll or medical benefltll for the l1ems described above, Thia mMOB MedVantage (BA) will .•
receive direct payment for these Items. I understand that signing this form authorizes MedVantage (BA) to acquire from the surgery center, and to release to my insurance carrie!{a) and any other of
my health or medical plans, any lnformaUon necessary to process·thls or a related medical claim. I agree MedVantage (BA) ,nay contact me for any additional Information necessary to process this
claim. I undemand that aft9r my surgery I wiU receive an Explanation of Benefits (EOB) document from my .health Insurance company which explains how the lnstnnee company processed·a claim
for products / services by MedVantage (BA), Further, I understand that the EOB is not a bill or invoice, and I have read and understand the information on the back of this form. I agree should I
have questions regarding the apptlcable EOB that I am to call MedVantage (BA) and not the surgery center or physician for Information If I receive a check from my Insurance carrter·for this
service, I agree to endorse and forward -on to MedVantage or its designated affifiate at 2134 S Richards Street, Salt Lake City, UT 84115,

    X
                                                Signature of Patient/ Responsible Patient Representative                                                                                                                                            Date

         1 Point Risk Factors                                     2 Point Risk Factors                                                                              5 Point Risk Factors
         0 Age 41-60 years                                                                                                                                          U Elective Major Lower Extremity Arthroplasty;
         0 Minor Surgery planned -                                 0 Age 61-74 years                                                                                Q-Hip;-Pelvis-or-Fracture (.:-1-month,1 --- -- - ~ ---+--
         CJ History of prior Major Surgery                           Major Surgery (> 45 minutes)
                                                                                                                                                                       Stroke (< 1 month)
                                                                   a


                                                                                                                                                                    a



         0 Varicose Veins                                            Arthroscopic Surgery
                                                                                                                                                                    Cl Multiple Trauma
                                                                   a




         O History of inflammatory bowel disease                  0 Laparoscopic S,urgery (> 45 minutes)
                                                                                                                                                                    ll Acute Spinal Cord Injury (Paralysis)(< 1 month) .
         0 Swollen legs (current)                                 U Previous Malignancy
                                                                                                                                                                    0 Major Surgery lasting over. 3 hours
         0 Obesity (BMI > 25)                                     Q Central Venous Access
         LJ Acute Myocardial Infarction (<1 month)                CJ Morbid Obesity (BMi > 40)
         □ Congestive Heart Failure (< 1 month)
                                                                                                                                                                    Surgical Risk Factors
         0 Sepsis (<1 month)                                      3 Point Risk .Factors                                                                                 Cl Revision Surgery
         lJ Serious lung disease, including
                                                                       CJ Age 75 years and over                                                                         0 Extensive Surgical Dissection
              Pneumonia(< 1 month)
                                                                       Q Major Surgery fasting 2-3 hours                                                                □ Previous Major Bleeding
         CJ Abnormal Pulmonary Function (COPD)
                                                                       □ BMI > 50 (Venous Stasis ·syndrome)                                                             0 DifficlJlt-to-Controi -Bleeding During Current
         0 Medical patient currently at bed rest
         0 Leg Plaster Cast or Brace                                   o History of svr, DVf/PE                                                                            Operative Procedure
                                                                       Q Family History of DVf/PE
         a    Use of Tourniquet
         0 General Anesthesia (>30 minutes)
         Q Oral Contraceptive or Hormone
                                                                       CJ Present Cancer or Chemotherapy
                                                                       Q Positive Factor V Leiden
                                                                                                                                                                    TOTAL RISK FACTOR SCORE: ►                                                      D
                                                                       :l Positive Prothrombin 2021 QA
              Replacement Therapy
                                                                       0 Elevated Serum Homocysteine
                                                                                                                                                                    0          High Risk: 3+ Points
         0 Pregnancy or Postpartum(< 1 month)
         i.:J History of unexplained stillborn infant,
                                                                       u  Positive Lupus Anticoagulant                                                              □       Moderate Risk: 2 Points
                                                                       □ Elevated Anticardiollpin Antibodies
              recurrent spontaneous -abortion (=3),
                                                                       D Hepadn-induced Thrombocytopenia (HTT)
              premature birth with toxemia or growth-                                                                                                                   Length of Need:                                              (Unit)
                                                                       U Other Thrombophifia
              restricted infant

         Due to this patient's risk for developing deep vein thrombosis, I am prescribing mechanical DVT prophylaxis because of the following:
         0 My patient has been prescribed antibiotics, NSAJDs or other medication documented by pharmaceutical manufacturers to have contraindications·
                  with anticoagulants, causing major interactions includlng but not llmited to allergic skin reactions and excess bleeding
         D My patient has been prescribed mechanical prophylaxis AND anticoagulants because of their level of risk.
                  American Jouma/ of Medicine, Feb. 2012, Allergy,2006 Dec; 61 (12) 1432-40, Cochrane Database of Systematic Reviews ·2008, Issue 4, Epocrates.com


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         2.)

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                  Letter        of   Medical Necessity/            Physician

                                                                               •
                                                                                               Order

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    Deep Vein Thrombosis (DVT) is a significant risk factor for patients undergoing surgery and Immobilized patients. Prevention of OVT Is morv effective than treatment and an Important upect of patient
    care before, du'ing an~ after surgery.- I have assessed this patient's risk of developing OVT due to age, type of aurgeiy, paHent and family medical history, and other documented fectora that may
    increase the risk of DVT. ·MY a&S8S8fllll0fitldlcates the use of mechanical thromboprophyfaxls by pneumatic compreeakxnlevice and segma,tal gradient pressure pneumatic appliances. It is my
    opinion this la medically necesswy and rvasonable in accordance with accepted standards of practlce and appropriate treatment of this patient.               .,


    X
     Physician Signature toR ATTACH COPY OF SJGNED PHYSICIAN ORDER). Please do {!".'f stamp                                                                       Printed Name / NP1#                                                               Date

                                                      Top Copy: MadVantag€ - - Second Copy. Surgery Centt'/r - · Bottom Copy: Patient                                                                                                                  PDA-001
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                                                                                                               1600 State Street
                                   •       •                                                                  Salem, OR 97301
0                                  ICS                                                                     Phone: 503-540-6300
                                                                                                             Fax: 503-540-6404
                                                                                                       www.hopeorthopedics.com


   PATIENT ID: 107000074752                                                              EXAM DATE: 03/17/2022
      PATIENT: MODESTO LUIS HERNANDEZ                                                   ACCESSION#: 1657469
DATE OF BIRTH: 07124/1969                                                              REFERRED BY: SEAN ELLIOT ANP

MR SHOULDER - LEFT
WSIQRY
 Dislocation, posterior pain, evaluate for labral tear

COMPARISON
STUDIES
 Radiographic series 02/23/2022.
TECHNIQUE
 Multiplanar sequences with Tl, intermediate, T2, and/or T2*-weighted image contrast.

FINDINGS
 ROTATOR CUFF: Moderate severity supraspinatus and infraspinatus tendinopathy. Advanced fatty atrophy teres minor
 muscle. Subscapularis tendon severely attenuated lateral 2.5 cm secondary to near complete partial-thickness articular
 swface tearing.
 CORA COA CROMIAL ARCH: AC joint mild osteoarthritis with loss of articular cartilage, cortical irregularities and
 osseous remodeling.
 GLENOHUMERAL JOINT: Long head of biceps tendon mildly medially subluxed with tendinopathy. Diffuse complex
 tearing of the superior and anterior labral segments. Osteochondral abnormality with loss of articular cartilage and cortical
 irregularities anterior inferior glenoid.
 OSSEOUS/BONE MARROW: No fracture or significant osseous abnormality.
 GENERAL: Small amount of subacromial bursa! fluid with synovitis.

IMPRESSION
    1. Rotator cuff tendon complex: Moderate severity supraspinatus and infraspinatus tendinopathy. Advanced fatty
       atrophy teres minor muscle. Subscapularis tendon severely attenuated lateral 2.5 cm secondary to near complete
       partial-thickness articular surface tearing.
    2. AC joint: Mild osteoarthritis.
    3. Glenohumeral joint complex: Long head of biceps tendon mildly medially subluxed with tendinopathy. Diffuse
       complex tearing of the superior and anterior labral segments. Osteochondral abnormality anterior inferior glenoid with
       loss of articular cartilage and cortical irregularities.

                     Electronically signed by Stephen F. Quinn, M.D. (Friday, March 18, 2022 1:49:57 PM)
                                                                                                                          --   ___
                                                                                                                                 __;
                                                                                                                                     I




                                                              Page 1 of 2
            Case 2:24-cv-00120-AR          Document 1      Filed 01/18/24     Page 110 of 173


                                WILLAMETTE SURGERY CENTER PC
                                 1445 State Street, Salem, OR 97301
                                           503-365-3965


---------------OPERATIVE NOTE-----------
PATIENT:                                     Modesto Luis Hernandez
DATE OF BIRTH:                               07/24/1979
ENCOUNTER DATE:                              07/19/2022
SURGEON:                                     Daniel Elkin MD

PREOPERATIVE DIAGNOSIS:                      1 . Left shoulder rotator cuff tear of subscapularis
                                             2. Left shoulder degenerative labral fraying
                                             3. Left shoulder biceps tendon tear proximal
                                             4. Left shoulder superior labrum anterior-posterior
                                             tear

POSTOPERATIVE DIAGNOSIS:                     1. Left shoulder rotator cuff tear of subscapularis
                                             2. Left shoulder degenerative labral fraying
                                             3. Left shoulder biceps tendon tear proximal
                                             4. Left shoulder superior labrum anterior-posterior
                                             tear

PROCEDURE:                                   1. Left shoulder arthroscopic rotator cuff repair
                                             2. Arthroscopic biceps tenodesis
                                             3. Extensive debridement

ASSISTANT:                                   Yon Gomez, P.A.-C

ANESTHESIA:                                  LMA with interscalene nerve block per Dr. Lloyd

SPECIMENS:                                   None

EBL:                                         Minimal

COMPLICATIONS:                               None

POSTOP CONDITION:                            Stable to recovery

INDICATIONS: The patient is a 52-year-old gentleman with the above diagnoses. He failed conservative
treatment. He continues to have pain refractory to conservative measures and therefore was indicated for the
above procedure.

DESCRIPTION OF PROCEDURE: The patient was seen in preoperative holding. Consent was verified. The
risks, benefits and alternatives were discussed and the patient wished to proceed. The left shoulder was
marked by myself and the patient. The patient was brought to the OR and induced with the above anesthesia.
The patient was placed in the lateral decubitus position. All bony prominences were padded. The left upper
extremity was prepped and draped in the usual sterile fashion. A surgical time-out was called identifying the left
side as the correct side. This correlated with preoperative imaging, markings on the patient and the consent
form.

At this point, we began diagnostic arthroscopy from the posterior portal of the glenohumeral joint. The humeral
head and glenoid cartilage were intact. There was degenerative labral fraying anteriorly. There was significant
scar tissue about the rotator interval. There was a full thickness tear of the subscapularis without retraction.
             Case 2:24-cv-00120-AR         Document 1      Filed 01/18/24       Page 111 of 173
2                                  Willamette Surgery Center Operative Report       DOS: 07/19/22
Luis Hernandez, Modesto            DOB: 07/24/69 MRN : 400776




The biceps tendon was medially subluxated and there was significant tearing of the superior labrum at the
bicipital attachment.

At this point, an anterior working portal was established . The rotator interval tissue was cleared using the RF
device as well as a motorized shaver. The subcoracoid space was developed. There was no subcoracoid
impingement. We performed an extensive debridement of the degenerative labral tissue as well as the
capsular and rotator interval tissue.

We then performed a Loop 'n Tack biceps tenodesis using the Fiberlink. The biceps was resected from the
superior glenoid tubercle. We next used the scorpion to pass two SutureTapes through the subscapularis.
These SutureTapes as well as the biceps suture were placed into an Arthrex 4.75 mm Swivelock and this was
inserted into the lesser tuberosity for anatomic restoration of the subscapularis and for the arthroscopic biceps
tenodesis. We had excellent purchase on the anchor. The tails were cut flush. The repair was stable to probing
as well as internal and external rotation.

We next entered the subacromial space. A bursectomy was accomplished. The undersurface of the acromion
was visualized. There was no spurring. The superior aspect_of the rotator cuff was visualized from the bursal
surface and there was no tearing. We therefore did not do any work in this region.

The shoulder was drained of arthroscopic fluid. The portals were closed in interrupted fashion using 3-0 Vicryl
followed by 3-0 nylon sutures. A sterile dressing was applied. The patient was awakened from anesthesia and
brought to PACU in stable condition.

Yon Gomez, P.A.-C, a trained surgical assistant, was necessary for multiple parts of the procedure including
positioning, retraction , placement of implants, arm and camera manipulation and closure.

DISPOSITION: The patient will be in a sling for four weeks. No active biceps lifting. Active elbow, wrist and
hand range of motion would be permitted. No active shoulder motion for four weeks. He will be on aspirin for
four weeks for DVT prophylaxis.




Daniel Elkin, M.D.
DE:jsc

D: 07/19/22 - 08:52
T: 07/19/22 - 18:34
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                                        Case 2:24-cv-00120-AR                                                          Document 1                                          Filed 01/18/24                                           Page 115 of 173
                                                                                                                                    MARION COUNTY SHERIFF'S OFFICE
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                    .. ~~⇒,,                                                                                                                       AIC GRIEVANCE FORM
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                                                    INSTRUCTIONS: Follow the rules in the AIC Handbook regarding the facility's grievance procedures.
                                                    Fill in the blanks in the first two sections. If you need more room, use additional
                                                    sheets of paper, not additional grievance forms. If you want to grieve more than one issue , use a
                                                    grievance form for each issue._

Reason for Grievance (Check One) :
( )Conditions of Confinement •                                                                          (~  edical Care                                                                                                           )General Classification Procedures
( )Participation in AIC Programs                                                                        ( )Religious Practices                                                                                                    )Telephone, Mail & Visiting Procedures
( )Prison Rape Elimination Act-PREA                                                                     ( )Food Service                                                                                                           )AIC Trust Accounts

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AIC Grievance Form 06/2020
                                      Case 2:24-cv-00120-AR                        Document 1         Filed 01/18/24                    Page 116 of 173
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                                                                                                     INSTITUTIONS DIVISION

                                                                                                  AIC GRIEVANCE FORM

                                             INSTRUCTIONS: Follow the rules in the AIC Handbook regarding the facility's grievance procedures.
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 ( )Conditions of Confinement     •  •                                         0Medical Care                                        )General Classification Procedures
 ( )Participation in AIC Programs                                              ( )Religious Practices                               )Telephone, Mail & Visiting Procedures
 ( )Prison Rape Elimination Act-PREA                                           ( )Food Service                                      )AIC Trust Accounts

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                                                                                          MARION COUNTY SHERIFF'S OFFICE
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                                    INSTRUCTIONS: Follow the rules in the AIC Handbook regarding the facility's grievance procedures.
                                    Fill in the blanks in the first two sections. If you need more room , use additional
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Reason for Grievance (Check One):
( )Conditions of Confinement                                              ( • )Medical Care                                         )General Classification Procedures
( )Participation in AIC Programs                                          ( )Religious Practices                                    )Telephone, Mail & Visiting Procedures
( )Prison Rape Elimination Act-PREA                                       ( )Food Service                                           )AIC Trust Accounts

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                                                                          MARION COUNTY SHERIFF'S OFFICE
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AIC Grievance Form 06/2020


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                                 Hope Orthopedics Of Oregon
                                              1600 State St
                                         Salem, OR 97301-4257
                                          Phone: (503)540-6300
                                           Fax: (503) 540-6404

 Patient:                       Modesto Luis Hernandez
  Date of Birth :               07/24/1969
• Date:                         02/23/2022 12:49 PM
  Visit Type:                   Office Visit
  Provider:                     Sean Elliott ANP
  Historian:                    self



 This 52 year old male presents for Left Left Shoulder/ Right Shoulder.


 History of Present Illness
 1. Left Left Shoulder / Right Shoulder
 Subjective:
 Modesto Luis Hernandez is a 52 year-old male here today for the left shoulder. This patient was
 kindly sent by Dr. Lance Loberg as a direct referral for orthopedic evaluation.

 HISTORY OF PRESENT ILLNESS



 Modesto Luis Hernandez is a 52-year-old gentleman who is incarcerated in the Marion County Jail.
 He states he was cleaning up his room in his cell and there was a wet floor and he ended up doing
 the splits 3 months ago. He states he fell backward and bumped his head and landed directly on his
 left shoulder. He had immediate pain in his left shoulder and left hip. He denies any previous
 problems with his hip or left knee. He denies any black and blue marks along his hip. He denies any
 previous problems with his left shoulder.

 Starting with his hip, he states he had significant pain with ambulation the first week following the
 injury: It slowly improved. He feels a pain along the mid-hamstring region which is quite localized.
 This worsens when. he walks, climbs up stairs, etc. He describes what he feels is like a tendon being
 pulled. He describes it as like a banjo string, which seems like it's moving mainly in the mid-hamstring
 region.' He has been treated with anti-inflammatories and conservative treatment. He feels the pain
 has improved by about 50%. He rates his pain 4/10 which is mainly in the mid-hamstring of his left
 leg.

 Concerning his left shoulder, he states he landed backward on his outstretched left arm. He denies
 any previous problems or trauma to his left shoulder. He feels 90% of the pain is along the anterior ·
 joint line. He states it feels like it has subluxed or moved, and he has to put it in a certain position in


 Luis Hernandez, Modesto    107000074752 07/24/1969 02/23/2022 12:49 PM Page: 1n
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order to get it to "pop back in." He notes he has had a mild loss of strength in his left shoulder. He
states 90% of the pain is along the anterior joint line. It worsens with overhead motion. Pain is
relieved with his arm at his side. He denies any neck issues, radicular symptoms, numbness, tingling,
or paresthesia down his left upper extremity.

Relevant records were reviewed in preparation for the visit (ROS, PSFH, and available EMR charts),
and relevant findings were incorporated into the history of present illness.




Past Medical History
Patient reported no relevant past medical/surgical history.



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient               Reaction (Severity)                        Medication    Comment
                                                                    Name
NO KNOWN
ALLERGIES
Reviewed, no changes.



Family History
Patient reports there is no relevant family history.




Review of Systems
.System                  Neg/Pos      Details
Constitutional           Negative    Fatigue, Fever and Night sweats.
Eyes                     Negative    Vision loss.
Respiratory              Negative    Cough and Dyspnea .
Cardio                   Negative    Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                       Negative    Constipation, Diarrhea, Nausea and Vomiting.
GU                       Negative    Dysuria and Hematuria.
Endocrine                Negative    Cold intolerance and Heat intolerance.
Neuro                    Negative    Difficulty walking, Dizziness and Headache.
lntegumentary            Negative    Rash.
MS                       Negative    Except as noted in HPI and Chief complaint.


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Hema/Lymph                 Negative    Easy bleeding and Easy bruising.
Allergic/lmmuno            Negative    Environmental allergies and Food allergies.




Vital Signs
Height
Time        ft      in       cm        Last Measured .          Height Position           Measured By
1:23 PM     5.0     5.00     165.10 02/23/2022                  Standing                  Jasmin SandovalVazquez


Weight/BSA/BM I
Time         lb            oz           kg         Context        BMI        BSAm2            Measured By
                                                                  kg/m2
1:23 PM      185.00                     83.915     dressed        30.79                       Jasmin
                                                   without                                    SandovalVazquez
                                                   shoes


Blood Pressure
•lime      BP-mm/Hg-Position--Sid~e- - -Sit-e- -- ~...11,ethodt--- --1cCuff-Si2e--Measured-B•v-;- - -
1:23 PM    158/100       sitting       right      arm         automatic           adult      Jasmin
                                                                                  large      SandovalVazquez


Temperature/Pulse/Respiration
Time       TempF         Tempe         Temp Site Pulse/min Pattern                Resp/min Measured By
1:23 PM    97.8          36.56         temporal   57          irregular                      Jasmin
                                                                                             SandovalVazquez


Pain Scale
Time        Pain Score Method                                                                Measured By
1:23 PM    8/10          Numeric Pain Intensity Scale                                        Jasmin
                                                                                             SandovalVazquez



Exam:
Constitutional: In general, the patient is awake, alert, oriented x3, and in no acute distress.
Pleasant affect. Healthy male. He is in ankle chains and handcuffs.
Head: Normocephalic. Atraumatic.
Psychiatric: Behavior and conversation is appropriate.
Respiratory: Normal respiratory effort, talks in complete sentences, no use of accessory muscles.
Respirations even, unlabored.
Neck: Soft, supple with no adenopathy.
Abdomen: Mild central obesity.
Gait: Non-antalgic.



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Left shoulder. Patient has mild tenderness. over the anterior joint line and subacromial space. No
tenderness over the AC joint or biceps tendon. 0 - 160 degrees active forward elevation. 0 - 160
degrees active abduction. 0 - 70 degrees active external rotation. Active internal rotation is L1 -
Midscap. He has mild Hawkins and Neer tests. Negative O'Briens, Speeds, and hornblower.
Shoulder apprehension is negative at 90 degrees of abduction and 90 degrees of external
rotation. Supraspinatus 5/5. lnfraspinatus 4/5. Subscapularis 5/5. Distal sensory is grossly intact.
Skin is warm with good color, good capillary refill. Normal sensation to touch. No erythema, no
sign of infection.

Left lower extremity: He has no pain in his groin. 30 degrees of internal rotation of the hip. 110
degrees of flexion. 60 degrees of external rotation. Negative FADIR, Patrick's, log roll, and
quadriceps tests. Quadriceps 5/5. Hamstrings are dramatically different from the contralateral
side. Left hamstrings: 4/5. Right hamstrings 5/5. He has moderate tenderness at the
mid-hamstring region. I see no ecchymosis or swelling noted. He has mild tenderness over the
insertion of his hamstring.

Left knee: No effusion. Full extension. 120 degrees of flexion. He has no tenderness along the
patellofemoral region, medial joint line, or lateral joint line. No valgus or varus instability.
Negative McMurray, figure four, and Lachman.




Joint Injection/Aspiration-
Indication                Procedure                 Summary
Unspecified disorder of arthrocentesis major       Site was prepped using alcohol. Left shoulder subacromial
synovium and tendon, joint                         space injection was performed with ethyl chloride for
left shoulder                                      anesthetic. A 22 gauge needle was used. Placement confirmed
                                                   by manual palpation. Kenalog Injectable 40 mg (1 ml),
                                                   Lidocaine 1% (4 ml) were injected. Pressure and adhesive
                                                   sterile dressing used.


Comments
The risks, benefits, and alternatives of steroid injection therapy were discussed with the patient.
Risks include but are not limited to steroid flares, skin changes, tendon rupture, infection, blood
sugar elevation, and allergic reaction. The patient understood and wished to continue. Allergies, past
medical history, and medications were reviewed.




Diagnostics:
Study                                                                Result/Report
Xray Shoulder 3 views Left shoulder                                  02/23/2022: 3 views of the left shoulder at
                                                                     Hope Orthopedics of Oregon were ordered,
                                                                     taken, and reviewed by me. The images
                                                                     demonstrate the shoulder in normal
                                                                     alignment. Glenohumeral joint is
                                                                     well-preserved and well-seated. No significant
                                                                     glenohumeral arthritis. AC joint is intact. He

Luis Hernandez, Modesto      107000074752 07/24/1969 02/23/2022 12:49 PM Page: 4/7
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                                                                            has mild AC arthritis. He has a grade 1
                                                                            acromion with no significant spurring. No
                                                                            fracture or dislocation noted.



    Completed Orders (This Visit)
    Order            Details                Reason     Side   Interpretation Result              Initial   Region
                                                                                                 Treatment
                                                                                                 Date
    Dietary
    management
    education,
    guidance, and
    counseling


    Assessment/Plan
    #       Detail Type       Description
    1.      Assessment         Unspecified disorder of synovium and tendon, left shoulder (M67.912).
            Provider Plan      ICD-10 Codes:
                               » M67.912 - Unspecified disorder of synovium and tendon, left shoulder
                            _. ~:>_S26.312A _- StraJo Qf rouscJe, fas_cia and _tendon of the _posterior _muscle gro~p~-! !~~g_~ __
                               level, left thigh, initial encounter
                               » E66.9 - Obesity, unspecified
                               » 268.30 - Body mass index [BMI] 30.0-30.9, adult
                               » 260.3 - Acculturation difficulty
                               » 265.1- Imprisonment and other incarceration

                              E&M Code:
                              99204 with Modifier 25 (New patient, level 4)

                              E&M Level Justification:

                              Moderate Level of Medical Decision Making based on the following categories:

                              Moderate Problem Complexity-
                              » Moderate problem complexity based on the presence of complicated injury/illness on
                              the basis of treatment option(s) associated with morbidity

                              Minimal Data Review -
                              » Minimal data review with default justification

                              Moderate Risk of Complication -
                              » Moderate risk assessed today based on decision regarding minor surgery with risk
                              factors, diagnosis or treatment significantly limited by social determinants of health

                               E&M Modifier Justification:

                               Modifier 25 was coded because during this same clinic visit as a procedure or service




\   Luis Hernandez, Modesto         107000074752 07/24/1969 02/23/2022 12:49 PM Page: 5/7
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                      identified by a CPT code was performed, the patient's condition required a significant,
                      separately identifiable E&M service above and beyond the other service provided or
                      beyond the usual preoperative and postoperative care associated with the procedure
                      that was performed. The E&M Service may be prompted by the symptom or condition
                      for which the procedure was provided ._As such, different diagnoses are not required for
                      reporting the E&M services on the same date. The circumstance may be reported by
                      adding modifier 25 to the appropriate level of E&M service.

                      CPT Codes:
                      » 20610 with Modifier LT Shoulder (excluding AC joint) injection without ultrasound
                      guidance (any substance)
                      » 73030 with Modifier LT Complete X-ray of left shoulder, minimum of 2 views
                      » 73552 with Modifier LT X-ray of left femur, minimum of 2 views
                      » 73590 with Modifier LT X-ray of left tibia and fibula, 2 views

                      HCPCS Codes:
                      » Anesthetics are considered bundled into the procedure and not billed separately - 0.
                      Lidocaine (4 cc 1%)
                      » J3301 - 4 units. Kenalog (40 mg)

2.    'Assessment     Strain of fascia of the post muscle group at thigh level of It thigh, initial encounter
                      (S76.312A) .

3.      Assessment    Obesity, unspecified (E66.9) .

4.      Assessment    Acculturation difficulty (Z60.3).

5.      Assessment    Imprisonment and other incarceration (Z65 .1).

6.      Assessment    Body mass index (BMI) 30.0-30.9, adult (Z68.30) .
        Plan Orders   Today's instructions/ counseling include(s) Dietary management education, guidance,
                      and counseling.



Assessment:
1. Rotator cuff dysfunction, left shoulder
2. History of un·witnessed subluxations, left shoulder
3. Chronic left shoulder pain
4. Hamstring sprain, left leg


Plan:
I suspect that he tore his hamstring on his left lower extremity. It has been 3 months and his pain has
improved, but he is still continuing to have symptoms. I would recommend an MRI to look for a
full-thickness tear of his hamstring.

Concerning his left shoulder, I think most of his problem is impingement in his left shoulder. I would
recommend trying a subacromial injection before further imaging. Consent signed and procedure


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explained. Skin was prepped with alcohol and ethyl chloride. We injected 4 CCs of Lidocaine with 40
mg of Kenalog into the posterior subacromial space. He tolerated the procedure well.

Recommendations sent to jail for further imaging of his left lower extremity.

Today's elevated BMI instructions/counseling includes dietary management education, guidance, and
counseling.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.

SOCIAL FACTORS

Patient reported today the following factors that may influence their accessibility to care:
1. The patient is unable to communicate with the provider without a translator present.
2. The patient is currently incarcerated in the Marion County Jail.

This note was generated for Sean Elliott, NP using the Robin service.




Provider
Electronically signed by:
Elliott, Sean 02/28/2022 10:11 AM
Document generated by: Megan Kaplan 02/28/2022 10:11 AM




Electronically signed by Sean Elliott ANP on 03/01/2022 10:19 AM




Luis Hernandez, Modesto   107000074752 07/24/1969 02/23/2022 12:49 PM Page: 7/7
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                                            Hope Radiology
                                               1600 State St
                                          Salem, OR 97301-4257
                                           Phone: (503)540-6376
                                            Fax: (503) 540-6404

Date:                          02/23/2022 12:49 PM
Patient:                       Modesto Luis Hernandez
Date of Birth :                07/24/1969
Gender:                        Male
Provider:                      Sean Elliott ANP
Primary Payer:
Policy Number:
Secondary Payer:
Policy Number:



The following diagnostic studies were indicated:
Dx./lndication                  Study
Pain of left leg                Xray Femur 2 views Left Femur 02/23/2022: 2 views of the left femur at Hope
                                                              Orthopedics of Oregon were ordered, taken,
                                                              and reviewed by me. The images demonstrate
                                                              the femur in anatomic position. No fracture _o r
                                                               dislocation is noted. No significant arthritis is
                                                               appreciated.

                                                                 Impression: Normal x-ray for age
Pain of left leg                Xray Tibia And Fibula 2 Views    02/23/2022: 2 views of the left tibia and fibula
                                Left Tibia/Fibula                at Hope Orthopedics of Oregon were ordered,
                                                                 taken, and reviewed by me. The images
                                                                 demonstrate the ankle in normal alignment.
                                                                 Ankle mortise is intact with no diastasis.
                                                                 Medial clear space is less than 2 mm. The knee
                                                                 is in normal alignment. Well-preserved medial
                                                                 and lateral joint spaces. No fracture or
                                                                 dislocation noted.

                                                                 Impression: Normal tib-fib x-ray
Pain in left shoulder           Xray Shoulder 3 views Left       02/23/2022: 3 views of the left shoulder at
                                shoulder                         Hope Orthopedics of Oregon were ordered,
                                                                 taken, and reviewed by me. The images
                                                                 demonstrate the shoulder in normal
                                                                 alignment. Glenohumeral joint is
                                                                 well-preserved and well-seated . No significant
                                                                 glenohumeral arthritis. AC joint is intact. He
                                                                 has mild AC arthritis. He has a grade 1
                                                                 acromion with no significant spurring. No
                                                                 fracture or dislocation noted.




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          Case 2:24-cv-00120-AR          Document 1        Filed 01/18/24   Page 130 of 173

Provider
Electronically signed by:
Elliott, Sean 02/24/2022 12:11 PM

Document generated by: Ella Overiieldlam 02/24/2022



Electronically signed by Sean Elliott ANP on 02/28/2022 09:48 AM




Luis Hernandez, Modesto    107000074752 07/24/1969 02/23/2022 12:49 PM Page: 2/2
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                                Hope Orthopedics Of Oregon
                                            1600 State St
                                       Salem, OR 97301-4257
                                        Phone: (503)540-6300
                                         Fax: (503) 540-6404

Patien t :                     Modesto Luis Hernandez
Date of Birt h :              07/24/1969
Date:                         03/30/2022 1:30 PM
Visit Type :                  Office Visit
Provider :                    Sean Elliott AN P
Hist o rian :                 self



This 52 year old male presents for RC Left Shoulder.


History of Present Illness
1. RC Left Shoulder
Subjective:
Modesto Hernandez is a 52 year-old gentleman who is currently incarcerated in the Marion County
Jail. He was previously seen on 02/23/2022 for a suspected complete left hamstring tear as well as a
rotator cuff tear of his left shoulder. He denies any previous problems with either of these prior to
his injury.

Concerning his left shoulder, we gave him a subacromial injection at our visit on 02/23/2022. He
states it was quite effective. It reduced his pain by at least half and he regained some motion. He still
occasionally feels pain along his lateral shoulder. He describes it as a sharp, stabbing pain that
radiates to his elbow. It worsens with external rotation in abduction.

Concerning his left hamstring, he states this too is improved. He feels pain about 4 to 5 cm from the
insertion of his ischial tuberosity. It is aggravated by heavy exercise and running. He states he is
about 50% better from when his injury occurred.

DIAGNOSTIC STUDIES
03/17/2022: Left hamstring MRI at Hope Orthopedics of Oregon was reviewed by me. The left
hamstring shows a common hamstring complex tendon avulsed from the ischial origin and is
retracted distally by 4 cm . Moderate fat atrophy semimembranosus, semitendinosus, and biceps
femoris muscles. No other abnormality is noted.

The formal radiology report reads as follows:
1. Common hamstring complex tendon: Avulsed from the ischial tuberosity origin and is retracted
distally by 4 cm. Moderate fatty atrophy semimembranosus, semitendinosus and biceps femoris
muscles.


Luis Hernandez, Modesto   107000074752 07/24/1969 03/30/2022 01 :30 PM Page: 1/5
          Case 2:24-cv-00120-AR            Document 1         Filed 01/18/24     Page 132 of 173




03/17/2022: Left shoulder MRA at Hope Orthopedics of Oregon was reviewed by me.

The formal radiology report reads as follows:
1. Rotator cuff tendon complex: Moderate severity supraspinatus and infraspinatus tendinopathy.
Advanced fatty atrophy teres minor muscle. Subscapularis tendon severely attenuated lateral 2.5 cm
secondary to near complete partial-thickness articular surface tearing.
2. AC joint: Mild osteoarthritis.
3. Glenohumeral joint complex: Long head of biceps tendon mildly medially subluxed with
tendinopathy. Diffuse complex tearing of the superior and anterior labral segments. Osteochondral
abnormality anterior inferior glenoid with loss of articular cartilage and cortical irregularities.

Imaging studies reviewed and documented today were performed in-house but were originally read
by a provider under a different specialty.

SOCIAL FACTORS:
Patient reported today the following factors that may influence their accessibility to care :
- He is unable to communicate with the provider without a translator present.
- He is currently incarcerated at Marion County Jail.



ROS:
Relevant records were reviewed in preparation for the visit (ROS, PSFH, and available EMR charts),
and relevant findings were incorporated into the history of present illness.




Past Medical History (Detailed)
Patient reported no relevant past medical/surgical history.



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient               Reaction (Severity)                        Medication    Comment
                                                                    Name
NO KNOWN
ALLERGIES
Reviewed, no changes.




Luis Hernandez, Modesto     107000074752 07/24/1969 03/30/2022 01:30 PM Page: 2/5
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Family History
(Detailed)

Patient reports there is no relevant family history.




Social History (Detailed)
Preferred language is Spanish; Castilian.

Tobacco use status: Current non-smoker.

Smoking status: Never smoker.




Vital Signs
Blood Pressure
Time         BP mm/Hg Position      Side         Site        Method              Cuff Size   Measured By
1:52 PM      137/85     sitting     right        arm         automatic           adult       Jasmin
                                                                                 large       SandovalVazquez


Temperature/Pulse/Respiration
Time         Temp F     Temp C      Temp Site Pulse/min Pattern                  Resp/min Measured By
1:52 PM                                          SO          regular                         Jasmin
                                                                                             SandovalVazquez


Pain Scale
Time         Pain Score Method                                                               Measured By
1:52 PM      7/10       Numeric Pain Intensity Scale                                         Jasmin
                                                                                             SandovalVazquez



Exam:
Constitutional: In general, the patient is awake, alert, oriented x3, and in no acute distress.
Pleasant affect. Healthy male.
Head: Normocephalic. Atraumatic.
Psychiatric: Behavior and conversation is appropriate.
Respiratory: Normal respiratory effort, talks in complete sentences, no use of accessory muscles.
Respirations even, unlabored.
Neck: Soft, supple with no adenopathy. No cervical tenderness. Spurling is negative bilaterally.
Abdomen: Soft, nondistended.



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Left shoulder: Tenderness over the greater tuberosity and anterior joint line. No tenderness over
the AC joint. 0 - 170 degrees active forward elevation. 0 - 170 degrees active abduction with a
mild painful arc between 110 and 130 degrees. 0 - 90 degrees active external rotation. Active
internal rotation L1 - midscap. Moderate Hawkins. Positive Neer. Negative Speed's and O'Brien's.
Supraspinatus 4/5. lnfraspinatus 5/5. Subscapularis 4/5. Distal sensory is grossly intact. Skin is
warm with good color, good capillary refill. No erythema, no sign of infection.

Left hamstring: No significant skin changes. No significant tenderness along the ischial tuberosity
or hamstring tendon. Straight leg raise is negative. Cross leg raise is negative. Hamstring
strength 4/5 on the left and 5/5 on the right. Quad 5/5. Distal sensory is grossly intact.


Assessment/Plan
       Detail Type      Description
       Assessment      Strain of muse/tend the rotator cuff of left shoulder, init (S46.012A).
       Provider Plan   E&M Code:

                       99215 (no Modifiers) (Established patient, l~vel 5)

                    This visit was coded at a level 5 based on total time spent with the patient. This visit was
                    40 mins, which includes face-to-face time spent personally examining, counseling, and
___________________ ed_ucati.Dg the pa5ie11t and non-face-to-face time SQ_ent reviewing Q_rl_Qr_documentation,
                    ordering any discussed plan items, and documenting relevant clinical information.

                        ICD-10 Codes:

                       » S46.012A - Strain of muscle(s) and tendon(s) of the rotator cuff of left shoulder, initial
                       encounter

                       » M24.112 - Other articular cartilage disorders, left shoulder

                       » Ml9.012 - Primary osteoarthritis, left shoulder

                       » M95.8 - Other specified acquired deformities of musculoskeletal system

                       » S76.312A - Strain of muscle, fascia and tendon of the posterior muscle group at thigh
                        level, left thigh, initial encounter

                       » 265.1- Imprisonment and other incarceration

                       » 260.3 - Acculturation difficulty

 2.    Assessment       Other articular cartilage disorders, left shoulder (M24.112).

 3.    Assessment       Primary osteoarthritis, left shoulder (M19.012).

 4.    Assessment       0th acquired deformities of musculoskeletal system (M95.8).

 5.    Assessment       Strain of msl/fasc/tnd post grp at thi lev, left thigh, init (S76.312A).

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6.      Assessment   Imprisonment and other incarceration (Z65.1).

7.      Assessment   Acculturation difficulty (Z60.3).



Assessment:
1. Rotator cuff tear, subscapularis
2. Degenerative labral tear, left shoulder
3. Osteoarthritis, glenohumeral joint
4. Osteochondral defect, left shoulder
5. Complete hamstring tear, proximal ischial tuberosity


Plan:
Due to the atrophy and significant retraction of his hamstring tendon, I do not feel that this is
amenable to surgery. I told the patient, however, I am not a surgeon, and if he is still struggling with
pain and symptoms in his hamstring that it might be reasonable to get a second opinion from a
sports medicine surgeon to see if pursuing this type of surgery would even be worth it.

Concerning his left shoulder, he states he has moderately improved. He is managing well with how
his situation is now. We discussed physical therapy and glenohameraHnjection for treatments. If he
fails all of these, he might be a good candidate for rotator cuff repair surgery.

We will schedule him for routine follow up with Dr. Elkin for a chronic hamstring tear.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.

This note was generated for Sean Elliott, NP using the Robin service.




Provider
Electronically signed by:
Elliott, Sean 04/11/2022 5:04 PM
Document generated by: Megan Kaplan 04/11/2022 05:04 PM




Electronically signed by Sean Elliott ANP on 04/26/2022 02:58 PM




Luis Hernandez, Modesto   107000074752 07/24/1969 03/30/2022 01:30 PM Page: 5/5
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                                                Secure

                                                 Phone:
                                                   Fax:

Patient :                      Modesto Luis Hernandez
Date of Birth:                 07/24/1969
Date :                         05/02/2022 1:30 PM
Visit Type:                    Office Visit
Provider:                      Sean Elliott ANP
Historian:                     self



This 52 year old client presents for RC L SHOULDER AND LEG.


History of Present Illness
1. RC L SHOULDER AND LEG
Subjective:
Modesto Luis Hernandez is a 52 year-old gentleman who is here-for recheck of his left hamstring as
well as his left shoulder. As stated previously, the patient is incarcerated at Marion County Jail. He
states he was cleaning up his cell and there was a wet floor and he ended up doing the splits. This
was around the end of December 2021. He fell backwards and landed directly on his left shoulder. He
has had significant pain in his left hamstring area and left shoulder since.

We gave patient a left subacromial injection on 02/24/2022 which was effective. He states that it
reduced his pain by about 50%. Our plan on 03/30/2022 was to refer him to the sports medicine
team to discuss conservative versus surgical options for his left hamstring as well as his shoulder.
Unfortunately, the referral never happened and he is back in my office.

He states his hamstring is better. He states he is able to walk and sit with minimal pain. He still feels
quite weak in his left hamstring region going from a sitting to a standing position as well as when
running. He states the majority of the pain is 4 to 5 inches distal to his ischial tuberosity in the
mid-hamstring region. He rates his pain 4/10.

Concerning his left shoulder, he states he has considerable popping and catching. He states when he
shrugs his shoulders, he feels significant pain in the anterior aspect of his shoulder. He states he has
moderate pain with overhead motions. he rates his pain 6/10. He does note some weakness as far as
lifting with his left shoulder. He is right hand dominant. He is currently incarcerated at Marion
County Jail. He states his occupation is a welder on the street.

03/30/2022 HPI: Modesto Hernandez is a 52 year-old gentleman who is currently incarcerated in the
Marion County Jail. He was previously seen on 02/23/2022 for a suspected complete left hamstring
tear as well as a rotator cuff tear of his left shoulder. He denies any previous problems with either of
these prior to his injury.
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Concerning his left shoulder, we gave him a subacromial injection at our visit on 02/23/2022. He
states it was quite effective. It reduced his pain by at least half and he regained some motion. He still
occasionally feels pain along his lateral shoulder. He describes it as a sharp, stabbing pain that
radiates to his elbow. It worsens with external rotation in abduction.

Concerning his left hamstring, he states this too is improved. He feels pain about 4 to 5 cm from the
insertion of his ischial tuberosity. It is aggravated by heavy exercise and running. He states he is
about 50% better from when his injury occurred.

DIAGNOSTIC STUDIES
03/17/2022: Left hamstring MRI at Hope Orthopedics of Oregon was reviewed by me. The left
hamstring shows a common hamstring complex tendon avulsed from the ischial origin and is
retracted distally by 4 cm. Moderate fat atrophy semimembranosus, semitendinosus, and biceps
femoris muscles. No other abnormality is noted.

The formal radiology report reads as follows:
1. Common hamstring complex tendon: Avulsed from the ischial tuberosity origin and is retracted
distally by 4 cm. Moderate fatty atrophy semimembranosus, semitendinosus and biceps femoris
muscles.

03/17/2022: Left shoulder MRA at Hope Orthopedics of Oregon was reviewed by me.

The formal radiology report reads as follows:
1. Rotator cuff tendon complex: Moderate severity supraspinatus and infraspinatus tendinopathy.
Advanced fatty atrophy teres minor muscle. Subscapularis tendon severely attenuated lateral 2.5 cm
secondary to near complete partial-thickness articular surface tearing.
2. AC joint: Mild osteoarthritis.
3. Glenohumeral joint complex: Long head of biceps tendon mildly medially subluxed with
tendinopathy. Diffuse complex tearing of the superior and anterior labral segments. Osteochondral
abnormality anterior inferior glenoid with loss of articular cartilage and cortical irregularities.



SOCIAL FACTORS:
Patient reported today the following factors that may influence their accessibility to care: He is
currently incarcerated at the Marion County Jail.




ROS:
Relevant records were reviewed in preparation for the visit (ROS, PSFH, and available EMR charts),
and relevant findings were incorporated into the history of present illness.




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Past Medical History
Patient reported no relevant past medical/surgical history.




Medications (active prior to today)
Patient is on no medications.



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient                 Reaction (Severity)                       Medication     Comment
                                                                     Name
NO KNOWN
ALLERGIES
Reviewe.d, _no_cha_nges.



Family History
Patient reports there is no relevant family history.




Review of Systems
System                     Neg/Pos     Details
Constitutional             Negative    Fatigue, Fever and Night sweats.
Eyes                       Negative    Vision loss.
Respiratory                Negative    Cough and Dyspnea.
Cardio                     Negative    Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                         Negative    Constipation, Diarrhea, Nausea and Vomiting.
GU                         Negative    Dysuria, Hematuria and Urinary incontinence.
Endocrine                  Negative    Cold intolerance and Heat intolerance.
Neuro                      Negative    Difficulty walking, Dizziness and Headache.
lntegumentary              Negative    Rash.
MS                         Negative    Except as noted in HPI and Chief complaint.
Hema/Lymph                 Negative    Easy bleeding and Easy bruising.
Allergic/lmmuno            Negative    Environmental allergies and Food allergies.




Luis Hernandez, Modesto       107000074752 07/24/1969 05/02/2022 01:30 PM Page: 3/6
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  Vital Signs
  Blood Pressure
  Time        BP mm/Hg Position         Side        Site         Method              Cuff Size   Measured By
  1:40 PM     146/95       sitting      right       arm          automatic           adult       Jasmin
                                                                                     large       SandovalVazquez


  Temperature/Pulse/Respiration
  Time        Temp F       Tempe        Temp Site Pulse/min Pattern                  Resp/min Measured By
  1:40 PM                                           52           irregular                       Jasmin
                                                                                                 SandovalVazquez


  Pain Scale
  Time        Pain Score Method                                                                  Measured By
  1:40 PM     5/10         Numeric Pain Intensity Scale                                          Jasmin
                                                                                                 SandovalVazquez



  Exam:
  Constitutional: In general, the patient is awake, alert, oriented x3, and in no acute distress.
- Pleasant affect Healthy male. -He-is hanc:tcuffed at his-wrists anct his- ankles-. - - - - - - - -
  Head: Normocephalic. Atraumatic.
  Neck: Soft, supple with no adenopathy.
  Psychiatric: Behavior and conversation is appropriate.
  Respiratory: Normal respiratory effort, talks in complete sentences, no use of accessory muscles.
  Respirations even, unlabored.
  Abdomen: Soft, nondistended.
  Gait: He ambulate briskly with no evidence of antalgic gait. He is able to get up from his chair to
  the table without any difficulties or assistance.

  Left shoulder: Patient has significant tenderness along the anterior joint line and greater
  tuberosity. No tenderness over the AC joint or biceps tendon. 0 - 160 degrees active forward
  elevation. 0 - 130 degrees active abduction with painful arc. 0 - 90 degrees active external
  rotation. Active internal rotation L1-midscap. Mildly positive Hawkins. Negative Neer and Jobe's
  tests. Positive O'Brien's. Supraspinatus 5/5. lnfraspinatus 5/5. Subscapularis 4/5. Negative for
  shoulder apprehension. Skin is warm with good color, good capillary refill. Distal sensory is ·
  grossly intact to left upper extremity. No erythema, no sign of infection.

  Left hamstring region: Patient has point tenderness along the ischial tuberosity as well as
  proximal hamstring, mainly in the mid region. There is no ecchymosis or swelling noted. He is
  able to take his foot to his gluteal region without difficulty. Hamstring strength against
  resistance 3/5. Patient has no sciatica and has normal sensation of his left lower extremity below
  the knee. Gastroc 5/5. Extensor hallucis 5/5.


   Assessment/Plan
   #     Detail Type      Description
   1.    Assessment       Strain of fascia of the post muscle group at thigh level of It thigh, subsequent encounter


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                          (S76.312D).
        Provider Plan     E&M Code:
                          99214 (no Modifiers) (Established patient, level 4)
                          Moderate Level of Medical Decision Making based on the following categories:
                          Moderate Problem Complexity -
                          » Moderate problem co_mplexity based on 1+ chronic illnesses with exacerbation
                          Minimal Data Review -
                          » Minimal data review based on default justification
                          Moderate Risk Of Complication -
                          » Moderate risk of complication based on diagnosis or treatment significantly limited
                          by social determinants of health
                          ICD-10 Codes:
                          » S76.312D - Strain of muscle, fascia and tendon of the posterior muscle group at thigh
                          level, left thigh, subsequent encounter
                          » M79.605 - Pain in left leg
                          » G89.29 - Other chronic pain
                          » S46.812D - Strain of other muscles, fascia and tendons at shoulder and upper arm
                          level, left arm, subsequent encounter
                          » M19.012 - Primary osteoarthritis, left shoulder
                          » M24.112 - Other articular cartilage disorders, left shoulder
                          » M95.8 - Other specified acquired deformities of musculoskeletal system
                          » 265.1- Imprisonment and other incarceration
           - .- - - - -
2.      Assessment        Pain in left leg (M79.605).

3.      Assessment        Other chronic pain (G89.29).

4.      Assessment        Strain of musc/fasc/tend at shldr/up arm, left arm, subs (S46.812D).

5.      Assessment        Primary osteoarthritis, left shoulder (M19.012).

6.      Assessment        Other articular cartilage disorders, left shoulder (M24.112).

7.      Assessment        0th acquired deformities of musculoskeletal system (M95.8).

8.      Assessment        Imprisonment and other incarceration (265.1).



Assessment:
1. Complete hamstring tear at ischial origin, chronic
2. Chronic left hamstring pain
3. Rotator cuff tear, subscapularis
4. Osteoarthritis, glenohumeral region
5. Degenerative anterior and superior labral tears
6. Osteochondral defect, glenoid


Plan:


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I wished to refer him to a surgeon much earlier than this. He is almost six months out from a
complete hamstring tear. My gut feeling is he would have significant problems going through surgery
now as far as the rehab process. I don't even know if this viable. I would like to refer him to Dr. Elkin
for a second opinion. My personal opinion is I think he needs to do conservative management for his
hamstring and avoid surgery if possible.

Concerning his left shoulder, we talked about a glenohumeral injection of his left shoulder. We
talked about physical therapy for his left shoulder as well as surgery. Patient states he works in a
manual labor job and wants this fixed. He would like to discuss possible surgery with a surgeon. I will
refer him to Dr. Elkin for this also. We will avoid giving him a glenohumeral injection in case surgery is
necessary. All questions were answered.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.




This note was generated for Sean Elliott, NP using the Robin service.




Provider
Electronically signed by:
Elliott, Sean 05/03/2022 9:14 AM
Document generated by: Charity Haddix 05/03/2022 09:14 AM




Electronically signed by Sean Elliott AN P on 05/09/2022 11 :42 AM




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                                Hope Orthopedics Of Oregon
                                             1600 State St
                                        Salem, OR 97301-4257
                                         Phone: (503)540-6300
                                          Fax: (503) 540-6404

 Patient :                     Modesto Luis Hernandez
 Date of Birth :               07/24/1969
 Date:                         05/17/20221:28 PM
 Visit Type :                  Office Visit
 Provide r:                    Daniel M. Elkin MD
 Histor ian:                   self



 This 52 year old client presents for ENP LEFT SHOULDER.


 History of Present Illness
  1. ENP LEFT SHOULDER
- Subjective~ - · - -
 Modesto Luis Hernandez is a 52-year-old right hand dominant male presenting for evaluation of his
 left shoulder and left hamstring. He had an acute injury in December 2021 when he was mopping up
 his cell and slipped on water, did the splits and injured his left hamstring, then landed back onto his
 left shoulder which resulted in pain.

 He has been seeing Sean Elliott, ANP who has been treating him. He ordered an MRI for the left
 hamstring and left shoulder. The left shoulder has a known rotator cuff tear, bicep tear, and la bra I
 tears. The left hamstring has a known hamstring tear. Sean recommended conservative management
 of the hamstring since he is 6 months post-injury and referred him to me to discuss surgery options
 for the left shoulder.

 Today, he reports left shoulder pain and rates it 5/10. His pain is located on the anterior shoulder. He
 reports he feels noise in his shoulder. He has been treating this conservatively with a cortisone
 injection on 02/23/2022 into the subacromial space which gave him mild relief for a short period of
 time. He also tried resting and giving it time.

 PATIENT HISTORY:
 -Obesity

 ROS:
 Relevant records were reviewed in preparation for the visit {ROS, PSFH, and available EMR charts),
 and relevant findings were incorporated into the history of present illness.




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Problem List
Problem Description      Onset Date      Chronic   Clinical Status           Notes
Impingement                              N
syndrome, shoulder,
left
Superior labrum                          N
anterior-to-posterior
(SLAP) tear of left
shoulder
Traumatic partial tear                   N
of left biceps tendon,
subsequent encounter
Full thickness tear of                   N
left subscapularis
tendon,subsequent
encounter




Past Medical History- (Detailed)- -




Medications (active prior to today)
Patient is on no medications.



Medication Reconciliation
Medications reconciled today.



Allergies:
Ingredient               Reaction {Severity)                         Medication    Comment
                                                                     Name
NO KNOWN
ALLERGIES
Reviewed, no changes.



Family History
(Detailed}




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Social History (Detailed)
Preferred language is Spanish; Castilian.

Tobacco use status: Current non-smoker.

Smoking status: Never smoker.




Review of Systems
:System                   Neg/Pos      Details
Constitutional           Negative      Fatigue, Fever and Night sweats.
Eyes                     Negative      Vision loss.
Respiratory              Negative      Cough and Dyspnea.
Cardio                   Negative      Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                       Negative      Constipation, Diarrhea, Nausea and Vomiting.
GU                       Negative      Dysuria, Hematuria and Urinary incontinence.
Endocrine                Negative      Cold intolerance and Heat intolerance.
Neuro                    Negative      Difficulty walking, Dizziness and Headache.
lnteg':_lm~ntary         Negative      Rash.
                        --- - - -
MS                       Negative      Except as noted in HPI and Chief complaint.
Hema/Lymph               Negative      Easy bleeding and Easy bruising.
Allergic/Immune          Negative      Environmental allergies and Food allergies.




Vital Signs
Height
Time       ft      in       cm         Last Measured            Height Position           Measured By
1:39 PM    5.0     4.00     162.56 05/17/2022                   Standing                  Sarah Clark


Weight/BSA/BM I
Time        lb            oz            kg          Context       BMI        BSAm2            Measured By
                                                                  kg/m2
1:39 PM     191.00                      86.636      dressed with 32.78                        Sarah Clark
                                                    shoes


Blood Pressure
Time       BP mm/Hg Position          Side        Site        Method              Cuff Size   Measured By
1:39 PM    169/104      sitting       left        arm         automatic           adult       Sarah Clark
                                                                                  large


Temperature/Pulse/Respiration

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 Time         TempF        Tempe      Temp Site Pulse/min Pattern                    Resp/min Measured By
 1:39 PM      97.7         36.50      temporal     65           regular                          Sarah Clark


 Pain Scale
 Time         Pain Score Method                                                                  Measured By
 1:39 PM      5/10         Numeric Pain Intensity Scale                                          Sarah Clark



 Exam:
 LEFT SHOULDER EXAM
 Inspection: patient is in no distress. Alert and oriented to time and place. Breathing is unlabored.
 There is no visible swelling, ecchymosis, skin lesions, scapular winging, or muscle atrophy
 present.
 Palpation: No focal tenderness to palpation about the anterior over the AC joint, or posteriorly.
 Positive bicep tenderness. No crepitation.
 Neurovascular: Distally patient has palpable 2 + radial pulse. Sensation is normal in axillary,
 median, ulnar, and radial nerve distributions.

  Range of Motion:
  Forward flexion active: 160 degrees
  Forward flexion passive: 165 degrees
• Abduction: 90 degrees
  External rotation at the side: 45 degrees
  External rotation in abduction: 90 degrees
  Internal rotation: T12

 Strength:
 Scaption: 5/5
 Internal rotation: 4/5
 External rotation: 5/5

 Special Tests:
 Lift-off test: Positive

 LEFT HIP EXAM
 Inspection: patient is in no distress. Alert and oriented to time and place. Breathing is unlabored.
 There is no visible swelling, ecchymosis, skin lesions, or muscle atrophy. Normal non-antalgic
 gait. Leg lengths are grossly equal.
 Palpation: No tenderness to palpation about the symphysis pubis, adductors, greater trochanter,
 or buttocks: Proximal hamstring tenderness.
 Neurovascular: Distally patient has palpable 2 + pulses. Sensation is intact and normal in all
 distributions in the thigh, leg, and foot.

 Strength:
 Hamstrings: weakness with activation

 DIAGNOSTIC STUDIES:
 03/17/2022: Left hamstring MRI report at Hope Orthopedics of Oregon was reviewed by me.



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The formal radiology report reads as follows:
1. Common hamstring complex tendon: Avulsed from the ischial tuberosity origin and is
retracted distally by 4 cm. Moderate fatty atrophy semimembranosus, semitendinosus and
biceps femoris muscles.



03/17/2022: Left shoulder MRA report at Hope Orthopedics of Oregon was reviewed by me.

The formal radiology report reads as follows:
1. Rotator cuff tendon complex: Moderate severity supraspinatus and infraspinatus
tendinopathy. Advanced fatty atrophy teres minor muscle. Subscapularis tendon severely
attenuated lateral 2.5 cm secondary to near complete partial-thickness articular surface tearing.
2. AC joint: Mild osteoarthritis.
3. Glenohumeral joint complex: Long head of biceps tendon mildly medially subluxed with
tendinopathy. Diffuse complex tearing of the superior and anterior labral segments.
Osteochondral abnormality anterior inferior glenoid with loss of articular cartilage and cortical
irregularities.


Assessment/Plan
#      Detail Type      Description
 1.     Assessment     Strain of musc/fasc/tend at shldr/up arm, left arm, init {S46.812A).
      . ProviderJ~lan _ E&MCode: _ __ _ ______ _ _ ___ ____
                        99214 (no Modifiers) (Established patient, level 4)
                        Moderate Level of Medical Decision Making based on the following categories:
                        Moderate Problem Complexity -
                        » Moderate problem complexity based on complicated or worsening problem
                        associated with surgical intervention
                        Limited Data Review -
                        » Limited data review based on 2 diagnostic test(s) reviewed/ordered
                        High Risk Of Complication -
                        » High risk of complication based on decision regarding major surgery with risk factors
                        ICD-10 Codes:
                        » S46.812A - Strain of other muscles, fascia and tendons at shoulder and upper arm
                        level, left arm, initial encounter
                        » S46.212A - Strain of muscle, fascia and tendon of other parts of biceps, left arm, initial
                        encounter
                        » S76.312D - Strain of muscle, fascia and tendon of the posterior muscle group at thigh
                        level, left thigh, subsequent encounter
                        » 260.3 - Acculturation difficulty
                        » 265.1- Imprisonment and other incarceration
                        » E66.9 - Obesity, unspecified
                        » 268.32 - Body mass index [BMI] 32 .0-32.9, adult

 2.    Assessment       Strain of fascia of other part of biceps of left arm, initial encounter (S46.212A).

 3.    Assessment       Strain of fascia of the post muscle group at thigh level of It thigh, subsequent encounter
                        (S76.312D).

 4.    Assessment       Acculturation difficulty {260.3).


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5.      Assessment   Imprisonment and other incarceration {Z65.1).

6.      Assessment   Obesity, unspecified {E66.9).

7.      Assessment   Body mass index [BMI] 32.0-32.9, adult (Z68.32).



Assessment:
1. Left shoulder subscapularis tear
2. Left shoulder bicep tear
3. Left hamstring tear


Plan:
I reviewed the diagnosis as well as the treatment plan. Since it has been so long since the injury, the
hamstring is not something that is likely repairable. There is some atrophy and I do not believe we
would be able to fix it. However, I discussed that his leg function can still be normal without that
tendon in his leg. He should strengthen the hamstring and I showed him how to do this with laying
on his belly. My recommendation would be to send him to physical therapy for the left hamstring
and he is in agreement with this plan.

In regards to his shoulder, I recommend fixing his rotator cuff tear and bicep tear with an
arthroscopy. He is in agreement with this plan.

-Conservative treatments he has tried and failed include cortisone injections and time.

We discussed surgery as an appropriate treatment course and the patient elected to proceed.
We discussed possible risks of left arthroscopic rotator cuff repair and biceps tenodesis which
include, but are not limited to: allergic reactions to anesthesia, postoperative infection, stiffness,
swelling, blood clots, continued pain, and in some severe cases osteonecrosis or rapid deterioration
of surrounding cartilage.
I reviewed the postoperative recovery process including wearing a sling and going to physical
therapy.

Patient reports today the following factors that may influence their accessibility to care: The patient
resides at Marion County Jail. Secondly, the patient is Spanish speaking and therefore a
Spanish-English interpreter was present during the encounter today.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.



This note was generated for Daniel Elkin, MD using the Robin service.




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Provider
Electronically signed by:
Elkin, Daniel M 05/18/2022 7:47 AM
Document genera ted by: Ana Navarro 05/18/2022 07:47 AM




Electronically signed by Daniel M. Elkin MD on 05/18/2022 01 :55 PM




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                                 Hope Orthopedics Of Oregon
                                             1600 State St
                                        Salem, OR 97301-4257
                                        Phone: (503)540-6300
                                          Fax: (503) 540-6404

Patient:                        Modesto Luis Hernandez
Date of Birth :                 07/24/1969
Date:                          07/12/2022 2:18 PM
Visit Type :                   Pre-Operative Visit
Provider :                     Yon Gomez PA-C
Historian:                     self



This 52 year old client presents for left shoulder Pain.


History of Present Illness
1. left shoulder Pain
Subjective:
52-year-old male who presents today for preoperative evaluation of his left shoulder. Patient is
scheduled to undergo a left shoulder arthroscopy, rotator cuff repair, subacromial decompression,
extensive debridement, biceps tenodesis on 07/19/2022.

Today patient rates his pain as a 6/10. Patient reports no significant changes to the shoulder since
last examination.




Problem List
Problem Description      Onset Date    Chronic    Clinical Status           Notes
Impingement                            N
syndrome, shoulder,
left
Superior labrum                        N
anterior-to-posterior
(SLAP) tear of left
shoulder
Traumatic partial tear                 N
of left biceps tendon,
subsequent encounter
Full thickness tear of                 N
left subscapularis

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tendon, subsequent
encounter




Past Medical History (Detailed)
Patient reported no relevant past medical/surgical history.



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient               Reaction (Severity)                        Medication    Comment
                                                                    Name
NO KNOWN
ALLERGIES




Family History
(Detailed)

Patient reports there is no relevant family history.




Social History (Detailed)
Tobacco use reviewed.

Preferred language is Spanish; Castilian.

Tobacco use status: Current non-smoker.

Smoking status: Never smoker.


Tobacco Screening
Patient has never used tobacco. Patient has not used tobacco in the last 30 days. Patient has not
used smokeless tobacco in the last 30 days.


Smoking Status
Type               Smoking Status                 Usage Per Day      Years Used Pack Years Total Pack Years
                   Never smoker


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Review of Systems
System                     Neg/Pos     Details
Constitutional             Negative    Fatigue, Fever and Night sweats.
Eyes                       Negative    Vision loss.
Respiratory                Negative    Cough and Dyspnea .
Cardio                     Negative    Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                         Negative    Constipation, Diarrhea, Nausea and Vomiting.
GU                         Negative    Dysuria, Hematuria and Urinary incontinence.
Endocrine                  Negative    Cold intolerance and Heat intolerance.
Neuro                      Negative    Difficulty walking, Dizziness and Headache.
lntegumentary              Negative    Rash.
MS                         Negative    Except as noted in HPI and Chief complaint.
Hema/Lymph                 Negative    Easy bleeding and Easy bruising.
Allergic/Immune            Negative    Environmental allergies and Food allergies.




Vital Signs
Height
Time       ft       in       cm        Last Measured            Height Position           Measured By
2:45 PM    5.0      3.50     161.29 07/12/2022                  Standing                  Erin Howard


Weight/BSA/BM I
.Time        lb            oz           kg          Context       BMI        BSAm2            Measured By
                                                                  kg/m2
2:45 PM      190.00                     86.183                    33.13                       Erin Howard


Blood Pressure
Time       BP mm/Hg Position           Side       Site        Method              Cuff Size   Measured By
2:45 PM    126/78        standing      right      arm         manual              adult       Erin Howard
                                                                                  large


Temperature/Pulse/Respiration
Time       Temp F        Tempe         Temp Site Pulse/min Pattern                Resp/min Measured By
2:45 PM    97.3          36.28         temporal    64                                         Erin Howard


Pain Scale
Time       Pain Score Method                                                                  Measured By
2:45 PM    6/10          Numeric Pain Intensity Scale                                         Erin Howard


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Exam:
On physical exam patient is in no distress. Alert and oriented to time and place. Breathing is
unlabored.

Respiratory: Chest clear. Even and unlabored. Clear to Auscultation. Non-labored breathing and ·
no audible wheezing
Cardiovascular: Regular heart rate and rhythm. No audible murmurs or extra sounds.

Left shoulder exam:
Inspection: There is no visible swelling, ecchymosis, skin lesions, scapular winging, or muscle
atrophy present.
Palpation: No focal tenderness to palpation about the bicipital groove, anterior over the AC joint,
or posteriorly.
Neurovascular: Distally patient has palpable 2+ radial pulse. Sensation is normal in axillary,
median, ulnar, and radial nerve distributions.                                                            \



Range of Motion:
Forward flexion: 170
Abduction: 90
External rotation in abduction: 90
External rotation at the side: 60
Internal rotation: T10

Muscle strength is:
5/5 in scaption
5/5 external rotation
4/5 internal rotation



Indication/Type of Treatment:
Indication               Type of Treatment       Side         Region       Initial         Global     Status
                                                                           Treatment       Days
                                                                           Date
Impingement            Arthscpy shldr     Left                Shoulder     07/19/2022                 scheduled
syndrome, shoulder, decompression
left
Full thickness tear of Arthroscop Rotator Left                Shoulder     07/19/2022                 scheduled
left subscapularis     Cuff Repair
tendon, subsequent
encounter
Traumatic partial tear ARTHROSCOPY BICEPS Left                Shoulder     07/19/2022                 scheduled
of left biceps tendon, TENODESIS
subsequent encounter
Superior labrum        Extensive          Left                Shoulder     07/19/2022                 scheduled
anterior-to-posterior debridement
(SLAP) tear of left
shoulder

Clinical Assessment:

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Assessment/Plan
·#      Detail Type   Description
 1.     Assessment    Encounter for other preprocedural examination (ZOl.818).



Assessment:
1. Left shoulder subscapularis tear


Plan:
Pre-operative instructions were discussed with the patient. Patient is part of the Marion County's
Sheriffs Office and will be provided support post-operatively while in the facility .. Oxycodone was
recommended for post-operative pain management. A sling was fitted for the patient today to wear
post-operatively. He would like to proceed with a left shoulder arthroscopy, rotator cuff repair,
subacromial decompression, extensive debridement, biceps tenodesis as scheduled. Documents
outlining pre and post-procedural guidelines were also discussed.

We discussed the risks, benefits, and alternatives to surgery. Risks include but are not limited to:
infection, bleeding, stiffness, nerve damage, continued pain, arthritis, blood clots, breathing
problems, death, anesthesia complications, and failure to return to premorbid level of activity. We
reviewed the rehabilitation process and post-operative course as well. The patient had the
opportunity to ask questions, which were answered.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.

Yon Gomez, PA-C for attending physician, Daniel Elkin, MD




Provider
Electronically signed by:
Gomez, Yon 07/14/2022 8:56 AM
Document generated by: Yon Gomez 07/14/2022 08:56 AM




Electronically signed by Yon Gomez PA-Con 07/14/2022 10:11 AM




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                              Willamette Surgery Center PC
                             1445 State Street, Salem, OR 97301
                                       503-365-3965

_ _ _ _ _ _ _ _ _ _ _ _ _OPERATIVE NOTE_ _ _ _ _ _ _ __

PATIENT:                                     Modesto Luis Hernandez
DATE OF BIRTH:                               07/24/1969
ENCOUNTER DATE:                              07/19/2022 7:30 AM
SURGEON:                                     Daniel M. Elkin MD


PREOPERATIVE DIAGNOSIS:                      1. Left shoulder rotator cuff tear of subscapularis
                                             2. Left shoulder degenerative labral fraying
                                             3. Left shoulder biceps tendon tear proximal
                                             4. Left shoulder superior labrum anterior-posterior
                                             tear

POSTOPERATIVE DIAGNOSIS:                     1. Left shoulder rotator cuff tear of subscapularis
                                             2. Left shoulder degenerative labral fraying
                                             3. Left shoulder biceps tendon tear proximal
                                             4. Left shoulder superior labrum anterior-posterior
                                             tear

PROCEDURE:                                   1. Left shoulder arthroscopic rotator cuff repair
                                             2. Arthroscopic biceps tenodesis
                                             3. Extensive debridement

.ASSISTANT:                                  Yon Gomez, P.A.-C

ANESTHESIA:                                  LMA with interscalene nerve block per Dr. Lloyd

SPECIMENS:                                   None

EBL:                                         Minimal

COMPLICATIONS:                               None

POSTOP CONDITION:                            Stable to recovery

INDICATIONS: The patient is a 52-year-old gentleman with the above diagnoses. He failed
conservative treatment. He continues to have pain refractory to conservative measures and therefore
was indicated for the above procedure.

DESCRIPTION OF PROCEDURE: The patient was seen in preoperative holding . Consent was
verified. The risks, benefits and alternatives were discussed and the patient wished to proceed. The left
shoulder was marked by myself and the patient. The patient was brought to the OR and induced with
the above anesthesia. The patient was placed in the lateral decubitus position. All bony prominences
were padded. The left upper extremity was prepped and draped in the usual sterile fashion. A surgical
time-out was called identifying the left side as the correct side. This correlated with preoperative
imaging, markings on the patient and the consent form.
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At this point, we began diagnostic arthroscopy from the posterior portal of the glenohumeral joint. The
humeral head and glenoid cartilage were intact. There was degenerative labral fraying anteriorly. There
was significant scar tissue about the rotator interval. There was a full thickness tear of the ·
subscapularis without retraction . The biceps tendon was medially subluxated and there was significant
tearing of the superior labrum at the bicipital attachment.

At this point, an anterior working portal was established. The rotator interval tissue was cleared using
the RF device as well as a motorized shaver. The subcoracoid space was developed. There was no
subcoracoid impingement. We performed an extensive debridement of the degenerative labral tissue
as well as the capsular and rotator interval tissue.

We then performed a Loop 'n Tack biceps tenodesis using the Fiberlink. The biceps was resected
from the superior glenoid tubercle. We next used the scorpion to pass two SutureTapes through the
subscapularis. These SutureTapes as well as the biceps suture were placed into an Arthrex 4.75 mm
Swivelock and this was inserted into the lesser tuberosity for anatomic restoration of the subscapularis
and for the arthroscopic biceps tenodesis. We had excellent purchase on the anchor. The tails were
cut flush. The repair was stable to probing as well as internal and external rotation .

We next entered the subacromial space. A bursectomy was accomplished. The undersurface of the
acromion was visualized. There was no spurring. The superior aspect of the rotator cuff was visualized
from the bursa! surface and there was no tearing. We therefore did not do any work in this region.

The shoulder was drained of arthroscopic fluid. The portals were closed in interrupted fashion using
3-0 Vicryl followed by 3-0 nylon sutures. A sterile dressing was applied. The patient was awakened
from anesthesia and brought to PACU in stable condition.

Yon Gomez, P.A.-C, a trained surgical assistant, was necessary for multiple parts of the procedure
including positioning, retraction, placement of implants, arm and camera manipulation and closure.

DISPOSITION: The patient will be in a sling for four weeks. No active biceps lifting. Active elbow, wrist
and hand range of motion would be permitted. No active shoulder motion for four weeks. He will be on
aspirin for four weeks for DVT prophylaxis.




Daniel Elkin, M.D.
DE:jsc

D: 07/19/22 - 08:52
T: 07/19/22-18:34
#0719-074
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                                 Hope Orthopedics Of Oregon
                                             1600 State St
                                        Salem, OR 97301-4257
                                         Phone: (503)540-6300
                                          Fax: (503) 540-6404

Patient:                       Modesto Luis Hernandez
Date of Birth:                 07/24/1969
Date:                          07/28/2022 9:20 AM
Visit Type:                    Post-Operative Visit
Provider:                      Yon Gomez PA-C
Historian:                     Interpreter



This 53 year old client presents for post-op Left Shoulder.


History of Present Illness
1. post-op Left Shoulder
Subjective:
53-year-old male status post left shoulder arthroscopic rotator cuff repair, arthroscopic biceps
tenodesis, extensive debridement performed on 07/19/2022. Patient states that he is overall doing
well post-operatively. He reports that he is receiving all his post-operative medications at his facilities
as recommended. At this time he reports that he is maintaining in the sling as instructed with no
active shoulder motions. Today he rates his pain as a 5/10. He reports that he has not showered
since the date of the surgery but that they are providing him with wash clothes.




Problem List
Problem Description      Onset Date    Chronic     Clinical Status        Notes
Impingement                            N
syndrome, shoulder,
left
Superior labrum                        N
anterior-to-posterior
(SLAP) tear of left
shoulder
Traumatic partial tear                 N
of left biceps tendon,
subsequent encounter
Full thickness tear of                 N
left subscapularis

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tendon, subsequent
encounter




Past Medical History (Detailed)



Medication Reconciliation
Medications reconciled today.
Patient is on no medications.



Allergies:
Ingredient              Reaction (Severity}                       Medication     Comment
                                                                  Name
NO KNOWN
ALLERGIES
Reviewed, no changes.



Family History
(Detailed)




Social History (Detailed)
Preferred language is Spanish; Castilian.

Tobacco use status: Current non-smoker.

Smoking status: Never smoker.




Review of Systems
System                  Neg/Pos     Details
Constitutional          Negative    Fatigue, Fever and Night sweats.
Eyes                    Negative    Vision loss.
Respiratory             Negative    Cough and Dyspnea.
Cardio                  Negative    Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                      Negative    Constipation, Diarrhea, Nausea and Vomiting.
GU                      Negative    Dysuria, Hematuria and Urinary incontinence.
Endocrine               Negative    Cold intolerance and Heat intolerance.
Neuro                   Negative    Difficulty walking, Dizziness and Headache.
lntegumentary           Negative    Rash.

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MS                        Negative     Except as noted in HPI and Chief complaint.
Hema/Lymph                Negative     Easy bleeding and Easy bruising.
Allergic/lmmuno           Negative     Environmental allergies and Food allergies.




Vital Signs
Blood Pressure
Time         BP mm/Hg Position        Side         Site         Method                Cuff Size     Measured By
9:32 AM      156/91      sitting      right        arm          automatic             adult         Michelle Janisse
                                                                                      large


Temperature/Pulse/Respiration
Time         Temp F      Tempe        Temp Site Pulse/min Pattern                     Resp/min Measured By
9:32 AM      97.4        36.33        temporal     61           regular                             Michelle Janisse


Pain Scale
Time         Pain Score Method                                                                      Measured By
9:32 AM      5/10        Numeric Pain Intensity Scale                                               Michelle Janisse



Exam:
On physical exam patient is in no distress. Alert and oriented to time and place. Breathing is
unlabored.

Focused exam of the left shoulder reveals:
Some visible swelling, incisions are intact with no signs of infection.
Sutures were removed and Steri-Strips placed.

Active range of motion:
Not assessed due to proximity to surgery.

5/5 AIN/PIN/Ulnar nerve strength.

2 + radial pulse. Sensation is normal in axillary, median, ulnar, and radial nerve distributions.



Indication/Type of Treatment:
Indication               Type of Treatment         Side          Region       Initial             Global    Status
                                                                              Treatment           Days
                                                                              Date
Impingement               Arthscpy shldr           Left          Shoulder     07/19/2022                    scheduled
syndrome, shoulder,       decompression
left
Full thickness tear of    Arthroscop Rotator       Left          Shoulder     07/19/2022                    scheduled
left subscapularis        Cuff Repair

Luis Hernandez, Modesto       107000074752 07/24/1969 07/28/2022 09:20 AM Page: 3/5
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tendon,subsequent
encounter
Traumatic partial tear ARTHROSCOPY BICEPS Left             Shoulder    07/19/2022             scheduled
of left biceps tendon, TENODESIS
subsequent encounter
Superior labrum        Extensive          Left             Shoulder    07/19/2022             scheduled
anterior-to-posterior debridement
(SLAP) tear of left
shoulder

Clinical Assessment:

Assessment/Plan
#       Detail Type   Description
1.      Assessment    Encounter for other orthopedic aftercare (Z47.89) .



Assessment:
53-year-old male status post left shoulder arthroscopic rotator cuff repair, arthroscopic biceps
tenodesis, extensive debridement performed on 07/19/2022.


Plan:
Overall patient is doing well post-operatively. He will continue to be in a sling for a total of 4 weeks
and will continue with his at post-operative exercises of active elbow and wrist motions before
starting physical therapy. He will follow-up in 6 weeks to reassess progress after coming out of sling
and starting formal physical therapy. We discussed that during next visit we will review
intra-operative images si!'lce they are not uploaded into our system.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed.

Yon Gomez, PA-C for attending physician, Daniel Elkin, MD




Provider
Electronically signed by:
Gomez, Yon 07/28/2022 11:34 AM
Documen t generated by: Yon Gomez 07/28/2022 11 :34 AM




Luis Hernandez, Modesto    107000074752 07/24/1969 07/28/2022 09:20 AM Page: 4/5
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                                   Hope Orthopedics Of Oregon
                                                1600 State St
                                           Salem, OR 97301-4257
                                            Phone: (503)540-6300
                                             Fax: (503) 540-6404

Pati ent:                         Modesto Luis Hernandez
Date of Birt h:                   07/24/1969
Date :                            09/16/2022 1:11 PM
Visit Type :                      Office Visit
Provider :                        Yon Gomez PA-C
Historian:                        self

This 53 year old patient was referred by Sean Elliott.

This 53 year old client presents for L shoulder PO.


History of Present Illness
1. L shoulder PO
Subjective:
53-year-old male status post left shoulder arthroscopic rotator cuff repair, arthroscopic biceps
tenodesis, extensive debridement performed on 07/19/2022. Patient states that he is overall doing
well post-operatively and reports that he has started to work with physical therapy at his facility on
gaining his range of motion. He reports that he is still maintaining in his sling. At this time he is only
taking ibuprofen. Today he rates his pain as a 6/10. He reports some intermittent numbness distally
in the fingers but denies any tingling




Problem List
Problem Description      Onset Date       Chronic        Clinical Status       Notes
Impingement                               N
syndrome, shoulder,
left
Superior labrum                           N
anterior-to-posterior
(SLAP) tear of left
shoulder
Traumatic partial tear                    N
of left biceps tendon,
subsequent encounter
Full thickness tear of                    N

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left subscapularis
tendon, subsequent
encounter




Past Medical History (Detailed)

Past Surgical History

Management                Date                Comments
Arthroscop Rotator Cuff   20220719
Repair
ARTHROSCOPY BICEPS        20220719
TENODESIS
Arthscpy shldr            20220719
decompression
Extensive debridement     20220719



Medications (active prior to today)
Medkat,on Name            SigDescnpt,on               StanDat~    Stop Date -Re-tilted   Rx-e1s-ewh-ere-
ibuprofen 200 mg tablet take 1 tablet by oral route   II                                 Y
                        every 6 hours as needed
                        with food



Medication Reconciliation
Medications reconciled today.



Allergies:
Ingredient              Reaction (Severity)                       Medication   Comment
                                                                  Name
NO KNOWN
ALLERGIES
Reviewed, no changes.



Family History
(Detailed)




Social History (Detailed)
Preferred language is Spanish; Castilian.


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Tobacco use status: Current non-smoker.

Smoking status: Never smoker.




Review of Systems
·system                   Neg/Pos      Details
Constitutional            Negative     Fatigue, Fever and Night sweats.
Eyes                      Negative     Vision loss.
Respiratory               Negative     Cough and Dyspnea .
Cardio                    Negative     Chest pain, Cyanosis and Irregular heartbeat/palpitations.
GI                        Negative     Constipation, Diarrhea, Nausea and Vomiting.
GU                        Negative     Dysuria, Hematuria and Urinary incontinence.
Endocrine                 Negative     Cold intolerance and Heat intolerance.
Neuro                     Negative     Difficulty walking, Dizziness and Headache.
lntegumentary             Negative     Rash.
MS                        Negative     Except as noted in HPI and Chief complaint.
Hema/Lymph                Negative     Easy bleeding and Easy bruising.
Allergic/lmmuno           Negative     Environmental allergies and Food allergies.




Vital Signs
Blood Pressure
Time        BP mm/Hg Position         Side         Site         Method            Cuff Size   Measured By
1:23 PM     154/96       sitting      right        arm          automatic        adult        Marrissa Brinson


Temperature/Pulse/Respiration
Time        Temp F       TempC        Temp Site Pulse/min Pattern                 Resp/min Measured By
1:23 PM     97.0         36.11        temporal     56           regular                       Marrissa Brinson


Pain Scale
Time        Pain Score Method                                                                 Measured By
1:23 PM     6/10         Numeric Pain Intensity Scale                                         Marrissa Brinson



Exam:
On physical exam patient is in no distress. Alert and oriented to time and place. Breathing is
unlabored.                             •

Focused exam of the left shoulder reveals:
No visible swelling, incisions are well healed with no signs of infection.

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         Case 2:24-cv-00120-AR              Document 1         Filed 01/18/24        Page 164 of 173




Active range of motion:
Forward flexion: 160
Abduction: 80
External rotation in abduction: 80
External rotation at the side: 80
Internal rotation: T10

5/5 AIN/PIN/Ulnar nerve strength.

2 + radial pulse. Sensation is normal in axillary, median, ulnar, and radial nerve distributions.



Indication/Type of Treatment:
Indication                  Type of Treatment      Side          Region       Initial          Global   Status
                                                                              Treatment        Days
                                                                              Date
Impingement            Arthscpy shldr     Left                   Shoulder     07/19/2022       59       completed
syndrome, shoulder, decompression
left
Full thickness tear of Arthroscop Rotator Left                   Shoulder     07/19/2022       59       completed
left subscapularis     Cuff Repair
tendon, subsequent
encounter
Traumatic partial tear ARTHROSCOPY BICEPS Left                   Shoulder     07/19/2022       59       completed
of left biceps tendon, TENODESIS
subsequent encounter
Superior labrum        Extensive          Left                   Shoulder     07/19/2022       59       completed
anterior-to-posterior debridement
(SLAP) tear of left
shoulder

Clinical Assessment:



Completed Orders (This Visit)
Order             Details              Reason    Side     Interpretation Result            Initial   Region
                                                                                           Treatment
                                                                                           Date
Arthscpy shldr                                   Left                                      07/19/2022 Shoulder
decompression
Arthroscop                                       Left                                      07/19/2022 Shoulder
Rotator Cuff
Repair
ARTHROSCOPY                                      Left                                      07/19/2022 Shoulder
BICEPS
TENODESIS
Extensive                                        Left                                      07/19/2022 Shoulder
debridement

Luis Hernandez, Modesto        107000074752 07/24/1969 09/16/2022 01:11 PM Page: 4/6
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Assessment/Plan
'#      Detail Type   Description
 1.     Assessment    Encounter for other orthopedic aftercare (247.89).



Assessment:
53-year-old male status post left shoulder arthroscopic rotator cuff repair, arthroscopic biceps
tenodesis, extensive debridement performed on 07/19/2022.


Plan:
Today we reviewed his progress and timelines with rehabilitation. He has achieved nearly full range
of motion at this time but discussed continuing to focus on range of motion exercises. At 3 months
he may begin the strengthening phase of rehabilitation. We discussed that he no longer needs to
wear a sling. He will return in 2 months to reassess progress.

Any questions were answered. The patient demonstrated understanding and is agreeable with the
recommendations as discussed .

Yon Gomez, PA-C for attending physician, Daniel Elkin, MD




Active Patient Care Team Members
Name             Contact       Agency        Support     Relationship      Active Date Inactive   Specialty
                               Type          Role                                      Date
Lance Loberg                                 Patient     PCP                                      Family
                                             provider                                             Medicine
Tommy Vu                                     encounter                                            Physician
                                             provider                                             Assistant



Provider
Electronically signed by:
Gomez, Yon 09/16/2022 4:0_9 PM
Document generated by: Yon Gomez 09/16/2022 04:09 PM

CC Providers:

Loberg, Lance G
9605 Grand Ronde Road
Grand Ronde
OR

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97347-0000




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                                                  Hope Therapy Services
                                                          1600 State St
                                                     Salem, OR 97301-4257
                                                      Phone: (503)540-6472
                                                       Fax: (503) 540-6480

Date:                     August 30, 2022
Patient Name:             Luis Hernandez Modesto                             MR#:
Date of Birth:            07/24/1969                                                     Phone: (503)588-6815
Insurance:                Marion County Sheriffs Office


                              HOPE THERAPY SERVICES INITIAL EVALUATION

MEDICAL DIAGNOSIS:               M75.121         Nontraumatic complete tear of right rotator cuff (M75.121)


TREATING DIAGNOSIS:              M25.512         Pain, joint, shoulder, left (M25.512)
                                 M25.612         Stiffness of left shoulder joint (M25.612)
                                 M62.81          Muscle weakness (generalized) (M62.81)


PRECAUTIONS/
 CONTRAINDICATIONS:              None
TOTAL TREATMENT TIME:            40 minutes
DATE OF ONSET:                   07/19/2022
TREATMENT STARTED:               08/30/2022
VISIT#:                          1
TIMEIN:                          9:10
TIMEOUT:                         10:00

TREATING THERAPIST:              Jennifer F. Truax MSPT ATC R
REFERRING PROVIDER:              Donna Millan FNP



Body Part / Injury:              Left Shoulder


Surgical Procedure
L RCR with biceps tenodesis      Date: 07/19/2022           Days post op: 1 Month 11 Days

Pain level at rest:              3/10


Pain level during activity:      4/10

PQRS:
Subiective
Luis presents to PT today w a Spanish Speaking Interpreter and a Sheriff Transport guard. He is 6 weeks s/p R RCR with bicep
tenodesis and was sent to PT for a HEP instruction to use while in prison.



Date: August 30, 2022                             Page: 1           Patient's Name: Luis Hernandez Modesto
Document Name: NW PT Initial Eval                                   MR#:
                   Case 2:24-cv-00120-AR              Document 1        Filed 01/18/24   Page 168 of 173

He is using pain meds and asks when he can come off of them. He agrees to approach this question at his follow up.


He c/o LE pain as well and asks about an injury to his L leg. We deferred this for now given he has not
had any PT since surgery and he is 6 weeks s/p.

Obiective
Interpreter present: David Ramirez ID: 12709

Initial evaluation complete. Neurovascular status intact. Pt educated on current surgical procedure and expectations of rehab.
 Instructed and demonstration of
HEP (HO provided) which includes:
Access Code: X94PWBDV
Seated Shoulder Flexion Towel Slide at Table Top - 2-3 x daily - 7 x weekly - 2-3 sets - 10-15 reps
Scaption Wall Slide with Towel -
Seated Shoulder Shrugs -
Seated Scapular Retraction -
Seated Elbow Flexion AAROM -
Seated Upper Trapezius Stretch (Mirrored) -


Pt has limitations given the prison environment.


Initial Eval:        PT-low complexity 15 minutes. No personal factors or co-morbidities. Presents with stable and uncomplicated
characteristics.
Ther Ex:             25 minutes
                     TherEx was performed to HEP Education.
Shoulder Evaluation

Range of Motion
                                               RIGHT
         Flexion                  Active: 170            Strength: 5/5
         Abduction                Active: 170            Strength: 5/5


                                               LEFT
        flexion                   Active: 60             Passive: 115
        Abduction                 Active: 30             Passive: 115


Assessment
Patient presents to therapy s/p Lt RCR. Pt demonstrates a good understanding of the surgical procedure and HEP. The clinical
findings support the medical necessity to implement physical therapy treatment. Pt presents with deficits in ROM and strength. Pt
would benefit from therapy to increase ROM and strength and decrease pain to return to prior level of function as described in the
eval.


Rehab potential is expected to be good
Patient's motivation appears to be good
Patient's understanding of the condition is good




Date: August 30, 2022                              Page: 2         Patient's Name: Luis Hernandez Modesto
Document Name: NW PT Initial Eval                                  MR#:
                  Case 2:24-cv-00120-AR              Document 1        Filed 01/18/24    Page 169 of 173

Plan
Patient to be seen as listed to meet goals. Will progress ROM and strength per MEDIUM/LARGE RCR protocol and as appropriate.
Modalities as needed for pain control. Patient was informed of evaluation findings, involved in goal development and education.
Given evaluation findings, the prognosis is GOOD with respect to achieving the above listed goals.


I will give Tommy Vu his advancement exercises for phase II of his rehab process. :


Exercises
        Range of motion
        Strengthening
        Home exercise program



Frequency:               1 times per week
Duration:                1 week(s)


GOALS

Short Term Goals
Maintain integrity of repair by Following precautions and adhering to sling usage
        To be met in 1 weeks To be met by 08/30/2022


Pt compliance with HEP 2-3x daily
        To be met in 2 weeks


Increase PROM flexion to 115 deg
        To be met in 3 weeks To be met by 08/30/2022


Pt to begin transition out of sling abd pillow 08/30/2022

I have reviewed and agree with today's treatment.



I certify the need for these services for up to 90 days under this plan of treatment and while under my care.



Provider                                                      Date




                             This document was generated electronically through NextGen EMR system.




Electronically signed by Jennifer F. Truax MSPT ATC R on 08/30/2022 11 :07 AM




Date: August 30, 2022                               Page: 3          Patient's Name: Luis Hernandez Modesto
Document Name: NW PT Initial Eval                                    MR#:
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      08/05/2022 FRI 12:01           FAX                                                                                                       i00l/003




               FAX COVER SHEET

              To: Scheduling                                                         From: Deputy Erik Douglass
                            HOPE Ortho                                                                MARION COUNTY SHERRIFS OFFICE
                   A gency: __________                                                   Agency: __________
                                503-540-6404                                                          503-588-6819
                   Fax Num ber: _________                                                Fax Num ber: _________
                                   503-540-6400                                                          503-588-6815
                   Ph one Num ber: ________                                              Ph one Num ber: ________
                                                                                         Email: edouglass@CO.MARION.OR.US

                         08-05-2022                                                                                 3
                   Date: ____________                                                    Number of Pages: _ _ _ _ _ __
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            Special Instructions:

             Luis-Hernandez, Modesto DOB: 07-24-1969 SID: 21941529

             This subject Is a prisoner at the Marion County Jail. Dr. Lance Loberg would like to schedule a
             six-weeks follow-up consultation following the most recent HOPE consult.

             Please contact me to set a appointmant data and time.

             Thank you,        Deputy Erik Douglass 503-588-6815

            Rev. 6/19




                                  Motion Coun1y Courthouse • 100 High Street NE/ PO Box 1-1500, Solem, OR 97309
                                           503.588.5094 • 503.588.7931 (fox! • www.co .marion.or.us/so
                                                "To whom much Is entrusted, much Is expected."




Name: Luis Hernandez, Modesto                                             DOB: 07/24/1969                                                                 Datt
                           Case 2:24-cv-00120-AR            Document 1     Filed 01/18/24     Page 171 of 173 ~o o21 oo 3
      08/05/2022 FRI 12:02                     FAX
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        r - .     .•                                                  Marion Count)' ..,ail
                                                                      Health Services Unit
                                                         4000 Aumsville Hwy. S.E., Salem, Oregon 97317
                                                            Phone (S03)518-8528 Fax (503)588-6819


                                                                                             DATE   t,·3-'2:z
                                                    OUTSIDE CONSULT REQUISITION
                                          PATIENT INFO
                                          Name} u iS- Heeoerdez I H(X]eStD

                                          SID 2\ 94} 629

                                          Allergies   N~De
                                          MRD_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                          REFERRAL INFO
                                          Doctor's Name
                                                         ----------------

                                          Date/Time of Appt_ _ _ _ _ _ _ _ _ _ _ _ _ __

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                  Case 2:24-cv-00120-AR           Document 1         Filed 01/18/24        Page 172 of 173ijl,10 03 / 003
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                                      PLEASE WRITE FIRMLY    USE BLACK BALL POINT PEN
                           MARION COUNTY JAIL - PHYSICIAN'S ORDERS




          UNLESS THIS BOX IS CHECKED, A FORMULARY EQUIVALENT MEDICATION MAY BE SUBSTITUTED BY PHARMACY ·


       Patient Name L1.H$::     Hffrt Qyt~fl., Modisto                        Physician   ~(-   lamr
       Allergies d) t;,M:                                                                                         1/16DM




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N~me: Luis Hernandez, Modesto                               DOB: 07/24/1969
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                Case 2:24-cv-00120-AR      Document 1         Filed 01/18/24    Page 173 of 173
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                    Discharge/Transfer Form • Health Services
    4000 Aumsville Hwy SE - Salem, OR 97317 ~ Phone (503) 588-8528 / Fax (503) 588-6819

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MEDICATIONS                                                   START DATE                STOP DATE

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7. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

TREATMENTS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - - -


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